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EXHIBIT J

 

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In the Matter Of:

HAYSE VS CITY ()F MELVINDALE, ET AL.

SERGEANT MATTHEW FURMAN
March13, 2018

Preparedforyou b y

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FURMAN, SERGEANT MATTHEW
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Pages 1~4

 

 

 

 

 

 

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l UNITE!D STATES DISTRICT COURT 1 APPEARANCES fContinuedl:
2 EASTERN DISTRICI` OF MICHIGAN 2
3 SOU'X'HERN DIVISION
4 3 LAWRENCE J. COOGAN (P42433)
5 CHAD HAySE' 4 4146 Oakwood Boulevard
Plaintiff, 5 Melvindale, Michigan 48122
6 -Vs- Ca NO.: 17» ~13294
5a cv 6 (313) 381»0044
CITY OF MELVINDALE, a political Hon. Linda V. Parker
7 Subdiviaicm of the St:ate,~ Mag. Elizabech A. Scafford 7 lawrence]co°ganlaw@yaho°'C°m
MELVINDALE CITY COU'NCIL, a 8 Appearing as co-counsel on behalf of
8 legislative body of the City of 9 the Defendance'
Melvindale; NICOLE BAR.NES, 10
9 WHEELER MARSEE, MICHELLE SAID
LAND, DAvE cYBuLsKI. cARL 11 A)..so pREsENT= chad Hayse
10 LOUVET, and STEVEN DENSMORE, 12 Richard Ortiz
individuals, sued in their 13
11 official and personal capacities,
14
Defendancs.
12 ~~~~~~~~-~~~~~~~~ ~~~~~ ~- ~~~~~ ~~-/ 15
13 DEPONEN'!': SERGEANT MATTHEW FURMAN 15
14 DATE: Tuesday, March 13, 2018 17
15 TIME.' 10:23 a.m.
16 LoCATION= Deborah Gordon Law 19
17 33 Bloomfield Hills parkway, Suite 220 19
15 Bloomfield Hills, Michigan 20
19
21
20 REPORTER: John J. Slatin, RPR, CSR-SlBO
21 Certified Shor\:hand Reporter 22
22 23
23 (Appearancee listed on page 2) 24
24
25 25
page 2 Page 4
1 APPEARANCES: l TABLE DF CONTENTS
2 2
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Pagc 5 Page 7
1 luesday, March 13, 2018 l Did you obtain a degree or »»
2 Bloomfield Hills, Michigan 2 A. I did.
3 10;23 a.m. 3 Q. -- some hours or what?
4 * * * 4 A. I did. I obtained an associate's degree.
5 (Parties present as indicated 5 Q. And when was that?
6 Mr. Wise is not present.) 6 A. I believe 2008.
7 * * * 7 Q. 0kay. And is there something the associate's degree is
8 SERGEANT MA'I'RIEW FURMAN, 8 in?
9 having been first duly sworn, was examined and testified 9 A. Yes.
10 as follows: l0 Q. What is that?
ll EXAMINATION ll A. Cri.minal justice.
12 BY MS. GORDON: 12 Q. Okay, And you obtained that in '08?
13 Q. Officer Furman, please state your full name and address 13 A. (Nods head.)
14 for the record. 14 Q. That's --
15 A. First name is Matthew, M-a-t-t-h-e-w. Laet name is 15 A. Oorrect.
16 Furman, F-u-r-m-a-n. 16 Q. -- a "yes" for the record?
17 Home address is 15207 Cicotte, that's 17 A. Yes.
18 C-i-c~o-t-t-e, Avenue, Allen Park, Michigan. ZIP code, 18 Q. Okay. Any other educational background?
19 48101. 19 A. Yes.
20 Q. What is your date of birth? 20 Q. What is it?
21 A. 04-18-1985. 21 A. I went to Eastern Michigan University, obtained my
22 Q. So, that makes you how old today? 22 bachelor's degree in criminology.
23 A. 32. 23 Q. When was that?
24 Q. Okay. Are you married? 24 A. I believe, 2011, I graduated.
25 A. No. 25 Q. When did you begin?
Page 6 Page 8
l Q. Have you been married? 1 A. Roughly '08.
2 A. No. 2 Q. Okay. Any other educational background?
3 Q. What is your educational background? 3 A. Just work-related training through the deparunent.
4 A. well, I went to Catholic school through eighth grade. I 4 Q. What have you reviewed to get ready to give your
5 went to public high school. I -- 5 deposition today?
6 Q. What public high school did you go to? 6 A Just my mental notee, you might say.
7 A. Lincoln Consolidated High School. 7 Q. Okay. well, what documents did you review?
8 Q. What city is that in? 8 A. I had read over -- it's called the -- the transcripts,
9 A. Ypailanti Tcwnship. 9 part of it --
10 Q. Okay. And did you go there beginning in ninth grade? 10 Q. Of?
11 A. Yee. 11 A. -- from Mr. Hayee's hearing.
12 Q. So, ninth through twelfth? 12 Q. Okay.
13 A. That's correct. 13 A. Just basically my part where I testified.
14 Q. And what year did you graduate? 14 Q. Okay. What else?
15 A. 2003. 15 A. I believe that‘a it offhand.
16 Q. Okay. Any post high school education? 16 Q. How about some of the dep testimony in this case?
17 A. Yes. 17 A. No, ma'am.
18 Q. Okay. What is it? 18 Q. How about any of the documents sent to you with regard
19 A. Went to washtenaw Cummity College. 19 to discipline or orders?
20 Q. When did you begin there? 20 A. No.
21 A. 2003. 21 Q. Are you sure about that?
22 Q. Okay. And how long were you »- were you enrolled 22 A. yes.
23 full-time? Part»time? 23 Q. And did you have the transcript from the Hayse hearing?
24 A. Part-time. 24 A. I conducted a FOIA some time ago and obtained a copy.
25 Q. Okay. What -- and what happened with that? 25 Q. Okay. And roughly when was that?

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 9~12
Page 9 Page ll
1 A. 1 don't know, to be exact. 1 already knew that.
2 Q. Well, so how long after the hearing? Let's do it that 2 You were in favor of Chief Hayse being removed; is
3 way. 3 that correct?
4 A. I don't know, to be exact. 4 A. Absolutely. 1 think he should have been removed much
5 Q. Why did you FOIA the material? 5 earlier in his career due to his unethical and
6 A. Well, 1 was interested to see what was in it. 6 incompetent behavior.
7 Q. why? 7 Q. Okay. Did you ever put in writing to anybody that he
8 A. Well, 1 suppose human nature would be curiosity. 8 had unethical behavior?
9 Q. Well, what were you curious about? 9 A. No. 1 filed verbal complaints with my direct
10 A. What was in the -- what was said during the meeting. 10 supervisor --
11 Q But -- 1 mean, so you had to pay for these documents? 11 Q. Okay. Well, 1 didn't ask you --
12 A. That's correct. 12 A. -- which was Lieutenant Welch.
13 Q what did you receive through your FOIA request? 13 Q You know what? 1 didn't ask you about verbal
14 A. A copy of the transcript. 14 complaints.
15 Q 1s that all you asked for, or did you ask for the 15 A. Okay. Well, I'm just expounding on my answer.
16 hearing file? 16 Q. 1 know.
17 A 1 believe that was -- that was -- all 1 received was 17 A. Okay. So, you're going to --
18 that and the audio from it as well. 18 Q. So -- hang on.
19 Q. And did you listen to the audio? 19 You never put anything in writing to anybody, the
20 A. I did. 20 Public Safety Conndssion, the mayor, legal counsel, the
21 Q So, you wanted to know how -~ what had happened at the 21 attorney general's office, the Michigan State Police,
22 hearing where Chief Hayse lost his job? 22 that the chief was incompetent
23 MR. MEIHN: I’ll object. ’I'hat’s not his testimony, 23 1 think you've said ~~ I'm correct on that; right?
24 and it's not a question. 24 A. Oh, extremely so, yes.
25 But go ahead. Answer it if you can, please. 25 Q. I'm extremely correct?
Page 10 Page 12
1 A. 1 was just curious to see what was said. 1 A. You're extremely -- you're correct that 1 said Mr. Hayse
2 BY MS. GORDON: 2 is incanpetent. 1 would say he was extremely
3 Q. 1 know, but there's a reason you were curious. What was 3 incanpetent.
4 it? 4 Q. Okay. You've got to listen --
5 A. I was just curious. I like to know what was said. 5 THE REPORTER: I'm sorry. "Would" or "would not
6 Q. Okay. You were not having a hearing yourself. You were 6 say he was extremely --"
7 one of many witnesses, and you sought out the 7 BY MS. GORDON:
8 transcript, 8 Q. You know what, Officer?
9 Why was that? 9 A. He was extremely incompetent.
10 Did you like have a grudge against the chief? Did 10 Q. You've got to listen to my questions.
11 you want to see if he was treated fairly? what was your 11 A. Well, then don't interrupt me when 1 give the answer.
12 thinking? 12 Q. Okay. This is not the Mark F‘uman Show -- Matthew
13 A. 1 was not present for the hearing aside from when 1 13 Furman Show. You're just here --
14 actually gave testimony. The rest of the time, myself 14 A. Okay. 1 don't know if that was a dig at Mark mhnnan
15 and all other witnesses were sequestered. So, 1 was 15 and the OJ situation, but my name is Matthew, and I'd
16 not, at that time, able to hear anything else that 16 appreciate if -- if you wouldn't --
17 occurred, and 1 was curious as to what else occurred 17 Q. Yeah. I -- you know what?
18 other than the section of the time that 1 was in the 18 A. -- refer me first to Mark F‘uhrman.
19 room. 19 Q. Don’t tell me what I'm going to do in this dep. I’ll
20 Q You were in favor of Chief Hayse being removed; correct? 20 call you what 1 want, and if 1 make a mistake, I
21 A. I was in favor of there being a hearing to determine 21 apologize in advance.
22 whether he should. 22 A. Wow.
23 Q 1 didn't ask you that. 23 MR. MEIHN: Counsel, you will not call him what you
24 A 1 bad no vote and input, ma‘am. 24 want. You will treat him with respect, and he ~~
25 Q 1 didn't ask you that either. And you know what? 1 25 MS. GORDON: 1 get the name mixed up, and I’m

 

 

 

 

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1 treating him with respect. 1 MS. GORDON: 1 -- we're not acting like people. We

2 MR. MEIHN: No, 1 understand you did. And I'm not 2 are people.

3 blaming you on that. And you need to treat him with 3 Got it?

4 respect -- 4 THE REPORTER: One second, please.

5 MS. GORDON: 1 am. 5 MR. MEIHN: Mr. Court Reporter, when we're off the

6 MR. MEIHN: -- and he needs to do the same thing 6 record, 1 would appreciate you letting me know, and 1

7 back to you. 7 would appreciate you letting me know when we go back on

8 MS. GORDON: Okay. Read the last question, John. 8 the record so that 1 can fulfill my duties. And if

9 BY MS. GORDON: 9 you're not willing to do that, you need to let me know
10 Q. ‘lou have to listen to the questions, Officer, or you're 10 right now.

11 going to be here a really long time, otherwise. 11 MS. GORDON: Okay. John, don't answer any
12 You shrug your shoulders. 12 questions here.
13 Are you getting paid for today? 13 MR. MEIHN; All right.
14 MR. MEIHN: Counsel, please. 14 MS. GORDON: You're off .
15 MS. GORDON: I'm making a record, Counsel. 15 MR. MEIHN: We're going to take a break. We'll
16 MR. MEIHN: You are. 16 come back in 10 minutes, and when you want to conduct
17 BY MS. GORDON: 17 this within -~
18 Q. You just shrugged your shoulders. 18 MS. GORDON: Stay on the record.
19 Are you getting paid for your time here today? 19 MR. MEIHN: -- the rules of professional ethics and
20 A. ¥es, ma'am, 1 am. 20 in the oath of office you took as an attorney, Deb, then
21 Q. Okay. What is your pay today? 21 we’ll come back, but this is going into an argument that
22 Are you on an hourly basis? 22 has no basis. I've asked a simple question
23 A. 'l'hat's correct. 23 MS. GORDON: You're now arguing.
24 Q. How much do you get paid an hour? 24 MR. MEIHN: I'm not arguing now. I've had enough
25 A. I'm not sure of my exact wage. 25 of the abuse.
Page 14 Page 16

1 Q. Well, give me a rough idea. 1 MS. GORDON: Yeah. You're arguing with my court

2 A. Roughly $44. 2 reporter.

3 Q. How much do you make a year? 3 MR. MEIHN: No. You just instructed your court

4 A. It varies by how much overtime 1 work. 4 reporter not to tell me anything, when he's off or on,

5 My base wages, 1 believe, are 61. 5 and I'm asked him to follow the rules and do that.

6 MR. MEIHN: Are you going to go back and have him 6 MS. GORDON: No, 1 --

7 read that last question, or are we -- 7 MR. MEIHN: I'll be back in 5 minutes, and we'll

8 MS. GORDON: 0f course. 8 see how we can pick up.

9 Do you remember the question, John? 9 MS. GORDON: 1 -- 1 instruct -- keep going, John.
10 'I'HE REPORTER: One second, please. 10 1 instructed him that he did not have to answer
11 MS. GORDON: It was about whether ~ what he put in 11 your question.

12 writing, and 1 listed a bunch of entities. And then his 12 MR. MEIHN: Understood.

13 answer was "extremely" ~- "extremely so." 13 'I'HE REPORTER: So, we're off?

14 MR. MEIHN: Please, Deb. You're testifying His 14 (Short recess at 10:33 a.m.)
15 answer will reflect on the record. 15 * * *

16 MS. GORDON: Okay. 'l‘hat wasn't on the record. 1 16 (Record resumed at 10:39 a.m.)
17 was telling my court reporter where to look. 17 (Record repeated by the reporter.)
18 GO ahead, John. 18 BY MS. GORDON:

19 ’1HE REPORTER: One second, please. 19 Q. Okay. That’s your answer, but I'll ask the same
20 MR. MEIHN: Can we please -- also, Mr. Reporter, 20 question with regard to unethical behavior.

21 would you please let us know when and when you are not 21 You've never put anything in writing to the Public
22 on the record so that 1 know that? 22 Safety Commission, to the mayor, to the counsel, to city
23 MS. GORDON: Okay. You can watch his hands. 23 council, to the Michigan State Police, to the attorney
24 Go ahead. 24 general's office about the chief of police being

25 MR. MEIHI\}: No. Well, let's act like people. 25 unethical.

 

 

 

 

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Page 17 Page 19
1 Am 1 correct on that? 1 engage in unconstitutional behavior.
2 A. No. 2 A. It is \mconstitutional and illegal to base my actions on
3 Q. What -- what did you do in that regard? 3 a traffic stop upon anyone's age, race or gender.
4 What did you put in writing about the chief being 4 Q. You think that's unconstitutional?
5 unethical? 5 A. Absolutely.
6 A. After Mr. Hayse was terminated, 1 did send letters to 6 Q. What part of the Constitution says that? And what
7 the attorney general, Michigan State Police, MCOLES, the 7 Constitution are you talking about?
8 FBI -- 8 A. The United States and the Michigan Constitution.
9 MR. MEIHN: Slow down for a minute. Just each one 9 Q. Well, those don't have anything in there about not
10 so that -- go ahead, please. 10 stopping somebody because of race or gender.
11 A. -- in regards to his behavior. 11 A. Okay.
12 BY MS. GORDON: 12 Q. ¥ou are just guessing, or do you have some legal opinion
13 Q. And what did you say in those letters? 13 on that?
14 A. 1 don't recall exactly. 1 don't have them. 14 A. I'll -- 1'll refrain from answering that question.
15 Q. Well, what was the gist of them? 15 Q. You don't know?
16 A. I'm not going to guess at something that's not in front 16 A. It's illegal. 1 know that. That's Police Academy 101.
17 of me. 17 It's illegal.
18 Q. Okay. Well -- 18 Q. Well, you're the one that said "Constitution," not me.
19 (Outside interruption; discussion 19 So, 1 just wonder what you're referring to.
20 held off the record.) 20 What makes ~- what makes »
21 B¥ MS. GORDON; 21 A. Well, we're all equal under the Constitution.
22 Q. Okay. And did you get a response to those letters? 22 Q. Okay. You don't know what you're -~ you're not a
23 A. 1 got a response from MCOLES. 23 lawyer.
24 Q. What did they say? 24 A. Okay. You're right. I'm not.
25 A. That they would have the copy of the letter on file, I 25 Q. And you apparently don't know what you're talking about.
Page 18 Page 20
1 believe. 1 A. Okay.
2 Q. well, did you get a response from anybody else? 2 Q. So, we're all equal.
3 A. No. 3 Fine.
4 Q. Okay. So, what was the unethical behavior you were 4 What else is unethical behavior that you've
5 concerned about? 5 reported or ~- strike that '- been concerned about?
6 A. well, in the course of my duties, Mr. Hayse had given me 6 A. I was ordered to write citations or tickets when the
7 instructions which were in violation of the United 7 tickets should not have been issued.
8 States Gonstitution and the Michigan Constitution. 8 Q. What are you referring to?
9 Q. Okay. well, go ahead. 9 A. An incident we had known as "Snowgate." Mr. Hayse
10 Did you finish? 10 ordered the desk sergeant to order myself and another
11 A. No. 11 officer to immediately begin issuing parking citations
12 Q. Okay. What were they? 12 during a snow emergency. However, there was no criteria
13 A. Well, he wanted me to conduct my traffic stops and the 13 to meet those conditions.
14 way 1 enforce the law based upon people's age, race and 14 Q. I'm sorry. What do you mean by "no criteria"?
15 gender. And -- 15 A. well, in Melvindale, we have an ordinance, and if there
16 Q. That's -- that was the unethical conduct or is there 16 are 4 inches or more of snow on the ground and your
17 more to it? 17 vehicle is not moved off the street so that the City may
18 A. ‘l‘hat's -- that‘s part of it. 18 plow, the City has the ordinance where we can issue
19 Q. Okay. And that's against the Constitution? 19 citations, tickets, for parking during snow emergency on
20 A. Absolutely. 20 public roadway. But the requirement is 4 inches of snow
21 Q. What’s in the U.S. Constitution about race, age and 21 or more.
22 gender? 22 At the time Mr. Hayse ordered us to write those
23 A. Nothing. 23 tickets, there was just a dusting of snow, not even
24 Q. Well, you said it was unconstitutional. 24 perhaps a half inch, and we were not supposed to write
25 What were you -- you said he had asked you to 25 those tickets. However, he said it was -- the mayor

 

 

 

 

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1 ordered them be written, and he ordered the sergeant to 1 A. 1 overheard Chad Hayse and former Lieutenant Mike Welch,
2 order us to do so. That created quite a -- quite a 2 who was at one time suspended for perjury -- 1 overheard
3 ruckus. 3 them coming up with a plan to file a false police report
4 Q. Okay. What was unethical about that? 4 against Sergeant Easton. At that time, Lieutenant Welch
5 A. Well, the -- there was no justification to issue the 5 stated he would do whatever it takes to make sure Easton
6 tickets, and we issued dozens of them. 6 never becomes a lieutenant. 1 was across the room frcm
7 Q. Well, what does the word "unethical" mean to you? 7 them, and 1 was told not to say anything.
8 A. There was no legal justification to write those tickets. 8 Q. Okay. And what did you do about -- what year was that?
9 Q. That makes it unethical? 9 A. 1 'm not sure.

10 A. Yes. 10 Q. What did you do about that?

11 Q. Okay. And what year was this? 11 A. 1 would -- I would think somewhere in the area of 2014.
12 A. I believe it was 2015. 12 Q. Okay. And what did you do about that?

13 Q. Okay. And how many cars were ticketed or whatever you 13 A. I didn't do anything. 1 didn't want any problems. 1

14 were doing? 14 don't know what was going on between Cnief Hayse,

15 A. 1 don't recall an exact number. 15 Lieutenant Welch and Sergeant Easton, and 1 didn't want
16 Q. Did you ticket a.ny? 16 to be involved, and 1 didn't want any issues brought

17 A. Yes. 17 upon myself.

18 Q. Even though it was unethical? 18 Q. So, somebody didn't want Easton ~- Welch didn't want

19 A. It was direct orders. 19 Easth to become a lieutenant?

20 Q. Okay. So, you did it? 20 A. Neither welch nor Hayse. They were very vocal about

21 A. Correct. 21 that.

22 Q. Okay. Did you put that in writing at the time, that you 22 Q. Okay. And what was unethical about that?

23 had been ordered to do something that was unethical? 23 A. Well, they literally stood there, talking about what

24 A. An investigation was done. 1 was -- 24 they could come up with for a false report against

25 Q. Okay. Did you put anything in writing? 25 him --

Page 22 Page 24

1 MR. MEIHN: Please answer her question, 1 Q. And what did they say?
2 A. No. 2 A. -- and coming up with ideas.
3 MR. MEIHN: Sorry, Deb. 3 1 believe it was tossed around that, you know,
4 MS. GORDON: Thank you. 4 maybe we could sell he's selling drugs, skipping work,
5 BY MS. GORDON: 5 sleeping with people on the job, picking up hookers,
6 Q. Anything else that the chief did that was unethical that 6 just trying to come up with ideas.
7 you have not covered here today? 7 Q. So, certainly, you must have put that in writing if you
8 You've mentioned two things. 8 heard somebody conspiring like that to break the law?
9 A. Well, a lot of it was in regards to the towing contract. 9 You must have gone to somebody?

10 Q. Okay. 1 just want a list from you of what you're saying 10 A. 1 was -- 1 was ordered by -- by Mr. Hayee to keep my

11 is unethical that caused you to -- well, strike that. 11 mouth shut.

12 Whatever you're saying is unethical. 12 Q. Okay. When did he order you to do that?

13 What's the other unethical things; if any? 13 A. Right after they had the -- him and Lieutenant Welch had
14 A. Well, 1 think the chief became inappropriately involved 14 the conversation. 1 was standing across the roan by

15 with the bidding process when the tow companies were 15 our -- our tray --

16 competing for the police towing contract. 16 Q. Okay. well, you --

17 Q. Okay. Was that unethical? 17 A. -- the mail trays.

18 A. 1 don't know. 18 Q. -- know how to write --

19 Q. Okay. 19 THE REPORTER: Excuse me? Sorry. "-- standing

20 A. It was concerning. 20 across the room ~~"

21 Q. Okay. 1 -- we're on -- we're on unethical now. 21 A. By the mail trays, where the mail and stuff go.

22 So, what else was unethical; if anything? 22 BY MS. GORDON:

23 A. 1 don't recall offhand. 23 Q. Well, you know how to write letters, obviously, because
24 Actually, 1 do recall something. 24 you've written a bunch with regard to Chief Hayse.

25 Q. Go ahead. 25 So, you didn't write any letters, even though you

 

 

 

 

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1 were now being threatened and had supposedly observed 1 cards, alcohol, vacations and trips, games, and
2 some conspiracy? 2 concert tickets."
3 A. That's correct. 3 Do you remember saying that?
4 Q. ¥ou wrote ~- you wrote no letters? Okay. 4 A. Lieutenant Welch had advised me of those things. That's
5 A. 1 -- 1 was in fear of retaliation from Mr. Hayse and 5 correct.
6 Mr. Welch. 6 0. Okay. You said:
7 Q. What was your opinion of Lieutenant Easton at that time? 7 "Sergeant Easton has often made reference
8 A. Are you referring to Sergeant Easton? 8 to wanting Goch & Sons to become the towing
9 Q. Yes. 9 service for MEPD because he knows they will
10 A. Somewhere between neutral and not really caring for him. 10 'take care of him‘ --"
11 But he was my supervisor. 1 showed him respect and did 11 put that in quotes -~
12 my job in accordance with the law. 12 "-» and provide him with the gifts and
13 (Discussion held off the record.) 13 things he wants."
14 BY MS. GORDON: 14 Do you remember saying that?
15 Q. Have you ever had any problems, yourself, on Easton -- 15 A. 1 don't recall.
16 with Easton? 16 Q. (Reading.)
17 A. Yes. 17 "Sergeant Easton has told me 1 should want
18 (Discussion held off the record.) 18 Goch & Sons to become our towing company
19 BY MS. GORDON: 19 because they will take care of me as well.“
20 Q. And what are those? 20 Do you remember being told that?
21 What are the problems you've had with Easton? 21 A. No.
22 A. 1 don't recall offhand. 1 have not had any problems 22 Q. Do you remember being told that -~ strike that.
23 with him in at least a couple years. But 1 did have 23 Do you remember expressing to Sergeant Easton that
24 issue with him in the past. 24 you take satisfaction in simply doing your job, and you
25 Q You felt that Easton violated rules continually; is that 25 don't want gifts and rewards?
Pagc 26 Page 28
1 correct? 1 A. 1 have expressed that to everyone. I'm sure I've
2 A. 1 don't recall. 1'd have to see my original letter of 2 expressed that to him as well.
3 complaint -- 3 Q. You've expressed that to everyone?
4 Q. And yo -~ 4 A. 1 -- yeah, 1 take great pride in my job. That's why 1
5 A. -- which 1 was instructed to write by Lieutenant Welch. 5 became a police officer.
6 Q. And you felt that Easton wanted Goch & Sons to become 6 Q. Because you didn't want to take gifts?
7 the towing service because he could get alcohol, 7 A. Because 1 take pride in my job in upholding the law.
8 vacations and trips from them, and he could not get them 8 Q. Did you say that Sergeant Easton has made a habit of
9 from Gene‘s; is that true? 9 punishing you when you impound a vehicle?
10 A. 1 don't recall at this time, 10 A. 1 don't recall.
11 Q Does that sound familiar to you? 11 Q. And you »~ and -- and -- or do anything that will create
12 A. 1 don't remember what my issues were. 12 work for him?
13 Q Okay. Well, 1'll read you from Bates stamp 933. 13 A. Again, 1'd -- 1'd rather not commit until 1 see the
14 A. May 1 see that document, ma'am? 14 letter.
15 Q Yeah. I‘m going to read it to you and then I'm going to 15 Q. Okay. I'm just asking if you recall this.
16 hand it to you. 16 A. No. 1 mean, this was years ago.
17 A. Okay. 1‘d rather not comment until I've read the entire 17 Q. It's 2015, but okay.
18 document. 18 A. Well, that's three years ago.
19 Q That's fine. 19 Q. I'm going to hand you Bates stamp 933 through 935.
20 "Sergeant Easton makes it clear he does 20 A. Okay.
21 not like the fact that Gene's Towing makes 21 MS. GORDON: Greg, can 1 talk to you for a second
22 money from performing towing services for MED- 22 while he's reading that?
23 -- MEPD because the owner of Gene's Towing, 23 MR. MEIHN: Sure. Yep.
24 Paul Ott, refuses to buy Sergeant Easton things 24 (Short recess at 10:53 a.m.)
25 he has asked for, including lunch, food, gift 25 * * *

 

 

 

 

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FURMAN, SERGEANT MA'I`THEW

 

 

03/13/2018 Pages 29-32
Page 29 Page 31
1 (Record resumed at 10:56 a.m.) 1 A. 1 actually had my own firewood and lawn care business,
2 BY MS. GORDON: 2 doing odd jobs, as 1 job-hunted.
3 Q. Done with the letter? 3 Q. Was there a name of the company?
4 A. Yes, ma'am. 4 A. Matt's Firewood.
5 Q. Okay. On a different topic, before 1 take your answers. 5 Q. Okay. And when did that begin? when did you start
6 MS. GORDON: You're running a tape here today, 6 doing that?
7 John? An audio tape? 7 A. 1 don't recall the exact date.
8 'I‘HE REPORTER: 1 am. 8 Q. Give me a rough idea.
9 MS. GORDON: I'm going to ask you to save that,- 9 A. I'm really not ~- 1 -- 1 don't want to guess at it. 1
10 okay? And 1 just served counsel with a Notice for Video 10 don't recall.
11 Deposition. He's objecting to it, so we're going to go 11 Q. Okay. Well, how long were you doing that business?
12 forward today anyway on the audio, 12 A. A couple years, just here and there as time allowed and
13 MR. MEIHN: And, John, would you just make sure 13 1 could find trees.
14 when you get done, 1 get a copy of the audio, too, 14 Q. So, what were your jobs prior to going to Melvindale
15 please? 15 Police Department?
16 'IHE REPORTER: Can we go off the record for a 16 A. 1 worked for the University of Michigan for five years
17 second? 17 at the Ross School of Business. 1 was the night shift
18 MR. MEIHN: 0h, absolutely. 18 manager up there in the Ccmputing Services Depa.rtment.
19 (Discussion held off the record.) 19 Q. what did you do?
20 BY MS. GORDON: 20 A, Repaired computers, repaired printers, maintained the
21 Q. All right. So, you've now looked at Bates stamp 933 21 student computer labs.
22 through 936. 22 Q. What was your title?
23 Does this refresh your recollection that on 1-6-15, 23 A. Support services staff, 1 believe.
24 you wrote to Lieutenant welch about Easton? 24 Q. And why did you leave that job?
25 (Discussion held off the record.) 25 A. 1 wanted to finish my bachelor's degree and attend
Page 30 Page 32
1 MR. MEIHN: well, tell her that and just explain it 1 police acadany, and 1 couldn't do both while working.
2 to her. 2 Q. So, support services staff .
3 A. This is 933, -34, -35. 1 don't have a -36. 3 And did students or faculty bring computers to you,
4 BY MS. GORDON; 4 or what -- what was it you were working on?
5 Q. I'm sorry. 1t's through 935. 5 A. we had -- 1 worked at the business school and throughout
6 A. Okay. 6 the complex. we had Xerooc machines, cmmercial
7 Q. And you say the following things -~ well, strike that. 7 printers, and 1 would maintain those, repair them, fill
8 Is this your letter? 8 them up with paper and toner.
9 A. Yes, ma'am. 9 Q. Okay. This is printers and --
10 Q. And you sent this to Welch? 10 A. Printers. 1 did printers and 1 did computers.
11 A. ‘les. 11 Q. All right. what did you do on computers?
12 Q. And everything in it is correct and accurate? 12 A. Software updates, software installation, cleaned them.
13 A. Yes. 13 Everything got very dusty there for some reason. Just
14 Q. Okay. Okay. Thank you. 14 general maintenance. And if there‘s anything more in
15 MR. MEIHN: 1 don't want you to get out of your 15 depth, then we had other personnel who would do more
16 line. 16 advanced things with the cmputers.
17 BY MS. GORDON: 17 Q. what was your hourly rate?
18 Q. You have a ~- a license to carry a concealed weapon,- is 18 A. 1 don't recall offhand. 1'm guessing it was $llish an
19 that correct? 19 hour. 1t was not very career-oriented job.
20 A. Yes. 20 Q. Did you do it full-time?
21 Q. Are you carrying a weapon today? 21 A. Yeah. 1 worked -- 1 think my first maybe half a year
22 A. No. 22 there was part-time, and then after that it was
23 Q. You were hired by Melvindale P.D. in 2012? 23 full-time for 40 hours a week for the remainder of the
24 A. Yes. 24 five years,
25 Q. what were you doing immediately prior to that job? 25 Q. Did you work anywhere else during that five years, or

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 33-36
Page 33 Page 35
1 was that the only place of employment you had? 1 A. No, ma'am. 1 went to Mr. Hayse. He had them in his
2 A. 1 tried working a security job for a very short time, 2 office, 1 believe.
3 but between that, school and U of M, 1 just couldn't do 3 Q. Okay. And you're aware, 1 suppose, that the police
4 it. So, 1 quit there after about three months. Other 4 department reports to the Public Safety Commission?
5 than that, 1 believe it was just U of M. 5 A. That's correct.
6 Q. Any other regular full-time jobs you held prior to going 6 Q. And the Public Safety Corm)ission manages and runs the
7 to Melvindale Police Department? 7 police department?
8 A. 1 worked at McDonald's for several years back in high 8 A. That's correct.
9 school. 1 worked in a couple -- 1 grew up out in the 9 Q. Prior to being hired at the Melvindale P.D., you had
10 country, so 1 worked on a couple local farms. 1 helped 10 had --
11 my uncle on the family farm quite a hit. 11 A. Excuse me.
12 Q. was it -- did you get paid for that? 12 Q. -- a bench warrant out for you at one point; is that
13 A. with my uncle it was more or less volunteer, but the 13 correct?
14 other farm jobs was paid. 14 A. That is correct.
15 Q. what city was that in? 15 Q. what was that for?
16 A. well, 1 grew up in Willis. 16 A. 1 got a seat belt ticket. and 1 did not pay the seat
17 Q. where is willis? 17 belt ticket. 1 got it while parallel parking. I didn't
18 A. Ypsilanti, Milan, Belleville, Sunpter area. 18 have the money to pay it, put it in a stack of paperwork
19 Q. Okay. Okay. 19 and forgot about it.
20 A. And my uncle's farm is in Saline. So, 1 would go out 20 Q. And what happened after the bench warrant was issued?
21 there and help out and visit with everybody. 21 A. well, 1 had resolved it, got my -- took care of it, paid
22 Q. Have you listed all of your full-time employment for me 22 the ticket, got my license reinstated and everything
23 now, or are there some other jobs that you have had 23 squared away as quickly as possible.
24 held? 24 Q. So, your license had been suspended?
25 A. Let me think for a second. 25 A. That's correct.
Page 34 Page 36
1 1 believe that's everything, ma'am. 1 Q. And when was that?
2 Q. Did you request a complete copy of your personnel file 2 A. 1 don't remember. I'm guessing 2007, maybe. 1 don't
3 from the City of Melvindale on August 31, 2017? 3 recall offhand.
4 A. Yes, ma'am. 4 Q. Okay. So, you were driving without a license for a
5 Q. why was that? 5 period of time?
6 A. well, 1 wanted to know what was in it. 6 A. That is correct.
7 Q. For what reason? 7 Q. You were driving on a suspended?
8 You had already been there five years and had not 8 A. For a couple weeks. 1 didn't realize it. Yes.
9 previously requested the file. 9 Q. And how did you receive the bench warrant?
10 why did you request it then? 10 A. 1 got pulled over.
11 A. well, 1 had, on several occasions while Mr. Hayse was 11 Q. And what city was that?
12 chief, requested to see my file. He would never let me 12 A. Standard traffic stop.
13 see it. lie told me 1 could see it when 1 was gone, when 13 1 believe it was Sumpter Township.
14 be got rid of me, when 1 quit. 14 Q. Okay. And what happened after you got pulled over?
15 Q. Did you request it in writing from him at any time? 15 were you arrested?
16 A. 1 requested in writing once and verbally several other 16 A. Yes.
17 times. 17 Q. At the scene?
18 Q. Okay. So, you filed a written request for your file on 18 A. Yes.
19 August 31, 2017,- correct? 19 Q. Okay. And what happened after you were arrested? where
20 A. That's correct. 20 were you taken; if anywhere?
21 Q. Okay. And what was the purpose of that? 21 A. To the S\mpter Township Police Department.
22 A. To see what was in my file, 1 had never been allowed to 22 Q. Okay. And did you remain there for more than a couple
23 see it. 23 hours?
24 Q. And had you asked the Public Safety Commission to see 24 A. No. 1 posted bond and -~ or my parents came and posted
25 your file at any time? 25 bond and took me hcme.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

 

 

 

 

03/13/2018 Pages 37-40
Page 37 Page 39
1 Q. Okay. 1 happened on the way to getting it resolved?
2 A. And then 1 went and resolved everything right away. 2 A. 1 went to court several times.
3 Q. was your car impounded at that time when you were 3 Q. Did you have counsel?
4 arrested? 4 A. No.
5 A. Yes. 5 Q. Okay.
6 Q. And how much did it cost you to get -- to pay for the 6 A. well, 1 mean, there was a public defender there.
7 tow and to get your car out? 7 Q. Okay. So, you had -- you did have representation?
8 A. 1 don't recall. 1 recall it being very expensive, 8 A. well, 1 did, yes.
9 particularly on my budget at that point. 9 Q. Okay.
10 Q were you -- 10 A. Yeah.
11 A. I'm guessing it was -- 11 Q. And what -- did you end up working out some kind of an
12 Q. Go ahead. 12 arrangement where it would be dismissed?
13 A. I'm guessing it was several hundred dollars. 13 A. 1 showed up to court, and then 1 had to go back a couple
14 Q. Did you get arrested in 2003 for solicitation of a 14 times. Once we went to court and the judge didn't show
15 prostitute? 15 up, so everybody got sent home. Then 1 ended up -- the
16 A. Yes. 16 next time 1 went to court, they just ended up dismissing
17 Q okay. An -- 17 it.
18 A. Tbat was all dismissed in court. 18 Q. And what was the reason they dismissed it as you
19 Q Okay. And on what basis was it dismissed as you 19 understood that?
20 understood it at the time? 20 A. 1 ~- 1 don't know. 'I'hey just told me it was dismissed
21 Go ahead. 21 and 1 could leave.
22 (Discussion held off the record.) 22 Q. Did the police officer not show up?
23 A. 1 don't ~- 1‘m not sure. 23 A. 1 believe she was there, but I‘m not sure. You‘re
24 BY MS. GORDON: 24 talking years ago now.
25 Q where were you arrested for that? 25 Q. And you've had moving violations ; is that correct?
Page 38 Page 40
1 A. Detroit. 1 A. Had a seat belt ticket. That's what caused the
2 Q. where were you in Detroit at the time you were arrested? 2 suspended license.
3 A. Somewhere near 94 and Michigan Avenue. 3 Q. what else?
4 Q. Okay. And were you with a vehicle or not with a 4 A. Had a couple speeding tickets.
5 vehicle? 5 Q. what cities were those in?
6 A. with a vehicle. 6 A. 1 don't recall. 1 believe Saline, but I'm not sure.
7 Q. Okay. And you were arrested by a City of Detroit police 7 Q. Okay. what else?
8 officer? 8 A. 1 believe that's it.
9 A. Yes. 9 Q. Didn't you get a
10 Q And were you with a prostitute at the time you were 10 failure~to-stop-at-a-safe-assured-distance ticket?
11 arrested? 11 A. Correct.
12 A No. 12 Q. In Pittsfield Township?
13 Q was there another person there? 13 A. Oorrect. Somebody made a -- a short stop in front of
14 A. No. 14 me. 1 slammed on my brakes and, unfortunately, 1 just
15 Q Okay. And was your car inpounded? 15 bumped them. The driver actually apologized to me for
16 A. Yes. 16 making the stop short, but his wife called the police,
17 Q Okay. And how much did it cost you to get the car out 17 so 1 received a ticket.
18 then? 18 Q. Okay. And what other moving violations have you had?
19 A. I don't recall. 19 A. 1 don't recall.
20 Q Okay. So, what’s the next thing that happened after you 20 Q. what other arrests have you had?
21 wer -- this was an arrest? 21 A. None.
22 A Technically. 22 Q. Have any lawsuits ever been filed against you?
23 1 was immediately released. But, yeah, same -- out 23 A. 1es.
24 of the car and -- 24 Q. Okay. what lawsuits have been filed against you?
25 Q Okay. All right. So, what's the next thing that 25 A. well, sanehody is suing me now for, 1 guess, excessive
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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 41-44
Page 41 Page 43
1 force or -- I'm not sure exactly what the grounds are. 1 Q. ls there a lawsuit going on right now against you?
2 Q. Use -- use of excessive force, assault and battery, 2 A. That -- that is the one.
3 something to that effect? 3 Q. Okay.
4 A Correct. 4 A. The Henderson.
5 Q Is that in federal court? 5 (Discussion held off the record.)
6 A Oorrect. 6 BY MS. GORDON:
7 Q. Okay. And have you given a deposition in that case? 7 Q. By the way, with regard to the Henderson case, am 1
8 A. No, I don't believe 1 have. 8 correct that the chief and the City have been dismissed
9 well, 1 take that back. 1 believe 1 have. 9 from the case?
10 Q Okay. And where did you go to give your deposition? 10 A. I‘m not sure, ma'am.
11 A. 1 believe it was at the Melvindale Police Department, in 11 MS. GORDON: Hang on one second,
12 our conference roun. 12 BY MS. GORDON:
13 Q And roughly how long ago was that? 13 Q. Has a Robert McClintock filed a lawsuit against you?
14 well, it had to be fairly recently; right? 14 A. Not to my knowledge.
15 A. 1 believe it was last year. Early last year maybe. 15 Q. well, he did. You may not have been serv --
16 Q Early 2017? 16 A. I --
17 A. I‘m not positive. 17 Q. -~ but you were sued.
18 Q Okay. who deposed you? 18 A. 1 have not been served. 1 have no knowledge of that.
19 A. Her lawyer. 19 Q. Okay. Has anybody taken out or attempted to take out a
20 1 don't know his name. 20 Personal Protection Order with regard to you?
21 Q Her lawyer. 21 A. Not to my knowledge.
22 what is the Plaintiff’s name? 22 Q Have you attempted to take out a Personal Protection
23 A. Henderson. 23 Order against anybody?
24 Q And what does -- what were -» what are the circumstances 24 A. No.
25 there she alleges occurred? 25 Q. what policies and procedures govern your employment at
Page 42 Page 44
1 A. well, she alleges she was TASERed ten times, which is 1 the Melvindale Police Department?
2 factually incorrect. we have video and audio. 2 A. All of them that we have --
3 Q. Okay. And when did this occur? 3 Q. what are they? Give me a list of what exists that you
4 A. 1 don't recall the date. 4 know of.
5 Q. what year? 5 Let’s start with this. I'll give you an easy one.
6 A. 1 don't recall for certain. 6 There‘s a Collective Bargaining Agreement,- is that
7 Q. Is it H-e-n-d-e-r~s~o-n? Is that -- 7 correct?
8 A. 1 believe. 8 A. Yes.
9 Q. what's her first name? 9 Q. Are you covered by that?
10 A. 1 don't ren\enber. 10 A. Yes.
11 Q And are you a named defendant? 11 Q. You're a union member?
12 A. Yes. 12 A. Yes.
13 Q And who else is a defendant? 13 Q. what's the name of the union?
14 A. Chad Hayse. 14 A. well, the unit I'm in now would be the Melvindale Police
15 Q who else? 15 Supervisors Union. 'I'hat's their official name.
16 A. City of Melvindale. 16 Q. Are you now -- are you now a sergeant?
17 Q Anybody else? 17 A. That is correct, ma'am.
18 A. Not to my knowledge. 18 Q. when did you become a sergeant?
19 Q Okay. And did you have counsel at your deposition? 19 A. January llth, 2018.
20 A. Yes. The City's -- Bob Siebert. 20 Q. Okay. what other policy -- well, the Bargaining
21 Q. Robert Siebert? 21 Agreement is not obviously a policy or procedure, but
22 A. Yes. 1 believe he was -- 22 it's a document that governs your errployrrent.
23 Q. Okay. what other times have you been involved in 23 what other documents contain rules and regulations,
24 lawsuits where you were a party? 24 policies and procedures of the Melvindale Police
25 A. 1 think that‘s the only time I've ever been sued. 25 Department that you're aware of?

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 45-48
pass 45 Page 47
1 A. 1 guess that would be the doc\m\ent, the Melvindale 1 Q. what were those about?
2 Police Department Policies and Procedures. 2 A. Most of it relates to the City of Dearborn. They're
3 Q. Is there one document called that? 3 going to be taking over our police dispatch. So, it's
4 A. 1t's typically a large binder with -- titled something 4 basically all the information on their radio codes and
5 along those lines that contain all of our policies, 5 how they talk over the radio versus how we talk.
6 A lot of them are now being moved to the Internet, 6 So, we have to basically learn how they do things
7 online. 7 now.
8 Q. Is there anything that exists other than the binder 8 Q. Okay. So, that‘s what was updated in the policies and
9 you're talking about that you're saying is referred to 9 procedures?
10 as the policies and procedures? 1s there anything else 10 A. Correct. There -- there were other stuff, but 1 don't
ll that exists? 11 recall. That was the main -- that was the main focus,
12 A 1 --» 1 guess 1 don't understand the question, 12 was the Dearborn radio transmission procedures.
13 Q Are there any other policies -- policy books, rule 13 MR. MEIHN: Can you please stop yawning?
14 books, guidelines? 14 MR. COOGAN: Yeah, 1'll stop now.
15 You told me there is a binder that's got policies 15 MR. MEIHN: Scrry.
16 and procedures in it. 16 BY MS. GORDON:
17 ls there anything else that exists at the 17 Q. Do you have any members of the city council with whom
18 Melvindale P.D. other than the binder that you're aware 18 you are friends?
19 of that sets forth rules of employment? 19 A. No.
20 h well, on the Internet, we have a website we use called 20 Q. Nobody?
21 Police 1 Academy. A lot of our policies, if they're 21 A. 1 get along with everyone on the council, but nobody 1
22 being updated, are placed on that website. So, when we 22 would consider a friend.
23 log in, we have a list of all the policies as the chief 23 Q. You don't consider Nicole Barnes a friend?
24 comes out with them. 24 A. No. She's an acquaintance. we get along, which is --
25 Q what is Police 1 Academy? ls that a Melvindale 25 Q. Haven’t you gone out socially with her?
Page 46 b Page 48
1 document? 1 A. After Mr. Hayse suspended me, 1 did have a -- 1 was
2 A. 1 guess 1 don't know how to answer that. 2 instructed by Mr. Hayse and Mr. welch -- well, by
3 Police l Acadamy is a website. and any depath 3 Mr. welch, not Mr. Hayse. Let me correct that -- not to
4 can subscribe and use their services. So, there's all 4 speak to any member of the council, the mayor, the city
5 kinds of training videos on there, and then you can list 5 attorney, Rich, or anyone else, but 1 was --
6 assignments and things to read. And part of that, you 6 Q. I'm sorry. who instructed you on that?
7 can put your department policies on there, 7 A. Lieutenant welch. Mike welch.
8 Q. Okay. So, that's not created by Melvindale? That's -- 8 Q. 1s that in writing?
9 you have access to it? Many -- 9 . No, he verbally told me that --
10 A. well, Police l Acadamy is not created by Melvindale. 10 Q. Okay.
11 Q Okay. So, 1 want to know what's created by the City of 11 A, -- at the time of my suspension.
12 Melvindale with regard to their policies and procedures 12 He refused to provide any reason for the
13 that you are aware of other than the binder. 13 suspension. 1 was just told not to talk to anybody and
14 A. The binder. 1 mean, generally anything that comes out 14 go home and keep my mouth shut.
15 or gets updated goes in the binder. 15 And after being at home for quite sane time, and my
16 Q Are you -- has that same binder with ~- as it's updated 16 union and me being unable to find out any reason or any
17 been at the department since you got there in 2012? 17 doc\m\entation for my suspension, 1 did contact
18 A. Yes. 18 Ms. Barnes to ~- a council member to express my concern.
19 Q Okay. who is in charge of adding new policies or 19 And at that point, 1 did have a meeting with her, but
20 procedures to it, as you understand it? 20 that's the first time 1 ever met with her outside of
21 A. hs 1 understand it, the chief of police, 21 work or really talked with her in-depth.
22 Q when is the last time it was updated from what you can 22 Q. where was -* where did you meet?
23 remember? 23 A. we met at a bar --
24 A. we just had sane new policies -- revised policies come 24 Q. what was it called?
25 out about a week or two ago. 25 A. -- restaurant.

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 49-52
Page 49 Page 51
1 Give me a second. 1 interaction.
2 Broadcast Booth. 2 Q. Have you ever had a personal conversation with her?
3 Q. And when was this? 3 Something other than work?
4 A. This was during the time 1 was suspended. 4 A. 1 mean, just hellos and stuff. If 1 see her at the
5 Q. So, we would be talking April 2016 or -- or after that? 5 Melvindale Street Fair or see her at ~ you know, any
6 A. 1 don't recall the exact dates. 6 City event, 1 always say "hello" to everybody and try to
7 Q. well, that's what 1'm showing as your -- roughly the 7 be social, but not really any conversation other than
8 time you were suspended. 8 "Hello" and "How are you?"
9 MR. MEIHN: 1 don't »- 1 don't have that document. 9 Q. And how about Carl Louvet? Have you had any person
10 A. 1'm -- 1'm not -- 1'm not sure. 10 conversations with him?
ll BY MS. GORDON: ll A. Mr. Louvet?
12 Q. Okay. well, let's assume for a minute it was April -- 12 Q. louvet.
13 A. okay. 13 A. No. Just City-related.
14 Q. -- of 2016, and you ~- 14 Q. So, you've never had any personal conversations with
15 A. 1t was 2016 . 15 Barnes?
16 Q. You met '- would have met with Ms. Barnes, when? 16 A. Not that 1 can recall.
17 A. During my suspension. 17 Q. And you never had personal conversations with louvet?
18 Q. And why did you select Ms. Barnes to meet with? 18 A. Not that 1 can recall.
19 A. well, 1 met with her, and 1 met with also Carl Louvet. 19 Q. And you've been -- met once with Barnes at Broadcast
20 It wasn't a matter of selecting her for any particular 20 Booth to discuss a work matter which would have been
21 reason. 1 just wanted to talk to somebody from council 21 your suspension?
22 or somebodies from council. 22 A. That's correct.
23 Q. Okay. But why did you pick those two? 23 Q. And you met how many times with louvet?
24 A. They seemed to be two of the more established members of 24 A. we had a phone call.
25 the commmity, and they seemed to have been on council 25 Q. Okay. And what -- have you had any other phone calls
Page 50 Page 52
1 for a while, to my knowledge. 1 with him about anything else?
2 Q. Had you ever had a personal conversation with Ms. Barnes 2 A. 1 believe that was the only time 1 ever spoke with him,
3 prior to you going with her to The Broadcast Booth to 3 on the phone.
4 discuss your suspension? 4 Q. And have you talked to him again about your suspension?
5 A. Yes. 5 A. No. 1t was -- there was no need to after 1 was
6 Q. Okay. And when would that have been? 6 reinstated.
7 A. when 1 -- myself and the ordinance officer had gone to 7 Q. And did you talk to Barnes again about your suspension
8 her reaidence, and 1 think we placed an abandoned 8 or anything else that happened to you work-wise?
9 vehicle sticker on a boat or a trailer or something in 9 A. 1 believe 1 did talk to her on the phone --
10 her backyard that wasn't properly -- it was parked on 10 Q. Okay.
ll the grass or something. And she was not very happy 11 A. -- trying to get any kind of update or further
12 about that. She actually came down to the station and 12 information in regards to my suspension and what was
13 discussed it with Mr. Hayse. And she was not happy with 13 going on or why 1 was suspended.
14 me or the ordinance officer. She yelled at both of us. 14 Q. Do you have any council members -~ do you text with any
15 And, later, she actually apologized for it, several 15 of the council member?
16 weeks later, and there was really no conversation after 16 A. 1 have tuted Barnes before.
17 that, that 1 can recall. 17 Q. Uh-huh. And what »- what phone do you use for that?
18 Q. well, that wasn't a personal conversation. That was a 18 A. My personal cell phone.
19 business conversation you had with her; correct? You 19 Q. And what is that phone?
20 were out there on business? 20 A. lX:ot) :coc-:ooo¢.
21 A. Yeah, it was all -- 1 mean, everything that I've 21 Q. And who is your carrier?
22 discussed with her has been work-related. But, yes, 22 MR. MEIHN: Hang on.
23 that was -- 23 Do you mind we just give that to you off the
24 Q. But 1 -- 1 asked you about a personal conversation. 24 record? 1'm --
25 A. 0h, 1'm sorry. 1 thought you meant personal 25 MS. GORDON: The carrier?

 

 

 

 

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1 MR. MEIHN: Yeah. 1 A. A cell phone.
2 MS. GORDON: No, that's fine. 2 Q. 1 know. what is it?
3 MR. MEIHN: Okay. 3 A. This -- the one 1 have now is a Samsung.
4 MS. GORDON: Let‘s go off the record. 4 Q. when did you get that phone?
5 MR. MEIHN: Off the record. 5 A. 1 guessing about two or three months ago.
6 (Discussion held off the record.) 6 Q. And what did you have previously?
7 MR. MEIHN: And could 1 also ask, because he's an 7 A. Another Samsung.
8 officer, can we agree on the phone number that he's put 8 Q. You‘ve actually been out with Ms. Barnes several times,
9 on the record -- 1'm a little behind. 1 meant that. 9 haven't you, for social reasons?
10 Can we have that either stricken or have that removed in 10 1 mean, you're not being honest when you sa --
11 some fashion? 11 A. No.
12 MS. GORDON: Sure. Sure. rl'hat’s fine. 12 Q. »~ you haven't been out with her socially; correct?
13 (Discussion held off the record.) 13 A. I've never gone out with her specifically. I've
14 MR. MEIHN: Okay. we can go back on the record. 14 encountered her at social --
15 MS. GORDON: All right. So, we're going to redact 15 Q. Okay. You‘ve been with her socially on several
16 the phone number from the record. 16 occasions, just the two of you; correct? At bars?
17 BY MS. GORDON: 17 A. I've encountered her at the City Christmas party.
18 Q. And how often do you text with Ms. Barnes? 18 Q. Okay. Did you hear my question?
19 A. 1 can't even think of the last time 1 texted her. 19 MR. MEIHN: You need to answer her question,
20 Q. Okay. well, was there a time when you were texting with 20 please.
21 her? 21 A. Okay. 1 don't recall.
22 A. Around the time of the suspension. 22 1 recall one incident where 1 -- or get-together
23 There was one other time 1 recall speaking with 23 with her.
24 Ms. Barnes. She approached me because 1'm very heavily 24 BY MS. GORDON:
25 in traffic enforcement, and she had asked me if 1 would 25 Q. Uh~huh.
Page 54 Page 56
1 be interested in being a traffic car if we were to 1 You've been to her home, haven't you?
2 establish a position for a dedicated traffic enforcement 2 A. I've been in her backyard with the ordinance officer.
3 unit like most other cities have. 1 did advise her 1 3 Q. No.
4 would be interested in that. 4 Since then, you've been in her home to talk --
5 Q. when was that? 5 A. No, ma'am.
6 A. 1 don't recall offhand. Maybe 2015 or '16. 6 Q. -- as friends?
7 Q. Okay. 'l'h -~ 7 A. That is incorrect.
8 A. 1t's hem a long -- it's been a long time. 8 Q. well, she » she's testified under oath. Are you aware
9 Q. 1'm going to revise this then. 9 of that?
10 Broadcast Booth, met with Ms. Barnes to discuss 10 A. well, 1'11 -- 1'll testify under oath I've never been
11 your suspension, whenever that was. 1'm showing it was 11 inside her home.
12 around April 2016. 12 The only area in her home I‘ve been to is her
13 Another time you met with her to discuss the 13 backyard when the ordinance officer and 1 were there.
14 traffic car? 14 Q. She says you've been friends --
15 A. wes. 15 A. Never been in her house.
16 As a matter of fact, that had been prior to my 16 Q. Strike that.
17 suspension. 17 She says you've been friends since you became a
18 Q. Okay. And when is the last time -- and those are the 18 police officer with the City in 2012.
19 two times you've met with her, seen her, et cetera? 19 Is that correct?
20 A. 1 don't know that 1 met with her to discuss any kind of 20 A. No.
21 traffic car. 1 think we talked on the phone or text. 21 Q. Okay.
22 Q. So, you've had one meeting with her? 22 A. The first time we met, she didn't like me, because 1
23 A. 1 believe it's just one meeting. Correct. 'l'bat's all 1 23 tagged the trailer in her yard.
24 recall. 24 Q. well ~~ well, then -- but she says right away you came
25 Q. So, what kind of a phone do you have? 25 back and apologized, and you've been friends ever since,

 

 

 

 

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1 and you see each other socially. 1 MR. MEIHN: -~ some medicine.
2 ls she lying? 2 MS. GORDON: Sure.
3 A. 1 would not consider us friends. 1 would consider an 3 MR. MEIHN: Thanks.
4 acquaintance. 4 BY MS. GORDON:
5 Q. Okay. when did you go out to her house? 5 Q. when did you become a sergeant?
6 A. The only time I've been to her house is with the 6 MR. MEIHN: Asked and answered.
7 ordinance officer. 7 But go ahead.
8 Q. when was that? 8 A. January llth, 1 was pranoted.
9 A. 1 have no idea now. 9 BY MS. GORDON:
10 Q. Okay. well, she says that ever since that date, you've 10 Q. And how was it you were promoted at that time? what was
11 been her friend. 11 the reason for the promotion?
12 15 that false? 12 A. well, 1 had a -- when you say "how,' do you mean the
13 A. 1 would -- 13 process of being ~- being prmoted?
14 MR. MEIHN: 1'm going to object. He‘s answered 14 Q. No. what was the ~- what was the reason for you being
15 that question already. 15 promoted?
16 But please do. 16 A. There was a vacant sergeant spot.
17 A. 1 would not consider us friends and certainly not on 17 Q. And what a~ what happened so that you received the
18 that date, no. She was -- she was upset. 18 promotion?
19 BY MS. GORDON: 19 A. well, 1 did a letter expressing interest in it so that
20 Q. 1'm not saying on that date. 1'm saying after that 20 myself and anyone else who expressed interest in the
21 fact. 21 position could go for an oral board panel and then go
22 She says ever since then -- she says this: 22 for a written test. And 1 scored the highest on both
23 "Later on, he came back and apologized 23 the interview and the written exam.
24 and ever since we‘ve been friends." 24 Q. who was on the oral board panel?
25 Do you disagree with that? 25 A. 1t was a retired Melvindale chief, Brophy. 'I'here was
Page 58 Page 60
1 A. ¥es. 1 wouldn't consider us friends. 1 a --
2 Q. Okay. 2 Q. Do you remember his first name?
3 A. 1 consider us acquaintances. 1t's not somebody 1'm 3 A. what's that?
4 watching -- inviting to watch a football game, but -- 4 Q. Do you remember Brophy's first name?
5 Q. And she said you also text with her. 5 A. James Brophy.
6 ls that correct or not? 6 There was somebody from Dearborn. 1 don't remember
7 A. 1 have regarding the City issues. 7 his name. And there was somebody fran, 1 believe,
8 Q. Uh-huh. 8 Southgate Police Deparbnent, but 1 don't remember his
9 A. Mr. Hayse stuff, my suspension. 9 name either.
10 Q. well, 1'm going to ask you to hang onto all of your 10 The -- 1 hadn't met either of the other two people
11 texts with her. 11 before.
12 A. 1 don't have anything on this phone. 1 haven't texted 12 Q. Have you ever had a psychiatric exam or a psychological
13 her in months. 13 exam for purposes of work?
14 Q. Okay. 1'm just asking you to hang onto all your texts. 14 A. Yes.
15 You have a duty under the law to do so. 15 Q. when was that?
16 A. Okay. 16 A. That's part of the licensing process to became a police
17 Q. And she said you've been with her to the Oakwood Bar and 17 officer.
18 Grill. 18 Q. Okay. And when was that?
19 Does that sound right? 19 A. 1 took one before police academy. we were required to
20 A. 1 don‘t recall. 1 believe it was Broadcast Booth. 20 take one, and that would have been 2010. And then 1 had
21 MR. MEIHN: Hey, Deb, in about 5, 10 minutes, can 21 to take one as part of the background application
22 we take a break -- 22 process for the Melvindale Police Deparbnent, and that
23 MS. GORDON: Uh-huh. 23 would have been in 2012.
24 MR. MEIHN: ~~ so 1 can just take a ~- 24 Q. Have you seen the results of the test? Either test?
25 MS. GORDON: Sure. 25 A. No.

 

 

 

 

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1 1 believe they send those right to the police, 1 Mr. Hayse expressed to me be did not want me to go
2 right to the -- 2 down to speak with Mr. Coogan regarding the Snowgate
3 Q. They do, but 1 wanted to know if you had been -- seen ~- 3 tickets incident, and 1 told him, '1 have to go. 1'm
4 seen it or been apprised of the results. 4 required to go.'l
5 A. No. 5 And he says, "1 don't care. You're not going down
6 Q. Have you had any psychological treatment at any tire in 6 there.‘l
7 your life? 7 But 1 did, and 1 testified truthfully as to what 1
8 A. Mr. Hayse sent me for some visits to our department 8 knew regarding the tickets. and that 1 was ordered to
9 shrink. 9 write them and all that.
10 Q who is your department shrink? 10 Mr. Hayse was very upset that 1 went down there.
11 A. Dr. Clark. 11 He stopped me in the hallway and told me if 1 was going
12 Q And how many visits did you have with Dr. Clark? 12 to testify against him, 1 must be crazy.
13 A. One. 13 So -- and he wanted me to go to the shrink.
14 Q And what do you mean by "department shrink"? what does 14 Q. So, then what happened?
15 that mean? 15 A. Then 1 went to the shrink.
16 A He's the guy we use for all of our background -- we go 16 Q. So, he said ~- he told you in a hallway, "You need to go
17 through his office. 17 to a shrink, " and you went?
18 Q He's private, and the City uses him? 13 that the idea? 18 A. No. He called me in there to his office, and 1 agreed
19 He doesn't work for the City? 19 to go because 1 didn't want any additional issues.
20 A. Correct. 1 guess he'd be contracted or -- 1 guees. 20 He‘s known for being very retaliatory toward any
21 Q So, you went to one ~~ one or more than one appointment 21 officers he has an issue with, so 1 didn't want --
22 with him? 22 Q. So, let --
23 A. well, 1 went to one appointment with Dr. Clark before 1 23 A. 1 just kind of roll with the flow.
24 was hired at the police department, as part of the 24 Q. Yo -- you go with the flow?
25 background check, and then 1 was hired. And then 1 25 A. 1 tried, just to try and »-
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1 went, to my knowledge, one other visit with Dr. Clark, 1 Q. Okay. So, 1 want to understand how it is you ended up
2 and then seven or eight visits with another doctor in 2 at a psychologist's office.
3 his office. 3 Let's start with who it was.
4 Q. WhO was that? 4 A. lt was Dr. Clark and Dr. Zambc.
5 A. Dr. Zambo. 5 Q. Okay. were you ordered to go there?
6 Q. And why were you going to those visits? 6 A. Yes.
7 A. well, after the Snowgate incident, Mr. Hayse told me if 7 Q. Okay.
8 1 was -- 1 got subpoenaed to testify at Mr. Coogan's 8 A. And 1 was ordered to go after hours and not pay for it.
9 office as to what happened and why 1 wrote the tickets 9 Q. Okay. And is there a written order?
10 and everything 1 knew regarding that incident. The 10 A. 1 don't know. 1 believe there was.
11 other officer and the sergeant also got subpoenaed. 11 Q. Okay. And was this part of any discipline you received?
12 Q what do you mean by "subpoenaed"? 12 A. Yes. Mr. Hayse lumped it in with something else. But
13 Subpoenaed to appear in front of who? 13 verbally 1 was told it was because 1 testified against
14 A. The city attorney, Mr. Coogan. 14 him, and 1 won‘t be doing that again.
15 Q You didn't actually receive a legal subpoena, did you? 15 Q. So, you didn't report that to anybody either, that you
16 'Ihis was just a request? 16 had been told you were being punished for testifying
17 A. 1 believe 1 did. No, 1 was -- we were told we had to 17 against him?
18 go, so 1 believe it was an actual subpoma. 18 You didn't go to anybody with that?
19 Q was it a hearing? 19 A. No, because 1 didn't want to make it any worse.
20 A. Yes. 1 took a union representative with me, as did the 20 Q. Okay.
21 other officer. 21 A. 1 -- 1 don't think you understand the environment in
22 Q Okay. And then what happened then that caused you -» 22 which we worked under.
23 you were giving me the background to these additional 23 Q. well, it doesn't really matter if 1 do or don't. 1'm
24 appointments 24 just trying to find out what you actually did as a -- a
25 A. ‘les. 25 grown man and a police officer who -- you‘re sitting

 

 

 

 

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1 here today, testifying under oath -~ 1 believe, seven or eight visits.
2 A. Uh~huh. 2 Q. Okay.
3 Q. -- were given fake orders and, according to you, told to 3 A. Joseph Zambo.
4 do things that were illegal. 4 Q. And what year was that?
5 A. ’l'hat's correct. 5 A. 1 believe 2015.
6 Q. So, 1'm just trying -~ 6 Q Was this about your conduct at work that you were seeing
7 MR. MEIHN: Deb, 1 -- I've got to object to the use 7 him?
8 of the “fake orders" and »- 8 A. 1 wasn't -- don't know that 1 was given a definitive
9 MS. GORDON: Well, he just agreed with me. He said 9 reason. 1 don't recall offhand.
10 that's true. 10 Q. well, were you there for personal reasons, or were you
11 MR. MEIHN: No ~~ 11 there because your employer --
12 BY MS. GORDON: 12 A. No, 1 didn't want to be there.
13 Q. Is that what you're saying? Fake orders? 13 Q. Hang on.
14 MR. MEIHN: He didn't -- he didn't agree with you. 14 Or were you there because your employer wanted you
15 He never testified they were fake orders. 15 to go?
16 A. No. 16 A. Because my employer wanted me to go.
17 MR. MEIHN: He testified he was told to do so, 17 Q. And your employer told you to go?
18 but ~- 18 A. Correct.
19 BY MS. GORDON: 19 Q. And was that because somebody thought you had an anger
20 Q. You were retaliated against seriously and, you felt, 20 issue, as you understood why you were there?
21 illegally? 21 MR. MEIHN: 1'm going to object. He's testified
22 A. Yes. 1 felt very retaliated against. 22 that the reason he was sent there was because he
23 Q. All right. Do -- do you ever go to the Public Safety 23 testified against Mr. Hayse, and Mr. Hayse said, “You're
24 Comnission? 24 not going to testify against me."
25 A. To the meetings? 25 BY MS. GORDON:
Page 66 Page 68
1 Q. Yeah. 1 Q. Go ahead. I’ll take an answer.
2 A. 1‘ve been to them. I've been to several. 2 MR. MEIHN; Go ahead.
3 Q. Okay. Do you know anybody on the Public Safety 3 A. As far as 1 knew, 1 was there as retaliation.
4 Cortmission? 4 BY MS. GORDON:
5 A. 1 know who all the conmissioners are. 5 Q. well, 1 ~»
6 Q. Okay. And let's go back now to how you ended up going 6 A. So, 1 went, not wanting to make it any worse.
7 to seven or eight sessions. 7 Did 1 want to be there? No.
8 A. Uh~huh. 8 Q. 1 didn't ask you that, and your attorney is now coaching
9 Q w this in writing to you s an order? 9 you. But ~ so, so be it with that. But none of this
10 ` 7 " 10 answers my question, which is, what did you understand
11 11 the reason was from anybody you saw at Clark's office or
12 12 from the order you were given that you needed to receive
13 13 psychological counseling?
14 14 For what reason, were you told you needed
15 15 psychological counseling?
16 16 A. Dr. Clark gave me the impression he didn't really know
17 17 why 1 was there and told me 1 was fine whm he approved
18 v n `_ g § 18 me for being -- hiring -- for being hired, and that I‘m
19 Q. All right. So, after you saw Dr. Clark once »- 19 fine at this time.
20 A. Uh~huh. 20 Q. Okay. He told you that verbally?
21 Q, -~ you were then apparently slotted into additional 21 A. Correct.
22 appointments; is that correct? 22 Q. Did he put that in writing?
23 A. Dr. Clark essentially told me 1 was fine. But Mr. Hayse 23 A. 1 never was able to see any kind of written
24 told me that he wasn't happy with Dr. Clark's diagnosis, 24 documentation.
25 and then 1 was to see Dr. Zambo, and 1 saw him for, 1 25 Q. That -~

 

 

 

 

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1 A. That goes directly to the department. 1 Q. You don't recall how many grievances you filed about
2 Q. So, you don't know what he said in writing? 2 discipline you got?
3 A. No. That's correct. 3 A. After he was terminated, 1 did. 1 went to the Safety
4 Q. So, did you say to him, "well, 1'm supposed to now see 4 Gonmission with several issues.
5 somebody else,“ or “I'm supposed to continue 5 Q. No, you filed grievances while he was still there.
6 treatments"? 6 You don't recall that, back to 2016?
7 A. No. Mr. Hayse advised me 1 needed to continue 7 A. No.
8 treatments. 8 Q. Okay. So, you -- you attended these seven sessions.
9 Q. well, 1 know. So, Clark, according to you was -» told 9 And then how is it they ended?
10 you you're fine. 10 A. 1 got the impression the doctor thought 1 was just fine
11 A. Uh-huh. 11 and had told me 1 didn't need to come any more.
12 MR. MEIHN: You've got to say "yes" or "no," sir. 12 Q. And who told you you were just fine?
13 A. Yes. 13 A. Dr. Zambo.
14 BY MS. GORDON: 14 Q. And, as you understood it, when you went to these
15 Q. So, why did you continue to go to appointments? 15 appointments, it's the City that is the recipient of the
16 A. 1 thought it would make things at the department easier 16 documents and results, not you; correct?
17 if 1 just did what Mr. Hayse wanted. 17 A. Correct.
18 Q. well, was -- was it in the order how many sessions you 18 Q. That's the way 1 understand these relationships when
19 had to go to? 19 you‘re sent for job purposes.
20 A. 1 -- 20 A. That'e correct. The candidate, or whoever is sent,
21 Q. Did he order you to go to a certain number of sessions? 21 generally does not get a copy of anything.
22 A. 1 don't believe there was a specific number listed, no. 22 Q. Uh~huh.
23 1 -- 23 MS. GORDON: Okay. You wanted to take a break,
24 Q. So, did -- did the Clark office set up how many 24 Greg?
25 appointments you should get? 25 MR. MEIHN: Yeah. If you don‘t mind, please.
Page 70 Page 72
1 1'm trying to figure out who forced you to go to 1 A. ileah, 1 need to take a restrocm break.
2 these seven appointments, if anybody, or if you just 2 MS. GORDON: Before ~~ before you do, do you guys
3 went on your own. 3 plan to take a lunch break or go through?
4 A. No. If it was up to me, 1 would not have gone. 4 MR. MEIHN: 1 don't plan on taking a lunch break to
5 Q. well, so why were you going to more than the one 5 help us get through.
6 session? 6 1 will tell you that around 1:30, 2:00 -- well,
7 A. 1 was instructed to by Mr. Hayse. 7 let's do this off the record.
8 Q. Verbally or in writing? 8 MS. GORDON: Okay.
9 A. verbally. 9 (Short recess at 11:42 a.m.)
10 Q. Okay. So, you've got your boss telling you, "You need 10 * * *
11 to go -- as part of your discipline, you need to go get 11 (Record resumed at 12:00 p.m.)
12 evaluated." 12 BY MS. GORDON:
13 And then he also told you, "You have to attend 13 Q. Did you -- with regard to the sergeant promotion, do you
14 seven sessions"? 14 obtain recommendations from officers at the City?
15 A. 1 don't believe he gave a number. lie just told me 1'm 15 A. No.
16 going to start seeing Dr. Zambo, and it was in the 16 Q. when you were hired into the department, what was your
17 evening so it would be after my regular shift, and then 17 first job?
18 1 was -- never received any compensation for ~- for 18 A. Police officer.
19 going either. 19 Q. And what were your duties?
20 Q. Okay. You didn't grieve that? 20 A. As a police officer?
21 A. Again, 1 didn't want to make any more issues than 21 Q. whatever your job duties were -- 1 don't know ~- when
22 just -- it's easier to just lay low. 22 you were first hired in, which was 2012.
23 Q. well, you did grieve stuff -- a lot of stuff under Chief 23 A. well, to uphold the law and --
24 Hayse; correct? 24 Q. Okay. what -- what were your day-to~day functions?
25 A. 1 don't recall. 1'd have to see specifios. 25 A. As a police officer, it completely varies by day.

 

 

 

 

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1 Q. well, just give me a list of all the various tasks. 1 A. well, there's supervisors within the division itself.
2 A. Traffic enforcement, assist with ordinance enforcemmt. 2 Q. Right. Okay.
3 Q. Hang on. 3 A. And we -- yeah.
4 Traffic enforcement. 4 Q. All right. So, it could be any sergeant or any
5 Does that mean you're in a patrol car? 5 lieutenant with -» connected to the department, or is
6 A. 'I‘hat's correct. 6 there somebody dedicated to road patrol?
7 Q. How many patrol cars are there at the City of Novi(sic)? 7 A. It‘s -- so, your road patrol, you have your officers.
8 A. 1 have no idea. 8 You have your corporals. You have your sergeants. And,
9 Q. I've sued the City of Novi Police Department, as John 9 at the time, which you don't any more, you had
10 well knows. 10 lieutenants on each shift.
11 MR. MEIHN: Yes. 11 So, you would follow the structure within your own
12 BY MS. GORDON: 12 shift.
13 Q. At Melvindale, how many cars? 13 Q. And is -- were those people dedicated to road patrol,
14 A. We have seven patrols csrs, three detective vehicles, 14 those lieutenants and sergeants?
15 one undercover car, a motor carrier vehicle and an 15 A. That's -- they're part of the road patrol division --
16 ordinance truck. 16 Q. Okay.
17 Q Okay. 17 A. -- but they were not necessarily on the road themselves.
18 A. we also have a bicycle. 18 Q. 1 understand.
19 Q Okay. So, that's traffic enforcement. 19 A. They may be assigned to the station duties.
20 And does that put you into a patrol car, that 20 Q. who are the command officers in the road patrol division
21 particular task? 21 today?
22 A. As a police officer, if you're not a supervisor inside, 22 A. Myself, Sergeant Bl\mden and Sergeant Nick Martinez.
23 you're pretty much always in a patrol car. 23 And then Lieutenant Robert Kennaley is in charge of the
24 Q Okay. And how many officers -- how many shifts are 24 road patrol division. He's our administrative
25 there at the department? 25 lieutenant as well.
Page 74 Page 76
1 A. Three. 1 Q. Okay. And as of 2016, who were the command officers?
2 Q. Okay. And what shift did you ~» have you worked the 2 A. In 2016, if 1 recall correctly, Lieutenant Welch on day
3 same shift since you've been hired? 3 shift, Lieutenant Don Meador on midnight shift. And 1
4 A. No, ma'am. 4 believe at that time -- not positive, but 1 believe it
5 Q. what shift are you on now? 5 was -- John Allen was the afternoon shift lieutenant.
6 A. At this time, afternoon shift. 6 Q. 15 your performance evaluated by the police department?
7 Q. Okay. And when you started, what were you on? 7 A. Your first year on the job, it is, when you're on what
8 A. Well, when you first start, they rotate you. You start 8 they call probation. You're evaluated monthly.
9 with days, afternoons, then mids, then back to days. 9 Q. well, how about after that?
10 Q Okay. 10 A. Not -- we don't do any kind of actual performance
11 A. Then after that, 1 was on afternoons for, 1 would guess, 11 reviews, no.
12 about a year. And them 1 went to day shift for quite 12 Q. Okay. what is your performance -~ how is your
13 some time, for several years, And then 1 went back to 13 performance evaluated; if you know?
14 afternoons this -- when 1 got promoted. 14 1n other words, what are you supposed to be doing
15 Q Okay. All right. How many officers per shift? 15 that's going to be viewed as a good job performance,- if
16 A. It varies by day, we have minimum manpower numbers. 16 you know?
17 Q So, what's the minimum manpower nwmbers? 17 A. 1 -- 1 guess not being lazy and sitting around the
18 A. For day shift, two. For afternoon and midnight shift, 18 station. But, 1 mean, beyond that, it's -- it kind of
19 three. 19 varies. we have certain officers who specialize in
20 Q Okay. So, when you first started out, you were assigned 20 certain things.
21 to a patrol car on most days? 21 Q. Formally or informally?
22 A. The road patrol division. 22 A. Informally.
23 Q. Okay. 1t's called the road patrol division? 23 Q. who specializes in what?
24 A. That's correct. 24 A. well, for example, we have an officer who specializes in
25 Q. Does that report up to someone? 25 dealing with apartment complexes and things of that

 

 

 

 

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1 nature. If we have problem people, he‘ll work with the 1 Q. what period of time were you doing that for?
2 management to have them evicted. He also deals a lot 2 A. well, 1 mean, you could pull it up for any time at -- 1
3 with the schools and commumity relations-type events, 3 would check it basically monthly and see what 1 did.
4 and he's taken it upon himself to -- even though he's 4 You can go on the records management system we have
5 part of the road patrol division, he really specializes 5 and type in the officer's name and whatever field of
6 in those two fields. 6 time you want, and it will pull up how many citations
7 Q. Okay. All right. Do you report in to your sergeants at 7 they wrote, how many people they arrested, how many
8 the end of the day or the end of the shift? 8 reports they wrote.
9 A. Yea.h, at the end of the shift, everyone couies to the 9 Q. Okay.
10 station. 10 A. Things of that nature.
11 Q. Have you ever done any detective work? 11 Q. what's the name of that system?
12 A. Well, I've never been an actual -- assigned to the 12 A. Record -- RMS, Records Management System. That -- that
13 detective bureau, no. Rowever, 1 -- in the course of 13 is the name of it.
14 being a police officer, 1 mean, you do detective-type 14 Q. Any other duties that go with being a police officer in
15 tasks, ask questions, investigate, record things, take 15 your role, when you were, prior to becoming a sergeant?
16 pictures, type reports. 1 request warrants, things of 16 A. 1 -- just assisting with whatever is needed in the
17 that nature. 17 coommnity.
18 Q. Okay. So, you said one of your job duties is traffic -~ 18 1 mean, there‘s a lot of variation in this job.
19 traffic enforcement. 19 Q. what are the legal reasons you are allowed to tow or
20 what are your other job -- 20 remove a vehicle from the highway?
21 A. 'I'hat‘s correct. 21 A. well, if it creates a danger to the motoring public, it
22 Q. -- duties? 22 would be, whether it's broke down, such as a road hazard
23 A. well, your primary -- well, it's a little different now 23 and a car that‘s, you know, literally left in the middle
24 that 1'm a sergeant. 1'm inside. But when 1 was on the 24 of a busy area or an intersection,- if the driver is in
25 actual road, it varies. 25 violation of the law, has a suspended license, no
Page 78 Page 80
1 Your primary duty is to respond to an -- any 1 license; if the driver is being arrested for warrants,
2 dispatched calls, and those can vary -- everything from 2 along that nature; if the vehicle is not insured, it's
3 robberies, to missing property, to stolen cars, fights, 3 allowed to be removed from the roadway.
4 disorderlies, civil disputes. The entire spectrum. So, 4 Q. where do you get the laws for this?
5 anything you can think of, we've been to. 5 what are the laws you've referred to or rely on for
6 Q. 15 that what you've done while you've been at the police 6 the reasons for towing for removal that you just cited
7 department? Have you responded to dispatch calls? 7 to me?
8 A. Correct. 8 A. City ordinance and the Michigan Motor Vehicle Code.
9 Q. Do you respond at the same rate that other officers do? 9 Q. what does the City ordinance say about towing?
10 A. Yeah. 1 mean, we all try and respond in a timely 10 A. 1 can't quote it offhand. 1'd have to see a reference.
11 mnner. 11 Q. Okay. 1'm looking at Section 18~92, "Removal of
12 Q. what else are your duties? 12 Vehicles, City Authority."
13 A. Periodically assisting the ordinance officers, if she 13 Does that sound familiar to you?
14 needs help with samething; if you come across road 14 A. 1t sounds familiar, but 1 couldn't tell you exactly what
15 hazards, deal with that; you know, broke down cars, 15 it reads.
16 things of that nature,~ patrol checks, check certain 16 Q. Okay. It says:
17 areas, especially problem areas; just make sure there‘s 17 "The City or its authorized agents may
18 police presence known in the area; business stops. we 18 remove or cause the removal of any vehicle under
19 like to stop and, you know, visit with some of the 19 the following enumerated circumstances: One,
20 business owners and see if they have any tips or 20 when a vehicle upon a highway is so disabled as
21 information or -- just maintain good community 21 to constitute an obstruction to traffic and the
22 relations. 22 person in charge of the vehicle is, by reason of
23 Q. Okay. Do -- do you keep track of your moving violations 23 physical injury, incapacitated to such an extent
24 that you issue? 24 as to be unable to provide for its custody and
25 A. 1 was for quite some time, yes. 25 removal."

 

 

 

 

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1 what does that mean to you as a police officer? 1 A. 1 -- 1 see it, ms'am.
2 A. Can 1 take a look at that, please? 2 That's not correct.
3 Q. Sure. 3 Q. The ordinance is incorrect?
4 1t's Number 1. 1’ll circle it. 4 A. The ordinance doesn't cover all the factors under which
5 A. Okay. what was the question again, ma'am? 5 a vehicle can be impounded.
6 Q. what does that mean to you as a police officer, 6 Q. Okay. 'Ihat‘s one factor? when you arrest somebody
7 Nmmber 1? 7 “and" the vehicle will be leave ~~ left unattended,- is
8 A. well, the -- the vehicle presents a safety or traffic 8 that incorrect?
9 hazard. It can be removed from the roadway. Or if the 9 A. No, that is correct. But --
10 driver is injured or intoxicated or for some reason 10 Q. Okay. All 1 asked you is about Number 2. Just -- let's
11 unable to safely operate the vehicle in a public 11 be clear for the record.
12 roadway, it may be removed from the roadway. 12 A. okay.
13 Q. Okay. 1’ll take that back. 13 Q. I'm --
14 Number 2 says: 14 A. Can you read the question back again?
15 "when the driver of such vehicle is taken 15 Q. No, we're not going to read the question back.
16 into custody by the police department and such 16 MR. MEIHN; She's -- she's doing a dep. 1t's her
17 vehicle would thereby be left unattended." 17 dep. She'll ask you a question.
18 what does that mean, Number 2? 18 A. Okay.
19 A. well, if you're arresting somebody for -- if they've got 19 MR. MEIHN: Go ahead.
20 a warrant for their arrest, if they're intoxicated, or 20 BY MS. GORDON:
21 other such factors that would involve arresting the 21 Q. 1'm reading Section 18-92 of the Melvindale Code of
22 driver, you can't leave the vehicle in a roadway -- 22 Ordinances, “Removal of Vehicle, City Authority."
23 Q. Okay. 23 A. Okay.
24 A. -- where it's going to be a traffic hazard or 24 Q. we already covered Number 1, when a vehicle is so
25 obstruction. 25 disabled, et cetera.
Page 82 Page 84
1 Q. And what if somebody can come and pick up the vehicle? 1 Number 2 says:
2 Then it's obviously not necessary to tow? 2 "when the driver of such vehicle is taken
3 A. Well, it would vary. 3 into custody by the police department »-"
4 1 mean, if they can pick it up in a very reasonable 4 Okay. You ~- we both understand what “custody"
5 amount of time, but we don't have time or manpower to 5 means.
6 sit there and babysit the vehicle while you're waiting 6 A. Yes.
7 for somebody to come from a ~- another location. If the 7 Q. 1t's an arrest; correct?
8 vehicle is not insured, not properly plated, not 8 A. Correct.
9 legal ~- 9 Q. And then it says:
10 Q. 1'm not onto that. 1'm still onto Number 2. 10 "~e and such vehicle would thereby be
11 A. well, 1'm just giving you a thorough answer. 11 left unattended."
12 It would -- it would vary by -- 12 Is that correct, Number 2, that under those
13 Q. So, if -- this says: 13 circumstance, you can tow a vehicle?
14 "when the driver of such vehicle is taken 14 A. Yes. Under those circumstances, a vehicle may be
15 into custody by the police department and such 15 impounded.
16 vehicle is thereby left unattend ." 16 Q. Okay. So, if you are arresting a driver, but there's,
17 A. Uh-huh. 17 let's say, a spouse in the car that can drive the car
18 Q. So, you cannot automatically take a vehicle when 18 away, it's not necessary to impound it; correct?
19 somebody is arrested. It has to be that the vehicle 19 A. Not necessarily.
20 will be left unattended. 20 Q. Okay. And then Number 3 of the City ordinance says:
21 A. That's not correct. , 21 "when the removal is necessary in the
22 Q. well, look at -- look at the language of your ordinance 22 interest of public safety."
23 And it says "and." 23 what does that mean?
24 A. okay. That's -- 24 A. Correct. Such as an uninsured vehicle, an intoxicated
25 Q. So, take a look at that an ~» 25 person driving. we've inpomded a couple vehicles where

 

 

 

 

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1 you had -~ 1 mean, literally the gas tank is just 1 driving offenses, the court may order as part
2 leaking fuel all over the roadway and the person is 2 of the sentence the forfeiture of the vehicle."
3 still driving, and it becomes a large safety hazard. 3 1s that correct?
4 Q. Okay. well, where do 1 find the list of "in the 4 A. That is correct in some circumstances, yes.
5 interest of public safety"? 5 Q. Do you know of any law that allows you to impound a
6 1 mean, what ~~ what do you work on -- 6 vehicle because the person is uninsured?
7 A. In the Melvindale ordinances? 7 A. Yes. That is legal.
8 1 -- 1 don't -- 1 don't know, ma'am. 8 Q. Under what law? Is it -- do you ~-
9 Q. well, how about somewhere else? If it's not in the 9 A. 1 would -- 1 would have to look that up.
10 Melvindale ordinance, where is the guidance on when it's 10 Q. Do you believe it's in a state statute?
11 determined that the removal is necessary in the interest 11 A. 1 do believe so.
12 of public safety? 12 1 would have to do some research to find out. I've
13 15 there some other place you would look, like a 13 looked it up in the past, but --
14 state law or something? 14 Q. Sitting here today, you don't know what the authority is
15 A. 1 -- 1 can't quote the exact case, but 1 believe we 15 for that?
16 looked something up one time, and the court has held 16 A. Offhand, 1 -- 1 can't quote anything.
17 that you're able to tow a vehicle that is uninsured, 17 Q. And why can a vehicle -- strike that.
18 remove that from the roadway, and that is in the 18 Impound is always discretionary; correct?
19 interest of public safety. 19 A. No.
20 Q. well, 1 didn't ask you about that. 1 said, where do you 20 Q. what do you mean by "no"?
21 get your list of things that constitute being in the 21 why do you say “no"?
22 interest of public safety? 22 A. well, if you're arresting the driver and you're going to
23 A. Michigan Motor Vehicle Code. 23 leave the, you know. unoccupied vehicle just in the
24 Q. Okay. Do you know what part of the Michigan Motor 24 middle of the road, 1 mean, there's -- there's really no
25 Vehicle Code it is? 25 discretion to just leave it there. You have to take it
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1 A. Not offhand, no, ma'am. 1 so it doesn't present a -- a safety issue to the rest of
2 Q. All right. Under ~- under those -- those -- the list of 2 the motoring public.
3 the ordinances, are there any other legal guidelines, 3 Q. Okay. well, if it‘s not in the middle of the road, if
4 laws, with regard to towing? 4 it's pulled over on the -~ in a parking lot, it can be
5 MR. MEIHN: Other than what he's testified to? 5 discretionary to impound the vehicle; is that correct?
6 MS. GORDON: ‘leah. 6 A. It depends on the circumstances.
7 MR. MEIHN: Okay. 7 Q. So, that means it's discretionary; it depends on the
8 BY MS. GORDON: 8 circumstances?
9 Q. what does the Michigan Vehicle Code say about it? 9 A. Uh-huh.
10 A. 1 can't quote anything offhand, ma'am. 10 THE REPORTER: 1'm sorry. 1s that “yes"?
11 Q. Okay. well, 1'm going to read you from MC -- Michigan 11 BY MS. GORDON:
12 Vehicle Code 257.2553: 12 Q. That's a “yes“?
13 "A police officer may impound a vehicle 13 A. Yes.
14 until a valid registration is obtained." 14 Q. So, other than a vehicle -~
15 Are you familiar with that? 15 A. 1n some situations, yes.
16 A. Uh~huh. 16 Q. Other than a vehicle being in the middle of the road --
17 THE REPOR'I'ER: 1'm sorry. Is that "yes"? 17 being left unattended in the middle of road, which is
18 BY MS. GORDON: 18 obviously going to cause a significant traffic/safety
19 Q. That's a "yes“? 19 issue --
20 nm REPORTER= is that "yes"? 20 A. uh-mm.
21 MR. MEIHN: "Yes, " sir? 21 Q. -- is there any other time when you do not have
22 A. Yes. Yes. 22 discretion with regard to whether you should impound a
23 BY MS. GORDON: 23 vehicle?
24 Q. And that you may impound a -- 1'm sorry. 24 A. Yes.
25 “On the conviction of certain drunk 25 Q. what?

 

 

 

 

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l A. Stolen cars, for example. If we locate a stolen motor 1 Q. Okay.
2 vehicle somewhere in the city, be it on a roadway o -- 2 A. If you don't and 1 stop somebody who doesn't have that
3 or off a roadway or occupied or otherwise, we do have 3 insurance, then that vehicle has a duty to be removed
4 the authority and the duty to impound that vehicle. 4 ' from the roadway. and 1 can't let an uninsured vehicle
5 Q. Is that a forfeiture? 5 drive further down the road,
6 A. No. 1'm referring to like a recovered stolen car. Say, 6 (Discussion held off the record.)
7 somebody had their vehicle stolen. You find it ditcbed 7 BY MS. GORDON:
8 on a side street -- 8 Q. Okay. The Michigan Insurance Code does not talk about
9 Q. 1 understand 9 impounding vehicles and nor can the Michigan Insurance
10 A. -- or a backyard. 10 Code require a police officer to impound a vehicle.
11 Q Okay. What else? ll Do you agree with that?
12 A. That wouldn't be a forfeiture. 1t would just be an 12 A. But it -- it also does not allow for those vehicles to
13 inpolmd. 13 be on the roadway.
14 Q Okay. What else? 14 Q. Okay. Well, that's a different matter than whether the
15 A. We have a duty to remove vehicles from the roadway that 15 government can impound your car. So, 1'm sticking with
16 are uninsured and also present a danger to the motoring 16 you, as a police officer, being able to impound your car
17 public. 17 and not the Michigan insurance industry doing what they
18 Q But that's a discretionary decision? 18 do.
19 A. 1 -- 1 would not view it as that, no. 19 1 want to know what requires you to impound a car
20 Q Okay. I’m not asking whether you view it. 1'm asking 20 as compared to using your discretion under the
21 you about the law. 21 circumstances
22 So, what 1'm seeing in the City ordinance is it 22 Do you know of anything else other than the two
23 says "the City may remove." 1t doesn't say “shall.“ 23 incidents you gave me?
24 A. Okay. 24 A. Well, 1 will again state insurance.
25 Q 1t says you may review ~~ remove vehicles under these 25 Q. Okay, Well, do you know that the Michigan Insurance
Page 90 Page 92
1 circumstances That means that's discretionary You're 1 Code ¢~
2 not required to. 2 A. Also --
3 1 want to know if you know of any law that requires 3 Q. You've got to let me finish.
4 you to impound a vehicle at the scene other than a 4 A. Sure.
5 stolen vehicle, which you seem to think there's a law 5 Q. Can the Michigan Insurance Code require a Melvindale
6 that you must impound ~ 6 police officer to impound a car? Is that what you're
7 A. well, again -- 7 saying here today?
8 Q. You've got to let me finish. 8 MR. MEIHN: 1'm going to object. You're asking him
9 A. Sure. Sorry. 9 a legal question.
10 Q ~- or if ~~ if a vehicle is going to be left in the 10 MS. GORDON: Well, he -» he raised it, so ~~
11 middle of the road. 11 MR. MEIHN: 1f you -- if you can --
12 Do you know of any other legal requirement that a 12 MS. GORDON: ~- you know, 1'm asking him what he
13 vehicle be impounded? 13 knows.
14 A. Well, the insurance law. 14 Go ahead.
15 Q Okay. Do you know of any -- 15 MR. MEIHN: Let me finish my objection.
16 A. If you -- 16 You're asking him a legal question. You can -- he
17 Q ~- other law that requires you to impound a vehicle? 17 can testify as to his understanding
18 A. Michigan lnsurance Code, 1 would say, does, if you're 18 BY MS. GORDON:
19 operating -- 19 Q. Go ahead.
20 Q Are you guessing, or do you have something specific? 20 Do you think the Michigan Insurance Code requires
21 A. No, it does. 21 you to impound a vehicle?
22 Q What does it say about impound? 22 A. Yes.
23 A. Well, if you're operating a vehicle on -- you're 23 Q. Okay. Do you have a portion of that code?
24 required to have insurance to operate a vehicle on a 24 A. Not in front of me,
25 public roadway. 25 Q. Okay. All right. Other than Michigan Insurance Code,

 

 

 

 

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1 stolen vehicle and in the middle of the ~~ vehicle in 1 department, or did you put this together yourself?
2 the middle of the street, any other time where you know 2 A. The list of ordinances was provided by the police
3 of that you are required to impound a vehicle? 3 department.
4 A. Unlicensed driver. 4 Q. Okay.
5 Q Okay. Your city ordinance does not require you to 5 A. And 1 --
6 impound -- 6 Q. Anything else that you carry with you?
7 A. Okay. 7 A. As far as the book goes, 1 don't recall if they provided
8 Q. -- from an unlicensed driver; correct? 8 it or if 1 had it on my own, because we had a copy from
9 MR. MEIIM: If you -- 9 police academy. 1 don't know if that was mine or the
10 A. Does the ordinance -- 10 department's.
11 MR. MEIHN: If you know the answer, answer it. If 11 Q. Okay. But you said the Michigan Motor Vehicle Code and
12 you don't, tell her. 12 Ordinances.
13 A. 1 don't know. 13 Anything else that you carry with you?
14 BY MS. GORDON: 14 A. Yes. Michigan Compiled Law book.
15 Q. Okay. And your city ordinance does not allow you -- 15 Q. what is the Michigan Compiled haw book?
16 does not require you to impound a vehicle when the 16 A. 1t's a publication, 1 believe, put out by state police
17 driver does not have insurance; correct? 17 with a list of all of our basically misdemeanor and
18 A. 1 don't know. 18 felony offenses here in the State of Michigan.
19 Q Okay. well, do you know of any other city ordinance 19 Q. Okay. Anything else?
20 other than Section 18»92, "Removal of Vehicles, " which 20 A. As far as?
21 directs you, as a police officer, with -- 21 Q. what you carry with you.
22 A. 1 would have to -- 22 You've said there are certain things you carry in
23 Q -- with the laws? 23 your vehicle with you --
24 A 1'd have to research the city ordinance. 24 A. True.
25 THE REPORTER: Excuse me? 25 Q. ~~ to use as a resource, 1'm sure.
Page 94 Page 96
1 MR. MEIHN: You've got to let her finish the 1 So, anything ~-
2 questions, please, sir. 2 A. Right.
3 BY MS. GORDON: 3 As far as resource material, that would -- that
4 Q. Go ahead. 4 would be about it.
5 A. 1 would have to research the city ordinance. 5 Q. Okay. Do you carry a TASER in your vehicle?
6 Q. Nothing you can think of, sitting here today? 6 A. 1 carry it on my person.
7 A. 1 don't recall. 7 Q. Okay.
8 Q. Do you ~~ when you are out in your vehicle, do you carry 8 A. All officers do, 1t's assigned equipment.
9 with you a checklist for laws, traffic laws? 9 Q. what's the process at the City of Melvindale for filing
10 A 1 carry the Motor Vehicle Oode. 1 have the book in my 10 a citizen complaint?
11 work bag. 11 A. You simply come up and fill out a form and turn it in.
12 Q Okay. 12 Q. And then what happens?
13 A. 1 have a list of our most commonly used city traffic 13 A. ’l'hen it gets passed on to -- well at this time, the
14 ordinances. 14 administrative lieutenant receives that complaint.
15 Q Okay. 15 Q. And who is that at this time?
16 A. As well as some other ordinances, such as animal-related 16 A. Lieutenant Kennaley.
17 things an -- 17 Q. And then what happens?
18 Q Okay. So, you have the Michigan Motor Vehicle Code that 18 A. Then it's up to that officer -- that lieutenant to
19 you carry with you. 19 investigate the complaint.
20 A. Uh~huh. 20 Q. Are you aware of any investigations into citizen
21 Q Is it a paperback or looseleaf, or what is it? 21 complaints that have been made since you've been at
22 A. 1t's a paperback book. 22 Melvindale?
23 Q Okay. And then you also have commonly used ordinances? 23 A. In general?
24 A. Yes. 24 Q. Yeah.
25 Q Okay. Are these provided to you by the police 25 A. Yes.

 

 

 

 

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1 Q. what are you aware of? 1 A. 1 don't know. 1 know 1 had a sovereign citizen come
2 A. People complain all the time. 2 make a complaint about me that 1 had enforced laws upon
3 Q. You do have citizen complaints coming -- 3 her, and they don't apply to her.
4 A. Are you talking about me or of any officers? 4 Q. when was that?
5 Q. No, no. Everybod'y. 5 A. 1'm guessing three or four years ago now.
6 So, you're saying citizen complaints come in all 6 Q. Was it investigated?
7 the time? 7 A. 1 -- 1 don't know. 1 never heard any more about it. 1
8 A. well -- 8 was --
9 Q. Often? 9 Q. So, as far as you know, it was not investigated; you
10 A. At this point, no. we've been very low on complaints 10 were never asked about it?
11 lately. But in the past there have been more frequent. 11 A. 1 ~- no.
12 Sometimes people come in the lobby and just verbally 12 Q. Okay. And what about the impound one, you mentioned?
13 complain. we get that a lot. Usually complain about, 13 A. 0h, I've had people complain that their vehicles were
14 you lmcw, getting a ticket or a parking ticket or 14 inpmmded.
15 something like that or what was -- 15 Q. 1n writing?
16 Q. 1'm talking about written complaints 16 A. Yes.
17 A. Very few, to my knowledge, at this point, 17 Q. Okay. And how many of those citizen complaints have
18 Q. Okay. Well, there -~ you said -~ 18 come in?
19 A. 1'm just thinking -- 1'm sorry. 19 A. 1'm not sure.
20 To clarify, we get a lot of people in the lobby 20 Q. Okay. Have those been investigated?
21 just complaining about things. But as far as actual 21 A. 1 don't know. 1 would assume so.
22 written citizen complaints, 1 mean, nobody runs them by 22 Q. How many -~
23 me, But, 1 mean, on my shift we've had zero since I've 23 (Outside interruption.)
24 been sergeant. 24 A. 1s that me?
25 Q. So, what happens when a complaint comes in? You said it 25 (Discussion held off the record.)
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1 goes to the administrative lieutenant? 1 BY MS. GORDON:
2 A. 1t does at this point. 2 Q. How many citizens complaints do you think you've had?
3 1 don't know what the old procedure was for that 3 (Discussion held off the record.)
4 before 1 was a sergeant. 4 BY MS. GORDON:
5 Q. And then what happens to it? 5 Q. How many citizen complaints do you know of that have
6 A. The administrative lieutenant would investigate that 6 been filed with regard to you?
7 complaint. 7 A. 1 don't have an exact number.
8 Q. And have you become aware of any investigations into 8 Q. well, give me a rough idea.
9 citizen complaints since you've been with the 9 A. 1 would guess several dozen over the years. I‘m very
10 department? 10 proactive and a lot of people ~-
11 A. 1 -- 1 mean, 1 can't recall anything exactly right 11 Q. what do you mean by that?
12 offhand, but -- 12 A. well, when 1'm at work, if, you know, 1'm out there
13 Q. Have there been any that you can recall? 13 working, 1 like to work. 1 like to make traffic stops.
14 A. Yes. 14 1 like to -- to investigate things. 1 certainly don't
15 Q. what do you recall? 15 mind, you know, arresting people if they need it. But a
16 A. Well, 1 know personally I've received complaints 16 lot of people are unhappy to be arrested. They're
17 regarding the traffic detail. A lot of people just 17 unhappy to have their vehicle impo\mded. They're
18 complaining they thought they were -- vehicle was 18 unhappy to get a ticket. I've had people came in and
19 impounded unfairly, and they really don't need to have a 19 make parking ticket ca\'plaints, such as the Snowgate
20 license. I've had sovereign citizens come and con'plain. 20 issue.
21 They don't think any laws apply to them at all within 21 Q. 1'm just asking about in writing.
22 the United States. We get a fair number of those. 22 A. 1 -- 1 don't know, ma'am. 1 don't have an exact number.
23 Q. Are these in writing? 23 Q. So, you think you've had about several dozen, though?
24 1'm asking about written complaints that you know 24 A. 1 would presume.
25 of that were investigated 25 Q. Have any of those been investigated?

 

 

 

 

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Page 101 Page 103
1 A. 1 don't know. That's above my pay grade. 1 Q. But your -~ your city ordinance says one of the three
2 Q. well, have you ever been questioned as part of an 2 reasons for impound is "when the driver of such vehicle
3 investigation? 3 is taken into custody."
4 A. I‘ve beam asked to clarify ~- yeah, to clarify certain 4 A. Uh-huh.
5 situations. 5 Q. So, that means an arrest, doesn't it?
6 Q. Okay. These are kept on record, presumably, somewhere? 6 A. 1 would --
7 A. Presumably. 7 Q. Taken into custody has to be an arrest?
8 (Discussion held off the record.) 8 A. Uh-huh.
9 A. Ma'am, 1 need to use the restroom shortly. 9 1118 REPORTER: l‘m sorry. 19 that -~
10 MS. GORDON: Okay. GO ahead. 10 A. Yes.
ll A. Okay. ll BY MS. GORDON:
12 MR. MEIHN: we‘ll wait here for you. 12 Q. Right?
13 (Short recess at 12:28 p.m.) 13 And then your other -- other thing says when a
14 * * * 14 vehicle is so disabled, you can impound. So --
15 (Record resumed at 12:31 p.m.) 15 A. Right. Accidents and --
16 BY MS. GORDON: 16 Q. 1'm trying to find out from you, as a matter of la --
17 Q. Sergeant, other than removing a vehicle upon the 17 A. Uh-huh.
18 highway, because it is disabled and is causing an 18 Q. ~- in traffic enforcement, can you impound a vehicle
19 obstruction, other than that, does an arrest occur when 19 without taking a person into custody?
20 you are doing an impound? 20 A. Yes.
21 Does impound go with an arrest, a violation of law, 21 Q. And what are the circumstances?
22 where somebody is being arrested? 22 A. Somebody driving without a license, unlicensed,
23 For example, no insurance, driving while suspended, 23 suspended. never acquired a driver's license,
24 any of the other things you've said. 24 Q. Okay. Hang on.
25 A. lt tends to vary. 1 mean, some inpounds are abandoned 25 Is that illegal?
Page 102 Page 104
1 vehicles or not occupied, so then in that case there's 1 A. Yes.
2 no arrest. 2 Q. Okay. why are you not taking the person into custody,
3 Q. Right. 3 then?
4 A. 1f somebody is drunk driving, then there's pretty much 4 A. 1t's my discretion.
5 always an arrest. 1f somebody has warrants from 5 Q. well, if the person is violating the law and you're
6 Melvindale, then, you know, they're pretty much -- 6 going to impound the car, why are you not going to
7 Q. There's arrest? 7 arrest them?
8 A. -- guaranteed arrest. Depaid -- 1 mean, if they have 8 A. Removing the vehicle from the roadway eliminates the
9 warrants for other places -- it depends where it's from. 9 safety hazard to the other motoring public, Whether
10 A lot of times. if somebody has a Detroit warrant, 10 they go to jail or not, a lot of times you try and help
11 Detroit just doesn't come pick anything up. They‘re too 11 somebody out. They -- you -- some people just literally
12 busy. But if they're Melvindale or, you know, something 12 can't came up with any bond money, so they're going
13 right nearby, sometimes Dearborn, they'll pick up. 13 to ~- you know, we'll end up releasing them after a few
14 Q So, what you're telling me is, an impound, when -~ 14 hours anyway. Some people have kids with them, and you
15 when '- when the impound is occurring because of 15 don't want to separate the parent from the kid by
16 wrongdoing by the driver, it goes with an arrest? 16 taking -- you know, what are you going to do with the
17 A. 1t can. 17 kids if you just take the parent to jail?
18 Q well, when -~ 1'm trying to figure out -- 1 know it can. 18 You get people who are, you know, just -- you give
19 1t sounds like it always does unless the vehicle is 19 them a break on that one way or another, if they're a
20 disabled or abandoned 20 first-time offender, somebody you don't deal with often.
21 A. well, it's officer's discretion whether to take that 21 And then we have other people where, you know, this
22 person to jail or not in -- in most cases. 22 is the third time you've been stopped for driving with a
23 Q well -- 23 license suspended and it's time to go to jail.
24 A 1 mean, if somebody has a suspended license, they can be 24 Q. So, you think, by law, you can impound somebody's car
25 arrested and taken to jail. 25 and take it away from the person, even though they have

 

 

 

 

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1 not been taken into custody? 1

2 A. Yes, absolutely. 2

3 Q. And they‘ve committed a crime, though? 3

4 A. Yes. 4

5 0 So, you can have somebody in front of you that's 5

6 committed a crime, but you do not arrest them? 6

7 A. Correct. 7

8 Q. And where is the rule for that? 8 (Discussion held off the record.)

9 A. 1 can't quote the exact rule on that. 9 BY MS. GORDON:

10 Q ls that in the Melvindale policies and procedures? 10 Q. Go ahead.
11 A. 1t would be in accordance with the law. 11 So, when you say "the majority,“ what does that
12 Q what law? 12 mean? Like 80 percent of the tows are you?
13 A. 1 can't quote offhand, ma'am. 13 A. 1 don't -- 1 don't know any exact statistics offhand.
14 Q Okay. well, what other laws exist, that you know of in 14 Q. well, you've been given some information and data,
15 your duties in Melvindale as a police officer, where 15 haven't you?
16 you -- somebody commits a crime and they're not 16 A. Correct. But, 1 mean, 1 don't have it in front of me.
17 arrested? 17 Q. Okay. And what data do you have on that?
18 A. Can you ask the question again? 1 didn't -- 18 A. well, just from pulling my own statistics off of the
19 Q Yeah. 19 computer system -- RMS at work.
20 A. -- follow that. 20 Q. Okay. So, the RMS shows the number of impounds?
21 Q Give me other circumstances where you will be present 21 A. Yes. Correct.
22 when somebody commits a crime and not arrest them. 22 Q. Of you and the other officers?
23 A well, for example, we run into people with warrants 23 A. Correct. avery -- everyone in the department.
24 sometimes, and rather than take them to jail. we'll let 24 Q. So, why is it that you have done the vast majority of
25 them stay out of jail and use it as leverage. Like, 25 impounds?

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1 "Listen, you need to cooperate and behave, or we're 1 A. 1 enjoy doing traffic detail. And we also have

2 going to take you to jail today.ll 2 basically unlimited -- if you want to work overtime, you

3 Q. That's because »» but there's already a warrant for the 3 can work traffic detail, and police wages don't go very

4 person's arrest out? 4 far, so 1 work a lot of overtime.

5 A. Right. 5 Q. So, you're saying you have unlimited overtime?

6 Q. The crime was not committed on your -- in your presence; 6 A. well, 1 shouldn't say numlimited." You're capped as to

7 correct? 7 how many hours you can work in a day, but 1 mean --

8 A. Correct. But 1 -- they can still be taken to jail. 8 Q. How many is that?

9 1t's the discretion of the officer. 9 A. well, we have a regular eight-hour shift. And if you
10 Q Okay. So, the -- it‘s the discretion of the officer 10 want, you can work up to four hours of overtime traffic
11 whether to arrest somebody, but you say you don't have 11 detail after your regular shift, but they don't want you
12 discretion in impounding cars under certain 12 to work more than 12 hours in one shift for safety
13 circumstances? 1t's mandatory? 13 reasons, if possible.

14 A. Correct. 14 Q. So, if there's -- if you stop somebody, and there’s a
15 Q Does that make any sense to you? 15 warrant out for the person's arrest, and it's a

16 A. Yes. 16 Melvindale warrant, what do you do?

17 Q Okay. Under what law? 17 A. 1t varies depending on circ\m\stance, but most of the

18 A. Again, you've asked me that several times. 18 time, if they have a Melvindale warrant, 1 like to bring
19 1 can't quote the exact law. 19 them in.

20 Q Fair enough. 20 For example, yesterday, 1 stopped a car and the

21 A. Okay. 21 front seat passenger had a Melvindale warrant -- two of
22 Q what percentage of times when you -- let's say in 2017, 22 them, actually -- and 1 called another unit to assist
23 what percentage of the time did you impound a car 23 me, and we -- he transported her to the jail.

24 without an arrest? 24 Q. 1t ~ the -- what would a possible reason be for not

25 A. well, 1 don't know a percentage, ma‘am. 25 taking somebody into custody if you see an active

 

 

 

 

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1 warrant for that person's arrest? 1 Q. And what was his -- the warrant for?
2 A. Like 1 said, earlier, a lot of times we keep it for 2 A. Traffic stuff, driving while license suspended twice.
3 leverage if they're an actual local resident. Because 3 1t was actually a female.
4 if you go to that person's house, you know, you've got 4 Q. Okay. So, why would you not arrest that person, or do
5 somebody, and you'll say, l‘I..isten, you need to cooperate 5 you?
6 or you're going to jail. You have this warrant that we 6 A. 1 -- 1 did. She was -- that's the one 1 just gave an
7 know about.' 7 example of. 1 called the initial unit to the scene.
8 Q. Cooperate with what? 8 Q. 1 got it.
9 1 don't know what you're talking about. 9 A. She was transported to jail.
10 Cooperate with what? 10 Q. 1 got it.
11 A. Well, whatever the circumstance may be, be it a noise 11 Okay. So, if it's somebody that you decide not to
12 conplaint, blaring radio, you know, you don‘t want to go 12 arrest but you impound the car, you write that in your
13 there three different times and ask them to turn it 13 police report every time?
14 down. 14 . 1 don't understand question. 1 mean --
15 Q. So, do you then report back to the station that you did 15 Q. You said "sometimes" you impound ~-
16 stop somebody that had warrants out, but that you 16 A. Okay. 1 --
17 decided not to arrest the person? 17 MR. MEIHN: Let her finish.
18 A. Well, 1 would document -- write a -- put this in the 18 BY MS. GORDON:
19 report. 1 mean, 1 would document in the report, you 19 Q. -- you impound the car ~~
20 know, l'Subject was advised of their warrants." 20 A. Uh~huh.
21 Q. What report? 21 Q. »- and you don't arrest, even though there's a warrant
22 A. Whatever the incident report may be. 22 out,
23 Q. So, you're going to go back and write an incident 23 A. Yes.
24 report, and you're going to say, "I stopped somebody and 24 Q. You said it's officer's discretion?
25 he had a warrant out for his arrest, 1 did not arrest 25 A. (Nods head.)
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1 him, but 1 advised him" of something? 1 Q. "Yes"?
2 A. Yes. Yes. 2 A. But the -~
3 Q. And what are you going to advise him of? 3 Q. Hang on. "Yes"?
4 A. Advised him he has -- well, sometimes people don't know 4 A. Okay. Sorry.
5 they have a warrant, and they, you know, legitimately 5 Q. You've got to say "yes."
6 don't realize they have it. So, you'll advise them, 6 You've nodded your head. You didn't say "yes.“
7 llHey, you have a warrant out of this court. This is 7 A. Yes. Yes, ma'am. Sorry.
8 your bond. You need to get this take care of. You 8 Q. Okay. So, how do you handle that in the report, that
9 lmow, if 1 see you driving again after today or we come 9 you have now stopped somebody with an active warrant for
10 to your house again and you have this to take care 10 his arrest ~-
11 of" -~ and a lot of times people then take care of it on 11 A. Uh~huh.
12 their own. 12 Q. -~ and you've not arrested him?
13 Q. Okay. Well, why do you impound the car, then? If 13 Is there a record made of that?
14 you're not arresting the guy, and -- and -- 14 A. Yes.
15 A. It -- 15 Q. And where is that record made?
16 Q. Why do you impound the car? 16 A. In the report.
17 A. Well, it varies by circumstance. Like 1 said, if they 17 Q. Okay. And what -- do you put the reason you did not
18 have no insurance, 18 arrest the person in the report?
19 Q. No. This is somebody that's got a warrant out for his 19 A. Sometimes.
20 arrest for something else. 20 Say, for example, 1 pull somebody over and they
21 You stop him. He's got a warrant out for his 21 have warrants in Allen Park, which is the next city
22 arrest. 22 over. And we contact Allen Park, and Allen Perk will
23 Give me an example of somebody who has had a 23 say, "We're too busy. We -- our jail is full,' or
24 warrant out for arrest that you've stopped. 24 whatever. "We can't pick up.ll And they decline to pick
25 A. Like 1 said, yesterday. 25 the person up on their warrants,

 

 

 

 

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1 So, then it would be documented in the report, you 1 A. Yes.

2 know, "Allen Park contacted by dispatch' -- 2 Q. Okay. And you did not take the person into custody;

3 Q. 1'm not talking about that. I‘m talking about when you 3 correct?

4 personally decide, for a Melvindale resident -- 4 A. That is correct.

5 A. Okay. 5 Q. Okay. But you did tow the car; correct?

6 Q. -- to take the car and not to arrest. 6 A. ’l'hat is correct.

7 now is that documented? 7 Q. why?

8 A. well, the vehicle, if it's being taken, isn't being 8 A. Because the subject had, according to this sheet, a

9 taken because they have a warrant. 1t's being taken for 9 suspended driver's license, no insurance on the

10 another reason discovered during the traffic stop. Say, 10 automobile. Additionally, they had an expired plate,

11 the license is suspended, no insurance, stolen plate on 11 although that's not grounds for an impound, but the

12 the car, improper plate, something of that nature. But 12 insurance and the suspended license is.

13 it would be documented. ¥ou know, LEIN showed the 13 And 1 did put a -- 1 had advised the owner and gave
14 person to have a suspended license. 14 them a chance to get it taken care of on their own, and
15 0 Right. So -- 15 1 did let them know whm they come into the police

16 A. They admitted to having no insurance. 16 department, you know, make sure --

17 Q I'm trying to find out how you would document this, that 17 Q. Okay.

18 you -- somebody has an active ~- 18 A. -- these warrants are taken care of by then.

19 A. 1t would -- 19 Q. Okay. You have to answer my question.

20 THE REPORTER: I'm sorry ~- 20 Why did you not arrest somebody who had outstanding
21 BY MS. GORDON: 21 warrants?

22 Q. Hang on. 22 MR. MEIHN: He just answered that question. Asked
23 Somebody has an active warrant for his arrest. You 23 and answered

24 choose to impound the car -- 24 Go ahead, again,

25 A. Uh~huh. 25 A. 1t's my discretion. 1 chose not to. 1 chose to give

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1 Q. -- and not arrest. 1 that person a break by letting then go to court on their

2 How do you handle that from a records end of this? 2 own and take care of the warrants.

3 A. As 1‘ve stated several times, it would be documented in 3 BY MS. GORDON:

4 the report, "The subject was advised on their warrants.'l 4 Q. How much did this tow cost this person?

5 Q Okay. And if 1 pull all your reports where you didn't 5 A. 1 have no idea, ma'am.

6 arrest somebody, 1'm going to see that? 6 Q. And you, of course, know that the tows generate revenue

7 A. 1t depends if they had a warrant. 7 for the City, don't you?

8 Q. 1 know. 8 A. As a -- as a by-product of law enforcement, yes, revenue

9 For all the people that have warrants, 1'm going to 9 is created.

10 see that every time on your reports? 10 Q. Well, it's not always a by-product. You can certainly
11 A. 1 can't say for sure, no. 11 enforce the law and not have the City generate revenue
12 Q Okay. 12 from tows; correct?

13 (Discussion held off the record.) 13 A. 1 -- it's above my pay grade. 1 don't --

14 BY MS. GORDON: 14 Q. No, it's not.

15 Q. I'm going to hand you Bates stamp 4290. 15 when Gene's Towing was there, the City didn't make
16 A. Okay. 16 any revenue from tows, did it, when you were working

17 Q. Your name is on that document. 17 ther --

18 Do you recognize that document? 18 A. Yes, actually they did.

19 A. Yes. 19 Q. what -- what did they make?

20 Q. Okay. This is a tow tag? 20 A. Storage administration fees.

21 A. That's correct. 21 Q. Okay. For storage of the car, but not for the tow,~

22 Q. Okay. So, here, we had a situation where you stopped 22 correct?

23 somebody, where the registered owner had Melvindale 23 A. 1 believe. 1'd have to look at the contract. It was --
24 Police Department warrants out. 24 Q. Well, you know very well what the revenue is. you get
25 Do you see that? 25 notices of it, don't you, that‘s being generated now

 

 

 

 

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1 that Goch & Sons is there? 1 A. Yes. It has a breakdown of all the different costs.
2 A. 1 don't. 1 believe the city council -- 2 Q. Okay. So, you carry that in your car as well?
3 Q. Okay. 3 A. Correct. when 1 impound smebody's vehicle, 1 give them
4 A. -- gets a report. 1 don't get any kind of paperwork or 4 a copy of that.
5 report. 5 Q. Okay. 4290 was -- the tow date was 11-11*15.
6 Q. But you know well that, under Goch & Sons, it's ~- the 6 I‘ll give you 4477. rl'he tow date is 7-8*15.
7 City is -- it's public record -- is now generating 7 Okay. The next day after this, somebody was
8 revenue; correct? 8 arrested; is that correct? This driver?
9 MR. MEIHN: Objection to foundation 9 A. Yes.
10 BY MS. GORDON: 10 Q. why was this car stopped?
11 Q. You know that, don't you? 11 A. well, without the report in front of me, 1 don't know,
12 A. 1 would presume so. 12 but from what 1 gather from this, it was not stopped.
13 Q Right. 13 1t was an abandoned car.
14 A. 1 don't have any numbers. 14 Q. And how can you tell that?
15 Q All right. But in any event, the reason the City 15 A. well, there's no keys with the vehicle. It has an
16 generates revenue is because the City decides how much 16 improper license plate,
17 will be charged for that tow, and the City and the 17 Q. Okay.
18 contractor decide how much will be given back to the 18 A. which means 1 probably ~- 1 mean, 1 can't say.
19 City; correct? 19 Q. Okay.
20 A. That -- 1 don't know. 20 A. Without seeing the report, 1 can't say with any clarity.
21 Q Okay. So, when you say it's a by-product, it's a 21 Q. Okay. Here is a tow tag from 4-29-15, Bates stamp 4870.
22 by~product only if the City decides it's going to be a 22 The bottom of this says:
23 by~product and the City is going to generate revenue 23 "Registered owner has Melvindale Police
24 from tows ,~ correct? 24 Department warrant."
25 A. My job is to enforce -- 25 That means there's a warrant for this person's
Page 118 Page 120
1 Q. 1 didn't ask you that. Just -- if you know, you can 1 arrest; is that correct?
2 answer my question. 2 A. Correct.
3 A. 1 don't know. 3 Q. And there was no arrest here by you,~ is that correct?
4 Q. Okay. And do you issue a citation for a tow? How is 4 A. It would seem that way.
5 that handled administratively by you? 5 Q. Okay.
6 A. With the exception of a vehicle that is parked -- and 6 A. However, 1 don't know if the owner was present with the
7 sometimes you can't track who the owner down is -- it's 7 vehicle or if somebody else was driving at the time of
8 just an unregistered, abandoned car, no plates, no 8 the stop, either of which would make a difference. And
9 information on it. If you can't determine who, for 9 1 would put a note on here because if the registered
10 sure, the owner of that vehicle is -- 10 owner wasn't present, 1 couldn't arrest them either way.
11 Q. Okay. ’I‘his is -- 11 Q. Here‘s a tow tag dated 11-13-16, Bates stamp 3656. It
12 A. -- then 1 won't necessarily issue -- 1'm trying to 12 appears here that you did -- the registered owner had
13 answer you. 13 a -~ a warrant, and you did not arrest the person; is
14 1 won't necessarily issue a citation. 14 that correct?
15 If there's a subject with the vehicle, a driver, 15 A. Without seeing the report, 1 can't say for sure, but it
16 and it's being impounded, then practically every time, 16 would appear that way.
17 that driver is issued a citation. 17 Q. Okay. I'll take that back.
18 Q Okay. And how much -- do you tell the person how much 18 A. I'also can't say whether they were with the vehicle at
19 the tow fee is? 19 the time or if somebody else was driving.
20 A. we give them a sheet with a handout -- a handout, we 20 Q. Here's a tow tag, 11-22-16. "Registered owner has
21 provide to them. It has the tow information -- 21 Melvindale Police Department warrants."
22 Q Okay. 22 It appears that you did not arrest that person,~ is
23 A -- the fax number and the requirements to get your 23 that correct?
24 vehicle out of i.npo\md. 24 A. And, again, 1 don't know if the person was present with
25 Q Does it show the cost? 25 the vehicle at the time of the arrest to be arrested.

 

 

 

 

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1 Q. Okay. 1 Q. Fair enough.

2 A. And, again, without seeing the report, 1 am very 2 A. Paul Senior and Paul Junior.

3 hesitant to make more of a cmment. 3 MR. MEIHN: Now answer her questions

4 MR. MEIHN: Could you keep those, what you're going 4 A. what -- what was the question, ma'am? Sorry.

5 through, for me? 5 BY MS. GORDON:

6 BY MS. GORDON: 6 Q. Did you discuss that with him, tell him that that's what

7 Q. Here's a tow tag dated 12-8-16. 1t's Bates stamp 3787. 7 welch was saying?

8 It appears that this registered owner had warrants from 8 A. 1'm sure 1 did, but 1 don't have a recollection of --

9 Melvindale, Dearborn, Redford Township, and you did not 9 recollection of an exact conversation.

10 arrest the person. 10 Q. who do you know today from Goch & Sons?

11 Do you see that? 11 A. well, pretty much everybody at this point.

12 A. Okay. 12 Q. Give me a list.

13 Q You advised the person to resolve the warrants; is that 13 A. well, there's Mike Goch. He's the owner. 'I'here's his
14 correct? And you impounded the car? 14 son, Jared Goch. One of the main drivers who kind of is
15 A. That's correct. 15 assigned to the Melvindale area is Sean Briscoe, S-e-a-n
16 Q Okay. 16 B-r-i-s-c-o-e.

17 MR. COOGAN: Keep it. 17 And then a lot of guys, 1 just know by their first
18 (Discussion held off the record.) 18 name or nicknames. There's Big Jared. 1 don't know his
19 BY MS. GORDON: 19 last name. He's just a really big guy named Jared.

20 Q. Did you ever believe that Goch & Sons Towing was 20 Q. Do you know the administrator?

21 corrupt? 21 A. The administrator?

22 A. No. 22 Q. Yeah. 'I‘he female who is the administrator, the spouse
23 1 mean, 1 was told they were by Chad Hayse and Mike 23 of Mike Goch?

24 welch, but 1 never had any contact with them or any 24 A. 1 don't really know her personally.

25 firsthand knowledge. 25 Q. Or the girlfriend

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1 Q. were you friends with the son of the owner of Gene‘s 1 A. 1 know who she is. well, there's -- Darlene is his

2 Towing? 2 ex-wife. She's a dispatcher.

3 A. Yes. 3 Q. 1 think it's a girlfriend

4 Q. what was his name? 4 A. 0h, Kate.

5 A. His name is Paul. 5 Q. Katie.

6 Q. You discussed with him Goch & Sons Towing being corrupt ; 6 A. Yes, 1 know her.

7 is that correct? 7 Q. How do you know her?

8 A. 1 have no recollection offhand, but 1'm sure we 8 A. Through the tow truck company.

9 discussed the towing contract. 9 Q. And what's your interaction with her?

10 Q. Right. 10 She's not out driving a tow truck as far as 1

11 A. 1 told him what 1 had heard. 11 understand it.

12 Q. And what had you heard about Goch & Sons? 12 A. No, but I've seen her at City functions, and, you know,
13 A. Mike welch told me that Mike Goch is a convicted felon. 13 1 get along well with her and Mike when 1 see them

14 Bad guy, steals cars, all sorts of allegations. 14 places and --

15 Q who told you that? welch? 15 Q. Have you socialized with them?

16 A. Mike welch. 16 A. Yes.

17 Chad Hayse said the same thing. 17 Q. where have you socialized with them?

18 Q And you passed that along; is that correct? 1 think you 18 A. well, prior to the contract. no, 1 never met him, but,
19 talked to welch about it; is that right? 19 yes, I've socialized with him since.

20 A. 1 don't recall at this point. 20 Q. Okay.

21 Q. And did you tell -- 21 A. I've seen him at the Melvindale City Chrisonas party. 1
22 A. It was several years ago. 22 have beam on his boat once.

23 Q. -- Gene -- Gene's son -- 1 think his name is Paul -- 23 Q. where is his boat anchored?

24 that that's what you had heard? 24 A. Gibraltar.

25 A Yeah. well, there's no actual Gene. 1t's just Paul. 25 Q. And what kind of a boat is it?

 

 

 

 

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03/13/2018 Pages 125-128
Page 125 Page 127
1 A. 1 don't know much about boats. 1t's a motor boat. 1 Q. well, in fact, the vast majority of the money they
2 Q. Okay. 2 receive -~ let me see that ~~ that they receive based on
3 A. A decent-sized boat. 1 -- 3 their contract with the City of Melvindale comes from
4 Q. Okay. what else, socializing with him? 4 your »» your tows; correct? As far as you understand
5 A. went out to eat with him a couple times. 5 it, you did the majority of the tows?
6 Q. where did you go? 6 A. well, statistically.
7 A. 1 don't recall offhand where we ate. 1 don't know. 7 Q. Sure.
8 Q. Okay. who -- did you -- did -- he pick -~ picked up the 8 A. 1 mean, 1 tow met of our impounds, so 1 would say yes.
9 bill as 1 understand it; is that correct? 9 MR. MEIHN: Are you insinuating he's an employee of
10 A No. 1 pay my own food. 10 Goch & Sons? Is that what you're trying to indicate?
11 Q ‘Iou got a separate bill? 11 MS. GORDON: No.
12 A. Correct. 12 MR. MEIHN: Okay.
13 Q Did you put it on a credit card? 13 MS. GORDON: He's ~
14 A. 1 usually carry cash. 14 MR. MEIHN: 1 didn't know if you were tying that
15 Q Okay. 15 in.
16 A. 1 may have put it on a card. 1 don't know. 16 MS. GORDON: He's an employee of the City of
17 Q where have you -- where else have you been with him? 17 Melvindale.
18 A. out to eat. I've been to his residence, which is where 18 MR. MEIHN: Got it.
19 his boat is. 1 was on his boat one time. 19 81 MS. GORDON:
20 Q And at his residence another time? 20 Q. Did Goch & Sons offer to or actually purchase some
21 A. No. 1t was the same -- well, yeah. 21 equipment for a patrol car?
22 Q A different time? 22 A. 1 have no idea, ma'am.
23 A. Correct. 23 (Discussion held off the record.)
24 Q what was that for? 24 BY MS. GORDON:
25 A. They invited me over for dinner. 25 Q. what car -- do you typically drive a designated car?
Page 126 Page 128
1 Q. who is "they? 1 A. No, we don't have assigned cars.
2 A. Mike and Kate. 2 Q. Did you discuss with Ms. Barnes a designated car for
3 Q. Okay. Anybody else there? 3 certain traffic patrol duties?
4 A. Yes. 4 A. Yes.
5 Q. who else? 5 Q. what would that have been?
6 A. Kate has two kids. They were there. 6 A. when Ms. Barnes approached me to see if 1 would be
7 Q. Okay. who else? 7 interested in a traffic unit, 1 did advise that we --
8 A. Her father was there. 8 all of our police cars are pretty much fully msrked.
9 Q. who else? 9 So, they're not exactly the most low-key, and we would
10 A. 1 think when 1 went for dinner, that was it. Just their 10 need an actual traffic car.
11 family unit and then me. 11 we had a traffic car, but it was not in use. we
12 Q Any gifts you've received from them of any kind? 12 had a Ford Mustang, but there was no computer and the
13 A. No, ma'am. 13 radar didn't work. There was no printer. So, that
14 Q Tickets? 14 would need -- either need to be made back into service
15 A. Nope. 15 for a traffic car or something else acquired if the City
16 (Discussion held off the record.) 16 didn't want to keep that particular car.
17 BY MS. GORDON: 17 Q. So, Ms. Barnes suggested it would be in the City‘s best
18 Q. you make Goch & Sons a lot of money, don't you? 18 interests to have such a vehicle; is that correct?
19 A. 1 don't know the finances, ma'am. 19 A. 1 don't recall the exact -- what she said exactly.
20 Q But you know you make them a significant amount of 20 Q. was there the purchase of a new computer for the --
21 money; right? 21 there's a Mustang patrol car. Am 1 correct on that?
22 A 1 -- 1 don't know how mich they make. 22 A. There was at the time. There‘s not anymre. The City
23 Q In fact ~- 23 actually got rid of it. No one ever used it, and we
24 A. 1 have nothing to do with the contract. the pricing, 24 traded it in for credit towards a new car at the Ford
25 anything. 25 dealer.

 

 

 

 

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03/13/2018 Pages 129-132
Page 129 Page 131
1 Q. And what was the new car? 1 at least ~
2 A. A Ford Explorer. 2 NB. GORDON: well, you've given me the documents
3 Q. And what do you drive? 3 MR. MEIHN: well, 1 ~ 1 don't know that he knows
4 A. A Ford lbcplorer. 4 those numbers to be correct, but --
5 All the patrols cars are Ford Explorers. 5 MS. GORDON: Okay. well --
6 Q. So, 1 have towing data from the City, and you've always 6 MR. MEIHN: -- subject to that, if you can answer
7 done the majority of the towing since you've been with 7 the question ~-
8 the City? 8 BY MS. GORDON:
9 A. Yes, fran -- fran day one. 9 Q. Go ahead,
10 Q. Right. 10 A. well, 1 -- 1 don't know those numbers to be correct, but
11 But your numbers went up ~~ the number of tows went 11 1 also don't know exactly what percentage or what
12 up. From the first six months of 2015, there were 368 12 portion of those are my impoimds.
13 tows under Gene's. 13 Excuse me,
14 A. Of what year? 14 But 1 know a lot of it is related to me working
15 Q. ’15. 15 overtims.
16 A. Okay. 16 Q. So, you just decided --
17 Q. The second half of 2015, there were 1,137 tows in the 17 A. 1 worked as intensive on overtime.
18 second half of the year. 18 Q. You -- so, if 1 pull your overtime records, 1 will see
19 1 would say that looks like it's almost four times 19 more overtime --
20 the number of tows. 20 A. 1 would suspect so, yes.
21 why was that? 21 Q. And why did you start working more overtime?
22 A. well, 1'm not sure exactly. 1 mean, 1 imagine 1 was ~- 22 A. well, because we're one of the lowest paid police
23 Q. well, you were out there doing them. 1 mean, your name 23 departments in Southeast Michigan, so --
24 is attached to the vast majority of them. 24 Q. But that’s always been true.
25 what happened with you to change your number of 25 why did you start working more --
Page 130 Page 132
1 tows in a six-month period from 368 to 1,137? 1 A. well, I've always worked a lot of overtime, but --
2 A. well, for a period of time, 1 was actually doing a lot 2 Q. Okay. Then 1'm going to go -»
3 of ordinance stuff with the ordinance officers we had at 3 A. -- maybe 1 worked more at that period.
4 the time. So, rather than be towing cars, 1 was doing a 4 THE REPORTER: Ebccuse me?
5 lot more stuff in the neighborhoods with them. we had 5 (Discussion held off the record.)
6 two part~time ordinance officers. 6 THE REPORTER: Sorry.
7 So, that took a lot of my focus off traffic aside 7 MR. MEIHN: what you need to do, sir, is you need
8 from, you know, overtime or abandoned cars, things of 8 to let her finish the question.
9 that nature. 9 A. okay.
10 Q. when did you work with the ordinance officers? 10 MR. MEIHN: And then you answer; okay?
11 A. 1 don't remember the exact date. They were fired kind 11 A. Okay. Sorry.
12 of without warning by Mr. Hayse one day, without warning 12 MR. MEIHN: Don't talk over her.
13 or doc\m\entation. 13 BY MS. GORDON:
14 Q. I'm not sure what your point is. 14 Q. Okay. 1'm going to go back to my question.
15 A. But -- 15 A. Okay.
16 Q. Did that cause you to do some ordinance work? 16 Q. 1 mean, 1 can see from the data about this difference in
17 A. ¥es. He actually left us without any ordinance officers 17 towing numbers. 1'm trying to find out if you know why.
18 for quite some time, which caused quite the ruckus in 18 A. No, ma'am.
19 the City. 19 Q. You've said -- you don't know why?
20 Q. Okay. 1'm going to go back to my question. 20 A. No.
21 why did your towing numbers go from 368, in the 21 Q. And if 1 pull the records, which 1‘ve already done, and
22 first half of 2015, to 1,137 in the second half? 22 1 can show that the vast majority of the 1,137 tows were
23 MR. MEIHN: And I'm just going to place an 23 yours, what would be the reason for your number of tows
24 objection to foundation, that there's no evidence to 24 to go up?
25 establish that those numbers are correct. So, could you 25 Do you have anything to offer me as a reason for

 

 

 

 

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1 that? 1 A. 1 run plates all the time. Correct.
2 A. No. I've always been a proactive officer with a high 2 Q. Okay. what else?
3 number of impounds. 3 A. well, if you have a stolen car or -- like yesterday, 1
4 Q. well, that's fine, except for you went from 368 to 4 had a stolen license plate. 1 had a vehicle yesterday
5 1,137. 5 with an improper license plate. That means it was taken
6 MR. MEIHN: And I'm going to object. There's no 6 fran one vehicle and put on another one.
7 foundation that that number of 368 in comparison to this 7 Q. what else?
8 1,000 is a proper comparison, because the 1,000 is 8 A. Equipnent violations, such as brake lights out, smashed
9 everybody in the department, and the 360 may be his. 9 windshields, obstructed vision, somebody driving -- a
10 MS. GORDON: 1t's not. All -~ virtually all his 10 lot of people will drive on a completely flat tire where
11 with a few others. 11 just -- the tire is gone, just the wheel. You can stop
12 A. There was also, around the time -- oh. 12 than and advise them, l'You need to leave the roadway.ll
13 B¥ MS. GORDON: 13 Q. How many plates do you run a day?
14 Q. 1'm listening. 14 A. 0h, it -- it varies. 1 mean, as a sergeant, 1'm indoors
15 Go ahead. 15 most of the time. So, if 1'm on regular shift, none.
16 A. Go ahead? Okay. 16 Q. when you were -- before you were a sergeant.
17 Aro\md the time that the contract was out for bid, 17 A. 1t just depends how busy we were, how I felt.
18 Mr. Hayse and Mr. welch was -- were telling everyone not 18 Q. Give me a range.
19 to tow any cars either, and they didn't want Goch to get 19 A. It could be several dozen. It could be a few dozen.
20 the contract. So, they had us kind of doing a 20 Q. where do 1 find a record of how man »»
21 slowdown -- 21 A. It could be a couple.
22 Q. Okay. well, did you slow down? 22 Q. ~~ license plates you run?
23 A. -- to send a message to the City. 23 A. 1 have no idea. You'd have to contact our chief.
24 Q. Did they send an order out to that? 24 Q. That all goes through the LEIN system?
25 A. 'l'hey did. 25 A. 1 believe so, yes.
Page 134 Page 136
l Q. So, you intentionally slowed do -- 1 Q. You keep close number of ~- track of the number of cars
2 A. 1 did slow down for a period. Correct. 2 you tow a year; is that correct?
3 Q. All right. well, what about your numbers in 2014? 3 A. 1 usually check a couple times a year to see, 1 mean, my
4 MR. MEIHN: Object to foundation. 4 stats, how many arrests I've made, just kind of how many
5 A I don't know what my numbers were in 2014. 5 reports I've taken.
6 (Discussion held off the record.) 6 (Discussion held off the record.)
7 BY MS. GORDON: 7 A. 1 haven't in quite some time now, but --
8 Q. what are the reasons you are allowed by law to stop a 8 BY MS. GORDON:
9 vehicle? 9 Q. Do you remember your stating at the Chad Hayse hearing
10 A. 1 mean, there's many reasons. 10 that, for 2016, you towed roughly 776 cars?
11 Q what are they? 11 A. 1 recall giving a number.
12 A. well, expired plate, improper plate. If you have 12 1 don't recall exactly if that was it, but it may
13 probable cause to believe the registered owner is behind 13 have been.
14 the wheel and that subject has an improper -- or acpired 14 Q. And do you remember saying at the hearing on October
15 or suspended driver's license, Somebody has -- 15 26th, 2017, that for 2015, you towed 860 cars?
16 Q Probable -- 1'm sorry. Hang on. 16 A. what hearing in 2017?
17 You have reason to believe the registered owner of 17 Q. The Chad Hayse hearing.
18 the vehicle is behind the wheel? 18 A. wasn't that 2016?
19 A. Correct. 19 Q. Yes. August 29th. This must be the date of the -- the
20 Q Okay. 20 transcript was typed up.
21 A. And that person has a suspended or expired or cancelled 21 August 29, 2016.
22 driver's license. 22 So, you stated on August 29, 2016 that, for the
23 Q And how would you know that? 23 year before, you towed 776 cars. That would be for
24 A. You run their licmse plate and pop up that information. 24 2015. And then for 2014, you towed four hundred and --
25 Q So, you run plates for anybody that you see on the road? 25 860 for ’14, and for '13, 460.

 

 

 

 

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03/13/2018 Pages 137-140
Page 137 Page 139
1 Does that sound right to you? 1 MS. GORDON: He wants to get out of here, 1 think
2 MR. MEIHN: 1'm just going to object. The 2 he said.
3 transcript speaks for itself . 3 A. well, 1 can go either way. 1t's up to you guys. It
4 But if you have a memory, sir, please. 4 doesn‘t matter.
5 BY MS. GORDON: 5 MR. MEIHN: well, let me fin -- well, we’d at
6 Q. Do you remember testifying to that? 6 least do this last part of it.
7 A. 1 remember speaking. 1 don't ranamber the exact 7 How long do you think you'll need to grill him?
8 numbers 1 gave. 8 MS. GORDON: I've got another probably hour and a
9 Q. Did those -- 9 half .
10 A. But those sound approximately correct. 10 MR. MEIHN: why don't we -- why don't we do this?
11 Q. Okay. So, then, per your testimony at the trial, for 11 why don‘t we just come back at 1:45? That's 30 minutes.
12 2016, you towed 776 cars,~ for 2015, you towed 860; for 12 MS. GORDON: Half an hour?
13 2014, according to you, you -- you towed 460. 13 MR. MEIHN: ‘leah. And that will give me a
14 So, that is -- ‘14, '15, and '16 are significantly 14 chance --
15 less than the cars you towed after June of 2015; 15 MS. GORDON: And that will give you a chance to
16 correct? 16 switch »-
17 A. Well, if -- 17 MR. MEIHN: Yeah.
18 MR. MEIHN: Counsel, 1 have to object. 1'm 18 MS. GORDON: Okay.
19 confused now. 19 MR. MEIHN: Cool. Thank you.
20 A. Yeab. 20 MS. GORDON: See you then, Uh-huh. Surely.
21 MR. MEIHN: You -- you gave numbers for '14, '15, 21 (Deposition recessed at 1:14 p.m.)
22 and ’16, and then you're asking that that -- those 22 * * *
23 numbers are substantially less as of June of 2015? 23
24 MS. GORDON: You know what? That's fine. The 24
25 numbers will speak for themselves. I‘ll come back to 25
Page 138 Page 140
1 this if 1 want to. 1 Tuesday, March 13, 2018
2 MR. MEIHN: Thank you. 2 Bloomfield Hills, Michigan
3 B¥ MS. GORDON: 3 2108 p.m.
4 Q. But 1'm just confirming that this is your testimony with 4 * * *
5 regard to your prior towing numbers. 5 (Deposition resumed pursuant to
6 A. 1'd have to see the transcript. 6 its recess; parties present, same
7 MR. MEIHN: But she's asking you to confirm ~~ 7 as before. Mr. Meihn is not present
8 A. But 1 -- 8 after the break. Mr. wise is now
9 MR. MEIHN: -- that your testimony in the 9 present.)
10 transcript was accurate. 10 * * *
11 A. Yes. at the -- yes. 1 looked up the nmbers on our 11 SERGEANT MATTHEW FURMAN,
12 computer system before 1 went in there. 12 after having been previously duly sworn, was examined
13 MR. MEIHN: Okay. 13 and testified further as follows:
14 BY MS. GORDON: 14 EXAMINATION (Continued)
15 Q. And in 2017, then, how many cars did you tow? 15 BY MS. GORDON:
16 A. 1 don't know. 16 Q. Sergeant, what shift are you working now?
17 Q. was it more than the 860 in 2015? 17 A. Afternoons, ma'am.
18 A. 1 -~ 1 don't know offhand, ma'am. 18 Q. who is your lieutenant?
19 (Discussion held off the record.) 19 A. The administrative lieutenant is in charge of all three
20 MS. GORDON: Okay. 1'm going to need to take about 20 sergeants. That's Lieutenant Kennaley, K-e-n-n-a~l-e-y.
21 a 5-minute break. 21 Q. what data do you -- strike that.
22 what time is your person coming, Greg? 22 How many road patrol officers report to you on any
23 MR. nunn 1;30. 23 given day?
24 MR. COOGAN: You don't want to grab lunch there, 24 A. 1t varies by the day of the week, but a minimum of
25 Mr. Eurman, and -- 25 three.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 141-144
Page 141 Page 143
1 Q. what's -- 1 A. Yes.
2 A. And sometimes we'll have four. 2 Q. Because you're looking to see if you can find somebody
3 Q. what‘s -- four is the maximmim? 3 who has a violation where you can stop them?
4 A. 1 believe five is the maxinuim, but that's rarely met. 4 A, Looking for anything, but yes.
5 Q Okay. what data do you get from the City or the police 5 Q. Okay. Do other officers run plates throughout the day,
6 department, as a sergeant, with regard to the numbers 6 or are they looking for some kind of illegal activity
7 you were talking about earlier vis-a-vis traffic? 7 from what you know?
8 A. They don't provide us with anything 8 A. Yes.
9 Q. And -- and police activity? 9 Q. "Yes," what?
10 A. They don't provide the sergeants with any materials. 10 A. To my knowledge, everybody runs plates. 1 mean,
11 Q 1t's on -- all online? 11 that's --
12 A. And if you want to go on the -- the Records Managanent 12 Q. All day long?
13 System -- 13 A. 1 don't know what they do on their -- when they're out
14 Q Right. 14 there, but guys initiate traffic stops and a lot of it
15 A. 1t's really the RMS. 15 is plate-related.
16 If you want to go on there on your own and pull it 16 Q. well, a lot of it is a moving violation that they
17 up, you can. 17 observe, and then they pull somebody over?
18 Q. Do you for the people that report to you? 18 A. That's correct. There's a variety of things.
19 A. No. 19 Q. Do you assign people to certain locationsl dangerous
20 Q You don't look to see what they're doing during the day? 20 intersections and the like?
21 A. No, ma'am. 21 A. If we get complaints by residents. we have a list of
22 Q Okay. So, you don‘t -- you don't know if they're just 22 like high~target areas. Like there's certain Stop signs
23 driving around and not making stops? 23 in the neighborhoods that are oftm ran or --
24 A. well, I'll dispatch than on calls. 1'll check their 24 Q. 1 just wanted to know if you assign people.
25 security while they're on a call. If they're on 25 Do you ever assign people to certain locations to
Page 142 Page 144
1 something for an extended period of time, 1'11 make sure 1 sit and watch?
2 to do a radio check and make sure they‘re okay. 2 A. Myself, no.
3 Q. How many dispatchers are there typically in a shift? 3 Q. Okay. So, in 20- -» you became a sergeant this year; is
4 A. It can verify from -- vary from, you know, one or two to 4 that correct?
5 twenty. 5 A. That is correct, ma'am.
6 Q. So, you don't know whether one officer is writing ten 6 Q. what are the tow numbers this year since you've become a
7 tickets a day for moving violations and the other is 7 sergeant?
8 writing none? 8 A. 1 have no idea. 1 don't track that.
9 A. Correct. No, 1 don't track that stuff, 9 Q. well, you used to track your tow numbers?
10 Q Does anybody at the City fo -- 10 A. Correct.
11 A. 1 don't -- 11 Q. So, do you know whether or not the tows are down?
12 Q -- to see productivity of the officers? 12 A. 1 don't know. 1 don't track them. 1 don't track those
13 A. 1 don't known ma'am. 1 don‘t. 13 people on my shift.
14 Q Okay. when you pull a car ~- if you're ~- when you 14 Q. 1 didn't ask you whether you tracked them. 1 just
15 were -~ prior to being a sergeant and you were out on 15 wanted to know whether you knew.
16 road patrol, and you decided to run somebody's license 16 A. Okay. 1 have no idea, ma'am, to clarify.
17 just for the heck of it -- 17 Q. Do you go to the Public Safety Commission meetings now
18 A. License plate or driver's license? 18 that you're a sergeant?
19 Q License plate. 19 A. 1 have not been since 1 have been a sergeant, no.
20 A. Okay. 20 Q. How long does it take for a traffic stop where you have
21 Q You're driving behind them, and you run plates. You 21 already run somebody's license and seen that they're
22 don‘t know how many plates you ran a day. we'll see if 22 driving on a suspended to pull them over and call a tow
23 there's a way we can find that out. 23 truck? How long does that typically take?
24 A. Sure. 24 A. well, 1 generally pull them over immediately or as -- as
25 Q But you're running plates throughout the day; correct? 25 conditions allow. 1 mean, if we‘re right at an

 

 

 

 

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1 intersection, obviously, 1 would wait until we're safely 1 A. 1 would -- 1 would assume, yes.
2 on the other side of that, if possible, or something of 2 Q. Okay. And then do you wait there for the tow truck to
3 that nature. 1 mean ~- 3 come?
4 Q. 1 just wanted to know the length of time, not where you 4 A. 0h, yes. Always.
5 pull them over. 5 Q. what happens to the passengers when the tow truck
6 How long does it take between the time you run the 6 arrives?
7 plate -~ 7 A. well, a lot of times. people have already been picked up
8 A. Uh~huh. 8 by their ride if they're from nearby. Otherwise,
9 Q. -- and you -- and the tow truck arrives? 9 they're offered a ride to a nearby location of their
10 A. 1 don't know. 10 choice or any location of their choice in Melvindale.
11 Q. well, you must know. You do it all day long. You did 11 Q. You take anybody and give them a ride, or who takes
12 do it all day long. 12 them?
13 A. 1 -- 13 A. 1f somebody is violent, then no. I've had people
14 Q what's a rough estimate? 14 threaten my life, things of that nature. They don't get
15 A. 1 don't keep tracks of their response times. 1 mean, 15 a ride. But --
16 they're -- 16 Q. Is it your practice to give every single other person a
17 Q 1 know you don't keep track ~~ 17 ride?
18 A. They're fairly quick. 18 A. Offer them a ride. whether they take it or not is up to
19 Q -- but you have a pretty good idea of how long it takes 19 them. 1 have a lot of people ~-
20 you to make a stop and get a tow truck. 20 Q. And do you make records of offering rides?
21 A Usually within a few minutes of me calling. 21 A. 1 do.
22 Q And when do you call? 22 Q. And where do you make the record?
23 A. After I've made the determination to impound the 23 A. 1 make those at the bottom of my report for every stop.
24 vehicle, 24 Q. Okay. And assuming somebody doesn't want a ride but
25 Q Okay. And how do you make that? 25 they're -' they're waiting there, what happens to the
Page 146 Page 148
l You‘ve now run the plate. You see the person is 1 person? 'l'hey go by the side of the road?
2 driving on a suspended. , 2 A. well, they're free to go. 1 can't -- 1 can't detain
3 A. Uh-huh. 3 them until their ride arrives.
4 Q. You've now identified the driver by his or her driver's 4 Q. Okay.
5 license. 5 A. 1 recommend, if they don't want a ride, that they can
6 what -- is there anything more to do before you 6 wait inside a local business or restaurantl or 1 offer
7 call the tow truck? 7 to give them a ride to places like that. But a lot of
8 A. well, 1 see if there's any other violations at that 8 people don't want to ride in a patrol car or they don't
9 time, check the insurance, plate status, things of that 9 want a ride. 1t's --
10 nature. 10 Q. 1 get it. 1 get it.
11 Q So, you ask for the insurance and the license, 11 A. Okay.
12 registration? 12 Q. 1 just wanted to know whether you offered them a ride.
13 A Correct. 13 1 know why they wouldn't want it
14 Q what else? 14
15 A. That's it as far as determining whether to impound. 15
16 Q So, by the time you pull the car over to the side of the 16
17 road, between that time and the time you call the tow 17
18 truck, what is it? About 10 minutes? 18 , ,
19 A. 1 don't know exact times, but 1 mean it's -- 1 would say 19 Q. How long does it take to arrest somebody?
20 roughly. It could vary in either direction. 20 what's the process if you stop somebody and arrest
21 Q. Of course. 21 him or her?
22 A. Someti.mes it takes a while to verify insurance coverage 22 A. 0h, it varies. 1 mean, if they're cooperative,
23 with an insurance company over the phone, and it might 23 uncooperative, how long it takes to pull their
24 take an extra 10 minutes on the phone just with them. 24 paperwork.
25 Q Okay. But roughly about 10 minutes? 25 Q. well, let's go through the steps.

 

 

 

 

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03/13/2018 Pages 149-152
Page 149 Page 151
1 You pull -- pull somebody over because they're 1 A. Then, yes, 1'd have them exit the vehicle.
2 driving on a suspended license, 2 Q. Do you ask for the license first?
3 A. Okay. 3 A. well, 1 would have established that to -- to confirm
4 Q. Because you've now run their plate. 4 their identity prior to making an arrest, yes.
5 So, you've decided to arrest them, hypothetically. 5 Q. Okay. So, now you have them step out of the car.
6 what do you do? 6 A. Yes.
7 A. well, impound the vehicle -- issue the citation, impound 7 Q. what's the next thing you do?
8 the vehicle, secure them in the rear of my patrol car. 8 A. They're handcuffed.
9 Once the tow truck itself is cleared from the scene -- 9 Q. Are they patted down?
10 Q Hang on. you're going a little too fast. 10 A. Yes.
11 A. Okay. 1'm sorry. 11 Q. Okay. So, are they patted down -- handcuffed and then
12 Q Do you read the person their rights there? 12 patted down?
13 A. No. 13 A. Correct.
14 Q Do you handcuff them? 14 Q. Okay. Then what's the next thing that happens?
15 A. Yes. 15 A. Or sometimes vice versa.
16 Q Okay. Do you search the car? 16 Q. And what's the next thing that happens?
17 A. Yes. 17 A. They're walked to the back of my patrol car.
18 Q Okay. what do you do with occupants in the car? 18 Q. Okay. And then you drive them back where?
19 A. well, it depends on what the situation is. 1 mean, it 19 A. To the Melvindale Police Department.
20 kind of varies. 20 Q. Okay. Now, up until the time you head back to the
21 Q what's the range? 21 Melvindale Police Department, have you made a call to
22 A. You have people, passengers, who are uncooperative, 22 the desk?
23 don't want a ride. Because, otherwise, we can call 23 A. It depends --
24 another officer for a ride or trensport, things like 24 Q. Contacted the desk?
25 that. 25 A. Okay. Let's go back a step.
Page 150 Page 152
1 Q. Okay. what's the amount of time, if you're going to 1 This is for a warrant arrest? No other issues?
2 effectuate an arrest, and what happens to the people? 2 Q. Right.
3 Do you drive them to the -~ to the police station? 3 A. Okay. well, 1 would remain right there on the stop
4 A. The person who is being arrested? 4 until the warrant was confirmed. And if somebody is
5 Q Yes. 5 unable to pick up, then the person would be released,
6 A. Yes. 6 possibly, unless they had other issues as well.
7 Q. Okay. 7 Q. So, you ~ so, you do call the desk if it's a warrant
8 A. 'I'hey go to the police station. 8 arrest?
9 Q. Okay. So, how long does it take to effectuate an arrest 9 A. Yes.
10 by the time you decide to make the arrest? Do you have 10 Q. Okay. And --
11 to make a phone call or call in LEIN or call the station 11 A. Or I've actually called other departments myself to --
12 before you make an arrest? 12 from my cell phone.
13 A. If you're verifying the warrant, you would have to run 13 Q. Okay. An -~
14 things through LEIN, perhaps, or contact another agency. 14 A. 1 would call Lincoln Park or Allen Park.
15 Q All right. well, hang on a second. Let me do it this 15 Q. And why are you calling the desk?
16 way, then, 16 A. To have them verify a warrant.
17 You‘re at the car. You've already determined 17 Q. And how do they do that?
18 there's a -- a warrant for an arrest because you see it 18 A. They would send a LEIN message to the other agency.
19 pop up on LEIN. You now stop the person. You've 19 Q. Okay. You can't do that from your car?
20 hypothetically decided to arrest the person. 20 A. No.
21 when you walk up to the car, do you say, "Get out 21 Q. Okay. So, the concept here is, you know there's a
22 of the car"? 22 warrant out but you have to have the warrant verified?
23 A. I've already determined 1'm going to arrest them at this 23 A. Depending who it was for, yes. Or --
24 point? 24 Q. Okay. And what if it's a Melvindale warrant?
25 Q Yes. 25 A. -- not even necessarily -- well, verify but also verify

 

 

 

 

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03/13/2018 Pages 153-156
Page 153 Page 155
1 whether that agency is able or willing to pick up. 1 won't come out.
2 Q. well, what if it‘s Melvindale? Do you call to see if 2 Q. well, do you -- if ~- if you're calling somebody that
3 they're willing to pick up, or are you the pick-up? 3 does come out, you have to stand there and wait, 1
4 A. 1 would be the pick-up. 4 assume?
5 Q. So, with regard to Melvindale, what do you do? 5 A. No, not necessarily. A lot of times we‘ll meet up at a
6 A. well, if 1 decide that 1'm arresting them on the 6 halfway point around --
7 warrant, then 1 would transport them to the police 7 Q. Okay.
8 station. 8 A. ~- one of the cities -- if it's Dearborn, if they decide
9 Q. Do yo -- 9 to come out, we can meet them on the border of our
10 A. Book them. 10 cities.
11 Q Do you call the desk if it's a Melvindale -- 11 Q. So, you have to ~- you have to drive the person arrested
12 A. 1 would notify the desk. 12 somewhere?
13 Q -- arrest warrant? 13 A. Yeah. Yeah. Just a short drive to wherever.
14 THE REPORTER: Excuse me. One at a time, please. 14 Q. So, the very fastest and quickest thing for you, if time
15 BY MS. GORDON: 15 was the only issue, would be to stop the car, have it
16 Q. Okay. So, you do call the desk if you're going to make 16 towed and go on your way?
17 an arrest? 17 That saves you time?
18 A. Not necessarily call. 1 could also send a message from 18 A. The quickest thing would be to issue a citation and send
19 my computer to the terminal. 19 them on their way because towing adds a lot of paperwork
20 Q Okay. Do you have to get any confirmation on any 20 and time.
21 information? 21 Q. Okay. well, the second most quick thing is to call the
22 A. Generally not. 22 tow truck?
23 Q Okay. And if you‘re calling another jurisdiction, what 23 A. Correct.
24 information are you giving the person? 24 Q. Do you stop people when you -- strike that.
25 A. whether that person is basically sane, sober, if they 25 when you run a license plate, can you see if
Page 154 Page 156
1 have any funds on them to post bond. if they have any 1 somebody is an illegal alien?
2 medical issues or if they're injured at that time or 2 A. Generally it doesn't pop up unless there‘s a message
3 things of that nature. Oonditions of the person. 3 that they're on like the terrorist watch list or
4 Q. And if you're in a ~~ what do you need to have somebody 4 something like that. Even that doesn't mean they're an
5 do a LEIN check? what information do you need to give 5 illegal alien.
6 the other person? 6 But through investigation, you can generally
7 A. Full name, date of birth, gender. 7 determine whether they are or not.
8 Q. Okay. And then with that, they can run the LEIN and let 8 Q. Through what investigation?
9 you know what -- what's popped up? 9 A. well, a lot of times somebody who is here illegally will
10 A. Correct. 10 have had a license to start, and they won't have a
11 Q And up until the time you became a sergeant, roughly how 11 license at this point, and it will be expired for many
12 many times in any given week did you actually contact 12 years.
13 another ~~ a department and say, "Do you want to come 13 And so you make contact with them regarding their
14 pick this person up?“ 14 expired licmse and, through the course of conversation,
15 A. 1t verified -- or -- excuse me -- it varied. 15 you know, questioning, find out, you know, if the person
16 Q From what to what? 16 is an illegal alien.
17 A. From nothing t -~ to a couple here or there. 17 Q. I'll hand you Bates stamp 3675.
18 A lot of agencies around here where people have 18 A. Okay.
19 warrants are known for not picking up. 1 mean, they -- 19 1t's difficult to read this one.
20 Q Yeah, you said that. 20 Okay.
21 A. You -- every single time you call them, they '- 21 Q. what -~ what's this about? what does -- do you say on
22 Q ¥ou said that. You said -- 22 the side "illegal alien"?
23 A. -- they just don't come out. 23 A. Correct. The subject was an illegal alien, never
24 Q You said Detroit doesn‘t. 24 acquired a driver's license and had no insurance in the
25 A. Detroit, Highland Park, Hamtramck. Just a lot of places 25 automobile.

 

 

 

 

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03/13/2018 Pages 157-160
Page 157 Page 159
1 Q. And you picked that up from what? 1 1'm paraphrasing --
2 A. lnvestigation at the scene. 2 A. Okay.
3 Q. Are there any times during 2017 that you stopped 3 Q. -- about needing to broaden your scope of patrol duties
4 somebody for driving on a suspended license and did not 4 and not just towing; correct?
5 tow the car? 5 A. 1'd like to see that docmnentation. I don't recall it.
6 A. Possibly, but none that 1 can recall. 6 Q. 1'm not asking you about documentation
7 1 -- 1 gmerally don't like to do that. Unless 7 A. Okay. Well, 1 don't recall.
8 somebody has a severe medical issue or some extenuating 8 Q. Look, you're an officer that's now a sergeant. 1 want
9 circumstance -- they're en route to the hospital or some 9 to know if you recall ever being counseled about
10 life-threatening something, 1 generally would prefer not 10 broadening your patrol activities.
11 to let the car go. 11 That's just a "yes" or a "no" answer. Either you
12 Q You've testified previously that you don't want to be 12 recall it or you don't.
13 complicit in allowing people to violate the law; 13 A. No.
14 correct? 14 Q. Okay. Have you been counseled about your failure to use
15 A. That is correct. 15 appropriate discretion in towing activities?
16 Q But you are complicit when you fail to actually 16 A. 1 have been spoken to about it, and it was somebody's
17 effectuate a court order, an arrest warrant; correct? 17 opinion -~
18 A. No. 18 Q. Well, obviously.
19 Q Well, you're ignoring an arrest warrant when you're an 19 A. -- but it was still my discretion.
20 officer of the law standing there who is authorized to 20 Q. Okay. Have you been -- but you've been talked to by
21 arrest somebody whom the court has ordered be arrested? 21 higher level officers that you are abusing discretion;
22 A. well, again, part of that is -- 22 correct?
23 Q Is that correct? 13 that correct? 23 A. I had a lieutenant verbalize that -- or give me his
24 A. No. 24 opinion on that, but I disagree with it.
25 Q What's incorrect about what 1 said? 25 Q. Well, who has the last word? You cr the commanding
Page 158 Page 160
1 A. A lot of times, I have no control over whether that 1 officer?
2 person can be picked up on their warrant. If the other 2 A. well, in this case, I would say me. That commanding
3 agency won't pick them up, there's nothing 1 can do 3 officer was suspended by the City for perjury, admitted
4 about it. 4 to lying under oath during a public hearing for
5 Q. 1'm talking about Melvindale. 5 Mr. Hayse. So, 1 really don't put any credibility in
6 A. That's my discretion. 6 anything that officer says.
7 Q. Okay. 1 didn't ask you that. 7 Q. Okay. Well --
8 1 asked you whether you've previously testified 8 A. He lied numerous other times on the job.
9 that you don't want to be complicit in people being 9 Q. So, then you -- so, the fact that he was a command
10 allowed to break the law. You said "yes.“ 10 officer over you, you just discounted that on your own
ll A. Uh~huh. 11 and decided not to follow his directives?
12 Q So, then 1 said, but when there's a court-ordered arrest 12 MR. wISE: Object to form.
13 warrant and you decide to let the person go and not 13 BY MS. GORDON:
14 arrest him, you're complicit in ~- in not following what 14 Q. Do I have that right?
15 the court has directed; agree? 15 MR. WISE: Go ahead.
16 MR. wlSE: Just object to form and foundation. 16 A. No. 1 decided --
17 Go ahead. 17 BY MS. GORDON:
18 BY MS. GORDON: 18 Q. You just -- you just decided, 1 don't want to believe
19 Q. Agree? 19 this guy and 1 don't like him, so 1'm just not going to
20 You've used your discretion to not comply with the 20 listen?
21 court-ordered arrest warrant,- correct? 21 A. l decided to use my discretion --
22 A. Correct. 22 Q. And not listen to him?
23 Q Okay. Okay. Now, you have been counseled many times 23 A. -- in -- as allowed by law to enforce the law equally.
24 since you've been with Melvindale P.D. about being ~~ 24 Q. Okay. well, actually, your city procedures manuals say,
25 these are not the City‘s words. These are my words. 25 over and over again, that you‘re in a paramilitary

 

 

 

 

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03/13/2018 Pages 161-164
Page 161 Page 163
1 operation -- 1 committing perjury.
2 A. Uh-huh. 2 1 want to know what the perjury was about.
3 Q. -~ and you report up the chain of command; correct? 3 A. He lied to cover for Mr. Hayse.
4 A. That is correct. 4 Q. What did he say?
5 Q. And your lieutenant's discretion trumps your discretion; 5 A. Well, 1 don't have the transcript in front of me.
6 correct? 6 Q. What do you remember?
7 A. The lieutenant has no authority to take my discretion 7 A. If you make those available to me, 1'd be glad to read
8 away on a traffic ltop. 8 his --
9 Q. Welll if he tells you not to make a traffic stop, you 9 Q. So, you're saying he committed perjury, but you don't
10 have to listen to what he says, don't you? 10 know what it is?
ll A. No. 1t would be a -- it would be an illegal order. 11 A. If -- if you'll provide me with the transcript --
12 Q Well, that assumes he's asking you to do something 12 Q. No.
13 illegal. 13 A. -- 1'd be happy to read that for you.
14 If he tells you to do something that's not illegal 14 Q. look -- look, you used the word "perjury."
15 and you don't do it, that's a sanctionable offense -- 15 A. Okay. That's correct.
16 it’s a possible discipline; correct? 16 Q. Hang -- you know what? You can't interrupt me. I'm now
17 A. Gould you repeat the question? 17 asking you a question, so please wait until 1'm done.
18 MS. GORDON: Read it back, John. 18 You've accused a man of committing perjury,
19 THE REPORTER: Yes. 19 A. Uh-huh.
20 (Record repeated by the reporter.) 20 Q. You did it without refreshing your memory about what he
21 A. correct. 21 had said.
22 BY MS. GORDON: 22 Why did you commit ~- why did you say he committed
23 O. Okay. 1'm going to go back to what you just said about 23 perjury? What did he purger himself with regard to?
24 Welch. You've said it twice today, something about 24 MR. WISE: Object to form. Foundation.
25 committing perjury. 25 Go ahead. You can answer.
Page 162 Page 164
1 A. Uh~huh. Correct. 1 A. Okay. Without the transcript in front of me, I'm going
2 Q. What are you talking about? 2 to decline to answer because 1 don't want to misquote
3 Do you know what perjury is? 3 his statements.
4 A. Yes. 4 BY MS. GORDON:
5 Q. What's the definition? 5 Q. Well, what -~ what was the topic about?
6 A. Lying under oath. 6 A. Mr. Hayse and his behavior while chief.
7 Q. Okay. W‘here was he under oath when he lied? 7 Q. Well, what was it? What was the perjury?
8 A. He was under oath at Mr. llayse's hearing. 8 A. Again, without the transcript in front of --
9 Q. Okay. What did he say? 9 Q. You don't know?
10 A 1 don't have the transcripts i.n front of me. 10 A. If you'd like to make that available to me, 1'd be happy
11 Q Well, you've sat here today, sir, and said many times -- 11 to read it.
12 A. Correct. 12 Q. 1 don't want to make it available to you.
13 Q -- this man committed perjury. So -- 13 A. Okay.
14 A. And he admitted to committing perjury and was 14 Q. You‘re the one using the word "perjury.“
15 disciplined by the City of Melvindale -- 15 A. Okay.
16 Q Okay. 16 Q. So, 1 want to see if you can back up your use of the
17 A -~ for same. 17 word "perjury."
18 Q You know, 1'm asking the question, and 1 know you've got 18 I guess you cannot.
19 your story you want to tell, but 1'm not interested in 19 You don't -- you don't have any idea what he said
20 it. 20 that's perjury from what --
21 A. 1t's documented, ma'am. 21 A. Okay. Well, you're welccme to go pull his personnel
22 Q Whether it's documented or not, it's something that's 22 file and speak to the Safety Ocnmission.
23 your story at the moment. 23 Q. Don't direct me what to do.
24 A. Okay. 24 A. Okay.
25 Q You‘ve accused a man here today, multiple times, of 25 Q. l will »- 1'm --

 

 

 

 

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03/13/2018 Pages 165~168
Page 165 Page 167
1 MR. WISE: ls there a question -- is there a 1 MS. GORDON: That's fine. 1 just want to know --
2 question on the table? 2 MR. WISE: If he says, “1 don't know," he says he
3 MS. GORDON: Well, why don't you ask him? 3 doesn't know.
4 MR. wlSE: 1'm not asking the questions right now. 4 BY MS. GORDON:
5 MS. GORDON: Why don't you ask him if there's a 5 Q. You -- you are unable on your own to articulate any
6 question on the table since he's just recommending 1 go 6 perjury here today?
7 pull stuff . 7 A. Correct.
8 MR. wISE: Well, if you've got a question for him, 8 Q. Okay. All right. Now, after the so~called “perjury,"
9 go ahead. 9 what happened to Lieutenant Welch?
10 MS. GORDON: 1 will. 10 A. Well, a hearing --
11 MR. WISE: 'Ihank you. 11 Q. Is he -- is he at the police department today?
12 BY MS. GORDON: 12 A. No.
13 Q. we're going to get to that in a second. 13 Q. Where is he?
14 1 am just confirming that you cannot articulate 14 A. He retired.
15 here today what the perjury is that you've said several 15 Q. Okay. And when did he retire? As --
16 times. 16 A. 1 don't know the exact date of retirement.
17 A. I'll declining to articulate without the transcripts in 17 Q. As I understand, he's still on the payroll.
18 front of me. 18 Do you believe that to be so or you don't know?
19 Q You don't know without -- 19 A. 1 don't know.
20 A. I'm declining, and I'm not going to say it again. 1'm 20 Q. Okay. And when did he retire?
21 declining. 21 A. 1 last saw him, 1 believe, at the end of last year, the
22 Q Okay. You know, I‘m going to end the dep in about 2 22 beginning of this year, in person.
23 seconds -- 23 Q. Okay. And when was he -~ he was disciplined, you‘re
24 A Okay. 24 saying, or there were some charges that didn't --
25 Q ~ when you tell me you're "not going to say it again." 25 A. That's correct. 1 believe he was suspended for 30 days
Page 166 Page 168
1 MS. GORDON: Counsel, would you please direct your 1 without paying after a hearing regarding his testimony.
2 witness? 2 Q. And when was that?
3 Before you got here today, when Greg was here, he 3 A. 2016, 1 believe. lt was after Mr. Hayse's hearing.
4 got him under control and it was a much more calm 4 Q. And then he came back after that?
5 atmosphere And since he's gone, he's now telling me 5 A. Correct.
6 what he's going to answer and not answer. 6 Q. And he came back as a lieutenant?
7 MR. wlSE: Well -- 7 A. Correct.
8 MS. GORDON: So, 1 will end the dep and go get a 8 Q. So, he continued on as a lieutenant with the City of
9 court order to stop him from telling counsel what he's 9 Melvindale?
10 going to answer or not unless you're going to do it. 10 A. Correct.
11 Would you read back his last answer, John? 11 Q Okay. And do you know ~ did you -- do you have any
12 THE RBPORTER: One second, please. 12 personal knowledge of what he was disciplined for?
13 (Record repeated by the reporter.) 13 A. Well, he lied during the hearing.
14 BY MS. GORDON: 14 Q. 1 asked whether you knew what he was disciplined for,
15 Q Correct? 15 A. No.
16 A. No. 16 Q. And who disciplined him; if you know?
17 Q “No," what? You cannot? 17 A. Public Safety Conmission.
18 A. Cannot what? 18 Q. What is the role of the Public Safety Commission with
19 Q Okay. You cannot identify the perjury. Do 1 have that 19 the police department, as you understand it?
20 right? You -- 20 A. Oversee the police departmmt.
21 MR. WISE: Object to form. Foundation. He said he 21 Q. Have you -- were you sent to diversity training by Chief
22 can‘t tell you without the transcript. He's not going 22 Hayse?
23 to speculate on the transcript. 23 A. ¥es.
24 MS. GORDON: That's fine. 24 Q. And that training »~ training had to -- and that was
25 MR. WISE: Show him the transcript if you -» 25 because you had been racially profiling people?

 

 

 

 

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03/13/2018 Pages 169~172
Page 169 Page 171
1 A. 1 ~- 1 Q. A sergeant? Okay.
2 Q. That's what he said,- is that correct? 2 So, you had black friend or friends, and you told
3 A. No. 3 people you became racially biased because your black
4 As a matter of fact, 1 was ordered to racially 4 friend stole from you; correct? You've used that story?
5 profile by Mr. Hayse. 5 A. 1 told him we stopped being friends when he stole my
6 Q. Okay. Well, we’ll get to that, and you've got your 6 watch.
7 little story, which is false, but 1 realize that's your 7 Q. And yo -e
8 mantra. 8 A. 1t's not because he was black. 1t was because he stole
9 But, in any event, 1'm going to ask you a different 9 my watch.
10 question. 10 Q. And -- and how old were you at this time?
11 You were sent to diversity training because Chief 11 A. 1 don't know. Early teens, mid teens.
12 Hayse was concerned you were racially profiling people? 12 Q. Okay. So, you've continued to tell that story since
13 Do you recall that? 13 you've been at the Melvindale P.D. ,- correct?
14 A 1 recall going to diversity training. 14 A. 1 believe 1 told that story once, and it was during a
15 Q And do you remember why you went to diversity training? 15 discussion of scmd'>ody having a friend stab them in the
16 A. Along with, 1 believe, another officer, but ~- 16 back. 1 remember telling that story.
17 Q. Do you remember why you went? 17 Q. Well, you've said around the station that you're
18 A. No. 18 racially biased.
19 Q. Do you remember the chief expressing concern that you 19 A. No. That's actually completely incorrect.
20 were racially profiling people at some point? 20 Q. You've used the "N“ word, haven't you?
21 A No. 21 A. No, 1 have not.
22 Q Don't you have a story you tell freely about having had 22 Q. You have used the “N“ word several times --
23 a black friend once when you were a child? 23 A. That's absolutely false.
24 A. 1 had numerous black friends. 1 still do today, 1 24 Q. -- in the last ten years; is that correct?
25 could line them up in here for you. 25 A. No. That's incorrect.
Page 170 Page 172
1 And, yes, 1 did -- 1 Q. And haven't you been counseled to be more careful --
2 Q. Well, why don't you -- 2 strike that e- more equitable about where you patrol
3 A. 1 did have -- 3 because it's widely knon that you like to patrol on
4 Q. Well, why don't you just give me the names of your black 4 Schaefer Road; is that correct?
5 friends, then, instead of lining them up in here? 5 A. Schaefer Highway is our busiest traffic area, so 1 do
6 What are their names? 6 like to patrol there because it's -- it's the most
7 A. Okay. 1'm going to decline to provide them at this 7 traffic coming through.
8 time. 8 Q. Well, it's also -- how ~~ how many miles is Schaefer
9 Q. You can‘t decline that, sir. You're under -- 9 Road in Melvindale?
10 A Okay. 10 A. 1 would guess about -- 1 mean fran border to border, a
11 MR. WISE: So, what's the relevance of this? 11 mile and a half, 2 miles maybe.
12 MS. GORDON: This is a discovery dep. 12 Q. And if 1 pull the race on every person you towed in
13 MR. WISE: 1 understand that. 13 2017, what percent of your tows are African Americans?
14 A. All right. Well, 1 can log into Facebook here and 14 A. 1 have no idea, ma'am.
15 provide you with all their names. 15 Q. Is it --
16 BY MS. GORDON: 16 A. 1 don't -- 1 don't do my job based upon age, race or
17 Q. Well, if they're your friends, you shouldn't have to log 17 gender, even when directed to do so by Mr. Hayse.
18 into Facebook. 18 Q. Okay. well, do you know what? Then you should be able
19 So, just give me the names of the people -- 19 to have a pretty good idea of how many African Americans
20 A. Okay. 20 you've towed as compared to white people.
21 Q -- you recall. 21 A. 1 tow whoever breaks the law, ma'am, in accordance with
22 A. I'm drawing a little bit of a blank at this time under 22 my --
23 the pressure. 23 Q. Okay. Well, that may or may not be ~-
24 Q Okay. You're drawing a blank under pressure? 24 A. -- duties.
25 A Correct. 25 THE REPORTER: 1'm sorry. Excuse me.

 

 

 

 

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Page 173 Page 175
1 BY MS. GORDON: 1 Q. And you've already talked about being ordered to get a
2 O. But you've already told me you exercise your discretion 2 psychological evaluation
3 during the day. And 1 want to know, am 1 correct that 3 That was because of your demeanor during towing and
4 you -- a significant percentage of the people you tow 4 all the complaints that had come into the department
5 are black? 5 about your overly aggressive behavior, at least in part,-
6 A. 1 don't knew what percentage. 6 is that correct?
7 Q. Okay. So, you spend a lot of time patrolling Schaefer 7 A. 1 don't know why. 1 was not provided with a direct
8 Road? 8 reason that 1 can recall.
9 A. 1 did. 9 Q. Well, you certainly must have asked, "Why am 1 being
10 Q Up until the time you became a sergeant? 10 sent to get a psychological exam,“ didn't you?
11 A. Up until the time that 1-75 shut down, and a lot of 11 MR. WISE: Just object to foundation Calls for
12 construction was happening in that area, and it really 12 speculation
13 interfered with traffic flow. 13 Go ahead.
14 Q When was that? 14 A. Mr. Hayse told me he was sending me because 1 testified
15 A. Last year, 1 think, they shut down. 1t's still under 15 against him after the Snowgate incident.
16 construction. 16 BY MS. GORDON:
17 Q Do you remember a citizen complaint coming in with 17 Q. Okay. Well, that's funny because 1 just asked you a
18 regard to you in roughly 2013 where you refused to give 18 minute ago why you were sent to see a psychologist and
19 a woman a ride after you had her car towed. She was a 19 you said, "1 don't know. 1 wasn't told."
20 large individual, and you told her she could use the 20 And then 1 said, “Well, you certainly must have
21 walk? 21 asked. "
22 A. Yes. Because sh -- 22 And now you suddenly remember with that --
23 Q Do ~~ do you remember in 2013, l14 you got into a 23 A. No, 1 --
24 physical altercation, a fight with a passenger in a car 24 Q. Hang on.
25 that you towed? 25 You now suddenly remember that, oh, really, 1
Page 174 Page 176
1 A. Could you repeat the question? 1 forgot 1 had that story over there that 1 was -- it was
2 Q. Yeah. 2 all just retaliation?
3 Do you remember that in roughly 2013, ‘14 time 3 Did ~~ is that what the chief told you? lt was
4 frame, you got into a physical altercation with a 4 retaliation?
5 passenger of a car that you towed? 5 A. 1 was very retaliated against. 1 was retaliated against
6 A. Yes. 6 for -- for the last couple years of Mr. Hayse‘s career.
7 Well, 1 don‘t remember which event. 7 Q. Yeah. Well, we're going to get into that in a second
8 Q. And you had ~- and you had to put out -- 1'm sorry? B what you did.
9 A. 1 don't -- which specific event are you referring to? 9 And 1 guess you think retaliation is people trying
10 Q 'l'here's been several times you‘ve gotten into fights,- is 10 to rein in your behavior, is the way 1 read the
11 that correct? 11 documents.
12 A. yes. People come -- become combative on traffic stops. 12 A. Okay.
13 Q And how many times have you had to call for backup when 13 Q. In any event, did the psychologist discuss with you your
14 you've towed somebody? 14 anger issue? Was that something that you discussed in
15 A. Numerous times. 1 couldn't name you a number. 15 the six or seven sessions?
16 Q And with regard to the one 1'm thinking of where you got 16 A. No.
17 into a physical altercation and Chief Hayse responded to 17 Q. That never came up?
18 your call for help, you were later counseled by your 18 A. No.
19 lieutenant on escalating the situation unnecessarily 19 1 don't believe 1 have an anger issue, and 1
20 Do you recall that? 20 don't --
21 A No. 21 Q. 1 didn't ask you if you had an anger issue, nor is your
22 Q Are you denying it, or you just don't recall? 22 opinion worth anything to me about whether you have an
23 A 1 don't recall that. 23 anger issue,
24 I'm not even positive which incident we're 24 MR. wlSE: Stop.
25 referring to, but I don't recall that. 25 BY MS. GORDON:

 

 

 

 

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03/13/2018 Pages 177-180
Page 177 Page 179
1 Q. So, I‘m asking you whether that is something that came 1 A. Alexandra llamric.
2 up with -- 2 Q. And how long did you -~
3 A. 1 don't recall. 3 A. 1 dated her for --
4 Q. -- the psychologist? 4 Q. How long did you go out with her?
5 Okay. Were you talked to about -- with the 5 A. About two years.
6 psychologist about whether -- how -- how you conducted 6 Q. And when was the last time you talked to her?
7 yourself on the job with citizens? 7 A. Couple years ago.
8 A. 1 don't recall. 8 Q. What city does she live in?
9 Q. Were you talked to about your personal life with the 9 A. 1 don't know at this point.
10 psychologist? 10 Q. When -- where did she live when you were dating her?
ll A. I don't recall. ll A. Canton.
12 Q So, you don't recall anything that the psychologist 12 But 1 never made any traffic stop involving her.
13 wanted to talk to you about in those six or seven 13 Q. Did you ever confiscate her driver's license?
14 sessions? Not a single thing? 14 » A. No.
15 A. 1 really don't recall. 15 Q. Did you ever take the license of any other female that
16 Q Not one thing? 16 you had gone out with?
17 A. Don't recall. 17 A. No.
18 Q Did you pay any attention while you were in there, or 18 Q. Are you sure about that?
19 did you just blow it off because you didn‘t care? 19 A. As far as -- I've never pulled over anybody l‘ve gone
20 A. 1 don't recall. 20 out with.
21 Q You don*t care if you blew it -- you don't recall if you 21 (Discussion held off the record.)
22 blew it off . Okay. 22 BY MS. GORDON:
23 That works. 23 Q. What is your -- strike that.
24 Just being honest, 1 guess, over there, aren’t you? 24 (Discussion held off the record.)
25 MR. WISE: Object to the argumentative comments. 25 BY MS. GORDON:
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l They‘re unnecessary. You can ask him questions and move 1 Q. Are you aware that time an ex~girlfriend named Alex
2 along, please. 2 contacted Chief Furman(sic) in writing?
3 MS. GORDON: Okay. 3 MR. COOGAN: "Chief FuITan"?
4 BY MS. GORDON: 4 A. Yeah. 1 like the ring of that.
5 Q. And when you were sent to the psychologist, didn't the 5 ’l'here's no -- there's no Chief human.
6 city psychologist recommend that you be given tools to 6 BY MS. GORDON:
7 help you develop discretion on the job and tried to 7 Q. Good point.
8 assist you with that? 8 Chief Hayse.
9 A. 1 don't recall. 9 A. No.
10 Q In 2016, did you receive a citizen complaint from an 10 1 haven't had contact with Alex in a very long
11 ex-girlfriend of yours that you had stopped her for a 11 time.
12 traffic violation, confiscated her license? 12 Q. Okay. what's your relationship with Sergeant Easton
13 A. Not to my knowledge. 13 like today?
14 Q You‘re not aware that there was a complaint made? 14 A. 1t's fairly neutral. we're not on the same shift. 1
15 A. No, ma'am. 15 don't really see him.
16 Q Who did you stop that was an ex-girlfriend? 16 Q. Well, you've known him a long time, ever since you've
17 A. That's a good question. 17 been with the department, haven't you?
18 1 have no idea. 18 A. Of course, yes.
19 Q Who was your ex~girlfriend in 2015? 19 Q. So, do you have a good relationship with him?
20 A. well, 1 don't know. 20 A. 1'd say it's medicare.
21 Q Did you have a girlfriend in 2014-152 21 Q. Okay. What are the -- what's -- what causes it to be
22 A 1 did have a girlfriend -- 22 mediocre as compared to positive or -- or negative?
23 Q What was her name? 23 A. Well, for one thing, we're on different shifts, so 1
24 A. -- but never made a traffic stop. 24 don't really see him very often.
25 Q What was her name? 25 For another thing, he's got a lot of issues in his

 

 

 

 

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1 own personal life going on, and 1'd rather stay out 1 relaxed and spend more time at the station and do more
2 of -- 2 business stops and things like that as opposed to being
3 Q. Okay. 3 out there arresting people or bringing people to jail or
4 A. -- out of his business and away from him at this time. 4 towing cars or writing tickets. He had a little more

5 Q. Do you respect him as a police officer? 5 different mentality as far as that goes.

6 A. He's all right. 6 Q. I'll hand you Bates stamp 931 and 932.

7 Q. Okay. He does his job well as far as you know? 7 A. Okay.

8 A. 1 don't know. 1'm not his supervisor. He's not on my 8 Q. You were reporting to Sergeant Easton August 2014?

9 shift. 9 A. Yes.

10 Q 1 said "as far as you know." 10 well, he was my -- Lieutenant Welch was a shift

11 From what you've hear -- 11 supervisor, 1 believe, at that time, and Lieutenant --
12 A. 1 -~ 1 -- 12 or Sergeant Easton was his second in command.

13 Q -- and learned or seen? 13 Q. Okay. So, you are, at this point, a corporal, and you
14 A. 1 can't say. 14 take it upon yourself to go to welch with a laundry list
15 He was my supervisor for quite some time. 15 of hasty comments about Easton; correct?

16 Q Okay. How long? 16 A. 1 wouldn't say "nasty.' 1 would say certainly not

17 A. 1'm not sure of an exact time. 1 would guess about 17 flattering, but --
18 three years. 18 Q. why did you do this?

19 Q And what years would those have been? 19 A. Lieutenant welch didn‘t -~ Mr. Hayse did not like

20 when did that end? 20 Sergeant Easton, and they knew that 1 had -- Lieutenant
21 Let's do it that way. 21 welch knew 1 had some issues with him and encouraged me
22 A. lt would have been -- 1 would -- 1'm guessing here, but 22 to write them down. And l told them, 1 said, "1 don't
23 1'm thinking '16, '15, '14. 23 want to be involved in this.' And I ~-

24 Q. Okay. And how did you get alon -- 24 And he told me, 'well, just put on there in bold,
25 A. Maybe '13, but 1 don't -- 1 think 1 was on a different 25 you know, what 1 put here:

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l shift during '13. 1 "I'd prefer --"

2 Q. So, you've had a chance to see him in action. 2 Q. 1'm sorry --

3 was he okay as a supervisor? Did you have some 3 A. (Reading.)

4 respect for him in that regard? 4 "-- that Sergeant Easton did not know that

5 A we had sane issues at times. As you recall from that 5 1 wrote this DCF --“

6 letter you provided earlier, one of your exhibits, we 6 Interdepart:nent cmxnication --

7 did have same -- some personality clash and -- and work 7 "-- for fear of retaliation."

8 issues. 8 Q. what ~~ what did you not want to be involved in? 1 mean
9 But we got along okay the last several years. 9 you saying, "1 don't want to be involved, " what are you
10 Q what were -- what was the personality clash? 10 talking about?

11 A. He was a little more -- 1 like to go out there and work 11 A. Making a complaint against another officer or -- or

12 and do stuff, and he didn't necessarily like that. His 12 raising --

13 opinion was that if a police agent -- if a town is safe, 13 Q. And welch told you to make a complaint against Easton?
14 the police department is not going to have to be out 14 A. He told me he wanted me to write it down -- write a

15 there doing a lot. They can kind of kick back and 15 letter to him as -- as my supervisor.

16 relsx. And my thing was, get out there and work hard 16 Q. Okay. And did that make sense to you?

17 and have a lot of police presence and that would keep 17 A. Yeah. I mean, 1 expressed that 1 don't want to be

18 things safer. 18 involved, and 1 don't want to, but he said 1 need to,
19 Q well, did he tell you not to do that? 19 and 1 did. And that's this letter.

20 1 mean, how did this become a problem? 20 Q. Okay. So, what was the purpose, as you understood it,
21 A. He -- he -- he wasn't real satisfied with -- 21 of welch asking you to write this down?

22 Q You working? 22 A. It sounded like he was going to have to have sane sort
23 A. -- being very proactive, yeah. 23 of meeting or counseling with Sergeant Easton to address
24 Q well, what did he say? 1 mean, why do you say ~- 24 some of his work-related behavior and --

25 A He -- he encouraged me to kind of be a little more 25 Q. Did that ever happen; if you lmow?

 

 

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l A. 1 have no idea. I was told to write the letter. 1 was 1 Q. And, apparently, Easton told you he thought that Goch &
2 told that he wouldn't see it, and then 1 did. And 1 2 Son was going to buy him free lunches and alcohol.
3 didn't hear anything about it, and it's above my rank 3 Did he tell you that?
4 and pay grade to be involved in any discipline of a 4 A. He implied it. 1 don't think he came out and said it,
5 supervisor. we're in different unions as well -- or at 5 but he said they would be a lot better to him and that
6 that time we were in different unions. 6 they -- they would take care of him, 1 think was the
7 Q. Okay. Let's look at the first bullet point. 7 word. But 1 don't recall exactly.
8 "Sergeant Easton often disappears for long 8 Q. who is Alexandra Carrier?
9 periods of time, hours, and is often difficult 9 A. That's Alex. That's her new name. She's married now.
10 to reach over the radio. Often, nobody knows 10 Q. Ah. Her name was Alexandra Hammer(ph)?
11 where he is, but his patrol vehicle will be 11 A. Hamric.
12 parked in a residential area and unoccupied.“ 12 Q. Thank you.
13 Had you ever reported that before to anybody? 13 A. Yes.
14 A. 1 believe 1 made verbal comments to Mr. welch regarding 14 Q. Can you spell that?
15 that. 15 A. H-a-m-r-i~c.
16 Q. By the way, is Easton still with the department? 16 Q. Okay. 1'm going to change the question that 1 asked you
17 A. He is. 17 earlier about whether you ever stopped her and
18 Q. what's his rank today? 18 confiscated her license.
19 A. He's an officer. 19 A. Okay. Because 1 -- I never did.
20 Q. what is he? 20 Q. Fair enough. 1 was -» think 1 was mistaken.
21 A. A police officer. 21 A. Okay.
22 Q. Is he a sergeant still? 22 Q. You told her, though, that you had stopped -- that you
23 A. No. No. He's an officer -- okay. 23 had confiscated a woman's driver's license because it
24 So, our rank goes officer, corporal, sergeant, 24 was suspended, and then you met that woman at a hotel
25 lieutenant. 25 and sold it back to her for money.
Page 186 Page 188
1 He's officer, which is the -- the lowest rank, just 1 A. No.
2 patrol officer. 2 Q. You told Alexandra that, didn't you?
3 Q. And he used to be a sergeant? 3 A. No, ma'am.
4 A. Yes. 4 Q. ls Alexandra a liar?
5 Q. Okay. Second bullet point: 5 A. well, that's -- there's a reason we're not together.
6 "when Sergeant Easton is requested to 6 Q. Oh, okay.
7 assist another officer, it often takes him a 7 A. But --
8 long time to get there." 8 Q. And did you also tell Alexandra -- strike that.
9 were you referring to anything in particular? 9 Did you contact Alexandra at some point when you
10 A. th that 1 recall. I think it was just kind of a 10 were at a hotel with a girlfriend -»
11 general pattern of behavior at that time. 11 A. No.
12 Q. Go to the second page. 12 Q. ~ and discussed this with her?
13 "Sergeant Easton is --" 13 A. No.
14 last bullet. 14 we had an argument one time because she thought 1
15 "Sergeant Easton is vocal about his dislike 15 was seeing an ex, which 1 met for lunch. That
16 of Gene's Towing because they do not send him 16 relationship ended on a sour note.
17 free lunches, alcohol, et cetera." 17 Q. why --
18 what was that referring to? 18 A. which is all for the best, so --
19 A. Sergeant Easton did not like the owner of Gene's Towing. 19 THE REPORTER: "~- all--"
20 There was -- on one occasion he asked the owner of 20 A. which was for the best that it ended.
21 Gene's Towing to buy him lunch -~ 21 THE REPORTER: 1'm sorry.
22 (Discussion held off the record.) 22 A. So --
23 A. ~~ to drop off lunch and the owner declined, and they 23 BY MS. GORDON:
24 got into some sort of arglment. 24 Q. what is -- Alexandra said about you, "It honestly blows
25 BY MS. GORDON: 25 my mind that he is trying to play good cop. He's as

 

 

 

 

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1 crooked and racist as they come." 1 what's the technique?
2 Did you ever discuss that with her that she thought 2 A. Grab by the wrist, by the arm --
3 you were a racist? 3 Q. wait a minute.
4 A. No. 4 You're standing outside the car. She's seated?
5 Q. 1 mean, is she lying when she says you're a racist? 5 A. Correct.
6 MR. wISE: Object to foundation 6 Q. what do you do?
7 BY MS. GORDON: 7 A. Reach in, get a hold of her arm and wrist and extract
8 Q. when she says you're "as racist as they come, " is that 8 her from the vehicle --
9 something she's lying about? 9 Q. well, what's the bar --
10 MR. wlSE: Foundation. 10 A. -- physically -- physically pull her out.
11 A. wes. 11 Q. what‘s the bar part?
12 BY MS. GORDON: 12 A. Basically their arm becomes like a bar so you have like
13 Q. You dated her for two years? 13 movement of the body.
14 A. Correct. 14 Q. Do you use two arms for that?
15 (Discussion held off the record.) 15 A. Yes.
16 BY MS. GORDON: 16 Q. IS it painful?
17 Q. Am 1 correct that on April 26th, you were suspended for 17 A. It doesn't feel good, but -- 1 mean, if you resist, it
18 towing activity that occurred in April of 2016? 18 becomes a higher level of pain.
19 A. 1'd have to see the documentation 1 don't recall what 19 Q. And how old was Cecilia wielichowski at the time?
20 the dates are and things. 20 A. 1 don‘t know.
21 Q well, do you recall that you were disciplined for that? 21 Q. You didn't get her age?
22 A. Yes. 22 A. well, 1 got it at the time, but 1 don't remember today.
23 Q Did a Cecilia wielichowski come into the station and 23 Q. Uh~huh. And did she have children with her?
24 make a complaint about you and how you treated her 24 A. Yes.
25 during the traffic stop and impound? 25 Q. And -- two little children?
Page 190 Page 192
l A. She did. 1 A. Yes.
2 Q. And you put her in an arm bar; is that correct? And 2 Q. where were they in the car?
3 removed her from the vehicle? 3 A. 1n the rear seat --
4 A. After doing everything 1 could to get her to voluntarily 4 Q. Okay. So, why don't you tell me --
5 leave the vehicle and she refused, yes, she was 5 A. -- if 1 remember correctly.
6 physically extracted from the vehicle. 6 Q. -- what happened during the stop.
7 Q. what's an arm bar? 7 why did you pull her car over?
8 A. 1t's carrying acmebody's arms so you have control of 8 A. well, she had a warrant for her arrest. She had no
9 their body, removing them from the vehicle. 9 insurance, She also had a cover over the license plate,
10 Q. well, it's a technique, isn't it? 10 which is illegal in the state of Michigan.
11 A. It is. 1t's a police technique. 11 Q. what kind of a cover?
12 Q. what »- what -- how do you -- 12 A. Like a yellowed plastic cover that goes over the --
13 A. It‘s for compliance control. 13 Q. So, it was a cover that had yellowed?
14 Q So, what do you do? 14 A. Yes.
15 A. You grab them by the arm and the wrist and you maintain 15 Q. 1t was originally a clear cover?
16 control of their body. 16 A. Yes, which is also not allowed.
17 Q And she was in the car at that time? 17 Q. Did you run her plate before you stopped her?
18 A. Correct. And then she came out of the car. 18 A. Yes.
19 Q. So, you leaned into her window? 19 Q. So, you were able to see the number well enough to run
20 A. No, ma'am. 1 opened the door, if 1 recall correctly. 20 the plate?
21 Q. And then ~~ and then what did you do? 21 A. 1 believe so.
22 Then what did you do? 22 Q. Okay. So, you ran the plate.
23 A. Placed her in handcuffs, detained her, secured her in 23 A. Correct.
24 the rear of my patrol car. 24 Q. And you stopped her for what reason?
25 0 Okay. 1 want to know what the arm bar looks like. 25 A. For the plate and then wanted to speak with her about

 

 

 

 

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Page 193 Page 195
l her warrant. 1 problematic.
2 Q. what was the warrant for? 2 Q. well, what -- how was she being problematic?
3 A. 1 don't recall at this point. 3 A. She refused to exit the vehicle when she was asked to.
4 Q. And why did you want to speak with her about it? 4 Q. Okay. why? Did she tell you why she refused to exit
5 A. Make sure she's aware of it and see if she's going to do 5 the vehicle?
6 anything about it and address that with her. 6 A. She just said, "It‘s not being impounded,' if I recall
7 Q. Okay. So, you pulled her over. 7 correctly. 1 don't -- without my report in front of me,
8 A. we advise a lot of people on their warrants. 8 1 can't tell you exactly.
9 Q. You pulled her over. 9 Q. well, her rid ~~ you said she called for a ride. was
10 what road? 10 there a ride on the way?
11 A. Schaefer Highway. ll A. To my knowledge.
12 Q Okay. And what's the next thing that happened after you 12 Q. Okay. Did she want to wait for a ride?
13 pulled her over? 13 A. But 1 -- 1 don't know.
14 A. 1 made contact with her, advised her the reason for the 14 Q. wang on.
15 stop, obtained her driver's license, She informed me 15 A. well, actually, 1 take that back.
16 she had no insurance or came -- 1 don't remember the 16 1 don't know if there was a ride on the way.
17 exact circumstance, but it was determined she had no 17 Q. Okay.
18 insurance, 18 A. But 1 called an additional car because 1 -~ 1 think 1
19 Q And what's the next thing that happened? 19 advised her we would transport her to the station and
20 A well, 1 advised her the vehicle was going to be 20 she could wait there and she's going save --
21 impounded. She was welcome to call for a ride. She 21 Q. why couldn't you stand there and let her -- why couldn't
22 did, or she was on the phone. She became very 22 you let her sit in the car until the ~ in February
23 argumentative. 23 until --
24 Q what do you mean? 24 A. Because she --
25 A. well, she said she -- 1 don't recall exactly without my 25 Q. Excuse me.
Page 194 Page 196
1 report in front of me, but 1 remember she did not want 1 A. I*m sorry.
2 the vehicle to be impounded. 2 Q. Until her ride arrived?
3 (Discussion held off the record.) 3 A. Because that vehicle has been impounded. 1 have to
4 BY MS. GORDON: 4 conduct an inventory search yet and do my paperwork, and
5 Q. Go ahead. 1'm listening. 5 there's no reason she can't sit in the rear of my patrol
6 You -~ 6 car which is also safe, warm and securs, and then be
7 A. I don't recall the exact events. 7 transported to a safe location.

8 Q. You tell her, "I’m impounding your car." 8 Q. So, you were going to sit in that location anyway. You
9 And did she at that point get on the phone to make 9 were willing to leave your car in that location anyway?
10 a call? 10 A. Until the tow truck had cleared. And then she would be
11 A Yes. She was allowed to use the phone. we always allow 11 transported back to the police department, but if th --

12 people to use the phone if they have one, which -- 12 Q. Right.

13 Q You allow them to? 13 So, why couldn't she --

14 She wasn't under arrest, was she? 14 A. If the patrol -- if the tow truck cme to the vehicle,
15 A Well, we advise them they're welcome to use their phone 15 and she's still in it, now we're tying up the tow
16 and call for a ride. 16 truck’s time, we're tying up everybody else's time.
17 Q. Ckay. 17 we're extending the length of the traffic stop.

18 A. Make sure they don't think they're not allowed to, 18 Q. what's --

19 basically. 19 A. And we're sitting on the roadway which creates a
20 Q Okay. So, 1 want to know -- you tell her you're 20 traffic hazard.

21 impounding her car. She gets on the phone. 21 Q. when is the last time you saw her that day?

22 what's the next thing that happens? 22 A. when is the last time 1 saw her that day?

23 when did the "argumentative" occur? 23 Q. Yeah.

24 A. 1 don't recall the exact conversation we had. But 1 did 24 what was she doing? where was she?

25 end up calling for another unit because she was being 25 A. 1 believe she was at the department lobby.

 

 

 

 

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03/13/2018 Pages 197-200
Page 197 Page 199
1 Q. Okay. And you had driven her there? l Q. what else did she do that noncompliant?
2 A. No. The officer 1 called to assist, which was Corporal 2 MR. wlSE: Go ahead.
3 Hinojose, drove her to that location if 1 recall 3 MS. GORDON: Gkay. Larry, you know what? He -- he
4 correctly. 4 can handle this dep, You've got a habit of ~-
5 Q. And what did you do? 5 MR. COOGAN: You know what?
6 A. 1 stayed with the vehicle, did the inventory search and 6 MS. GORDON: -- telling other lawyers what to do.
7 waited for -~ 7 NR. COOGAN: 1 don't need to listen to what you say
8 Q. And then what did you dc? 8 right now. Your opinion means nothing to me.
9 A. I waited for the tow truck to arrive and did my 9 MS. GORDON: Okay.
10 paperwork. 10 MR. COOGAN: 1 can talk to my co-counsel just like
11 Q. And then where did you go? 11 you talk to your co-counsel. 1 don't comment --
12 A. 1 don't recall after that. 12 MS. GORDON: You're telling -~
13 Q. well, did you go back to the station? 13 MR. COOGAN: ~» when you talk to your co-counsel.
14 A. At same point. 14 MS. GORDON: Fair enough.
15 Q. well, was she in the lobby when you got there? 15 MR. COOGAN: Don't counsel me.
16 A. 1 believe she was. She was transported to -- 16 MS. GORDON: 1t's a good point.
17 Q. Are you guessing? 17 MR. COOGAN: Thank you.
18 A. Yes. 18 MS. GORDON: 'I'hat‘S a good point.
19 No. 1 believe she was -- she was transported to 19 MR. COOGAN: 1'm just fair.
20 the lobby as far as I know, but -- 20 MS. GORDON: 1 just have to -~ you know, you're
21 Q. Did you arrest her? 21 always ~-
22 A. No. 22 MR. COOGAN: 1'm sorry if 1 -- I'm sorry --
23 Q. well, did you see her at the station or not? 23 MS. GORDON: You‘re always in the ear of other
24 A. 1 don't recall. 1 believe so. 24 lawyers because you would rather be doing the dep, and 1
25 Q. well, how long did it take you to get back to that 25 get that.
Page 198 Page 200
1 station? 1 MR. COOGAN: 1 would.
2 A. 1 don't know. 2 MS. GORDON: So, instead, that's your Plan B.
3 Q. So, 1'm going to go -~ 1 want to know what caused the 3 MR. GOOCDN: 1 thought 1 was whispering but
4 argmnentative part of the conversation. 4 sometimes 1'm little louder than 1 thought.
5 A. I don't know. 5 MS. GORDON: All right.
6 Q. Do you remember? 6 MR. wISE: 1 have bad hearing.
7 A. I don't lmow. 7 BY MS. GORDON:
8 well, being advised her vehicle is being impounded. 8 Q. Okay. So, when -~ we‘ll get the report, and you'll tell
9 She also was very unhappy to receive a ticket. 9 me what the argumentative part is.
10 Q. well, everybody is, 1 assume; correct? You must be used 10 So, after the arm bar, what happened?
11 to that. 11 A. 1 don't recall. 1'll wait for the report.
12 A. well, for the most part, yeah, no one is really happy to 12 Q. After you pull -~ after you pulled her out of the
13 get a ticket. 13 vehicle, then what happened?
14 Q. 1'm sure you weren't happy when you got your tickets, 14 A. I‘ll wait to reference the report.
15 were you? 15 Q. And you forced her over the hood of the car; is that
16 A. Absolutely not, but -- 16 correct?
17 Q. But what? 17 A. 1 don't recall.
18 A. 1t's part of life. 1 was canpliant. 1 certainly 18 Q. You don't recall this?
19 wouldn't give an officer a hard time. 19 A. No, ma'am.
20 Q. well, she didn't give you a hard time other than she 20 Q. You were disciplined for it, sir.
21 didn't apparently want to get immediately out of the car 21 A. 1t was several years ago, and the discipline was
22 with small children in the back. 22 overturned by the Public Safety chumilsion, who found
23 (Discussion held off the record.) 23 Mr. Hsyse to be in error and my --
24 MR. COOGAN: Object to form. 24 Q. well, not because ~~ not because you --
25 BY MS. GORDON: 25 A. -- vacation days were reinstated.

 

 

 

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03/13/2018 Pages 201-204
Page 201 Page 203

l 'l'HE REPORTER: EXCuse me? 1 Q. Who?

2 BY MS. GORDON: 2 A. Mike Welch.

3 Q. Not because you didn't do this. lt wasn't overturned 3 Q. welch stated in his memo to Hayse about this that welch

4 because you didn‘t do this. It was overturned on a 4 asked you, “If you see a need to go hands-on with a

5 technicality that he didn't give you notice in advance ; 5 subject and use physical force, the person was not

6 right? 6 placed under arrest, why?"

7 MR. wISE: Object to form. Argumentative. 7 Do you remember him asking you that?

8 A. Not to my lmowledge, no. 8 A. Vaguely.

9 BY MS. GORDON: 9 Q. why did you not arrest her if you took it to the point
10 Q. well, what is your reason that this was overturned? 10 where you actually had to use your hands to pull her out
11 Because everybody is lying about you; the citizen, the 11 of the car?

12 lieutenant, the chief? 12 Do you recall whether you had an explanation for
13 Do you know why this was overturned? 13 that?
14 A. The Safety Oomission overturned it when 1 explained the 14 A. 1 would have liked to, but she had her two children with
15 situation. 15 her, so we made the -- 1 made the decision not to.
16 Q why? 16 Q. Okay. well, according to welch, you had no explanation
17 1 know. why? 17 for your actions when he asked you.
18 A. They found he shouldn't have taken those days from me. 18 Do you recall that?
19 Q That's because he didn't fill out the form. 19 A. No.
20 Are you aware of that? 20 Q. 1'll hand you Bates stamp 938 and 939.
21 A. That's because 1 was doing my job in accordance with the 21 Second paragraph on the second page.
22 way it should have been done. 22 “1 asked Furman why --“
23 Q well, was that on the record with the Public Safety 23 A. Let me read the entire document here.
24 Commission? 24 Okay.
25 A 1 don't know. 1 was not recording the meeting. 25 (Discussion held off the record.)
Page 202 Page 204

1 So, we have n -- you have no record that you know 1 A. Okay.

2 of, of your discipline being overturned because you 2 BY MS. GORDON:

3 didn't actually -- 3 Q. Okay. Go to the second paragraph on the second page.

4 A. 1t -- 4 "1 asked Furman why, if he saw the need to

5 Q you've got to let me finish. 5 go hands-on with the subject and use physical

6 -- you didn't actually conduct yourself in an 6 force that person was not placed under arrest.

7 inappropriate way? 7 He had no explanation."

8 Do you have any written record -- 8 Is that correct?

9 A. There is a record -- 9 A. No. 1 typed a written explanation in regards to the
10 Q -- of why this was overturned? 10 incident to --

11 A -- on file that it was overturned by the Safety 11 Q. well, that was after this conversation. 1'm talking -s
12 Comission. 1t's in their minutes, but 1 do not have a 12 A. Okay.

13 copy. 13 Q. -- talking about what he's got on this page.

14 Q. why did you not arrest, Ms. wielichowski? 14 A. 1 don't recall.

15 A. She had two children with her. 15 Nor do 1 put any credibility in anything Mike welch
16 Q Okay. But you -- didn't you say that there was a 16 writes or says.

17 warrant out for her arrest? 17 Q. 0h, 1 know. You don't like to put credibility in -- to
18 A. There was, 18 anybody that apparently has criticized you. That's kind
19 Q And didn't you say that she was not complying with you? 19 of your go-to. when they criticize --

20 A. Correct. 20 MR. wISE: Any question?

21 Q And she -- did you learn she came in and made a citizens 21 BY MS. GORDON:

22 conplaint? 22 Q. »- the person has no credibility.

23 A. Yes. 23 MR. wISE: You're not going to sit here and argue
24 Q. Did anybody investigate it? 24 with him, as you've been doing since 1 got here.

25 A. Yes. 25 BY MS. GORDON:

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 205-208
Page 205 Page 207
1 Q. Okay. This memo also says: 1 MS. GORDON: This is an 1ncident Investigation
2 "1 have spoken to Corporal Furman 2 Report.
3 repeatedly over using discretion, and it appears 3 MR. COOGAN: Yeah. It should be on the first page,
4 to fall on deaf ears. Other supervisors and 4 list the individual.
5 officers tell me they have talked to him to no 5 Unless it was redacted or something for some
6 avail. " 6 reason.
7 Does that refresh your recollection that you were 7 MS. GORDON: wasn't redacted.
8 talked to on multiple occasions about your inability to 8 MR. COOGAN: 1 looked at about 700 a week.
9 use discretion? 9 MS. GORDON: Okay. Taylor. This is a different
10 A. 1 don't recall. 10 page.
11 Q. The last paragraph says: 11 BY MS. GORDON:
12 "There‘s a serious problem here with lack 12 Q. She lived at 15519 Pond Village in Taylor, Michigan.
13 of discretion and common sense. 1 believe my 13 A. Okay.
14 efforts to coach and counsel F‘urman on his 14 Q. Is that -- how far is that from Melvindale and Schaefer
15 behavior are largely ignored. 1 feel that, 15 Highway?
16 while he is working, 1 cannot trust him to do 16 A. 1'm not exactly sure where in Taylor that is, but 1'm
17 the right thing. Every encounter with a 17 guessing at least a good 15 minutes, maybe 20 minutes.
18 citizen has a different set of circumstances 18 Q. So, she told you she had someone on the way, and you
19 and many options for an officer to take. 19 were not willing for her ride to get there, so you
20 human seems to only take the path that suits 20 pulled her out of the vehicle; correct?
21 him." 21 A. I don't like to sit on the roadway. It would be better
22 Do you see that? 22 to get everything off the roadway and get then to a safe
23 A. 1 see that. 23 place to wait, be it the station lobby, a restaurant or
24 0. Did you see that at the time? 24 a location of their choice.
25 A. No. 1 did not see a copy of this meno, 1 don't think. 25 Q. Okay. She could have turned around a corner onto a side
Page 206 Page 208
1 Q. when did you -- when did you first see that memo? 1 street, couldn't she?
2 A. 1 don't know. 2 A. No, ma'am. Once that vehicle has no insurance, it's not
3 Q. Did you cite -- give wielichowski a citation with regard 3 supposed to be on the roadway and 1 can't let her drive
4 to her license plate? 4 any further.
5 A. 1 don't recall. 1 know 1 gave her a citation, but 1 5 Q. ¥ou ~ you knew she had no insurance by the time you
6 don't recall. 6 pulled her over; correct?
7 Q. wielichowski told you that -- that she had somebody on 7 A. Not for -- 1 hadn't confirmed that with her yet.
8 the way already to come and get her; is that correct? 8 When you run a license plate, Secretary of State
9 A. I don't recall for certain. 9 will show if there's any insurance on file for the
10 Q. That's what your answer says, your report. 10 vehicle or not.
11 A. Okay. Can 1 see that? 11 Q. what's an “SOS"? Secretary of State?
12 Q. No, not yet. 12 A. Secretary of State, like where you go for your license
13 A. Okay. 13 plate.
14 Q. where ~~ do you recall what city she lived in? 14 Q. well, is that what you get when you run her plate, the
15 A. No. 15 Secretary of State?
16 (Discussion held off the record.) 16 A. Among other things. That is one of the things that
17 BY MS. GORDON: 17 Comes up.
18 Q. where will 1 find her address on your report? 18 Q. So, you would have gotten that when you ran her plate,
19 Anywhere? 19 before you pulled her over?
20 A. Yes, it would be on there. 20 A. Yes.
21 MR. COOGAN: If 1 can help, it should be up at the 21 Q. But in your report, you don't say that. In your report
22 top, the first page. 22 you say you ran -- ran her license plate after you
23 Help streamline things here, 23 initiated the stop.
24 It should be on the first page, address of the 24 A. Okay.
25 defendant. 25 Q. So, that's not honest, is it?

 

 

 

 

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03/13/2018 Pages 209-212
Page 209 Page 211
1 A. Like 1 said, 1 don't recall. But if 1 -- you asked if 1 1 MR. wISE: Appreciate it.
2 run the plate, will it come back. Yes, when we run -- 2 1 appreciate it.
3 Q. No, 1 didn't. 3 (Short recess at 3:16 p.m.)
4 A. okay. 4 * * *
5 Q 1 wanted to know whether you ran the plate before you 5 (Record resumed at 3:28 p.m.)
6 stopped her and knew she didn't have insurance, and you 6 BY MS. GORDON:
7 said yes. 7 Q. Your form for incident and investigation report includes
8 A. Okay. well, 1 don't recall. Again, 1 haven't been 8 date of birth and age; correct?
9 allowed to see my -- my report there to refresh my 9 A. Correct.
10 memory. 10 Q. 1t includes race; is that correct?
11 Q were her children in safety seats? 11 A. Correct.
12 A. 1 don't recall. 12 Q. lt includes sex; is that correct?
13 Q Isn’t it a violation to have -- not to have children 13 A. well, gender,
14 under a certain age in a child seat? 14 Q. lt says "sex."
15 A. Yes. 15 A. 0h, okay. Thm "sex."
16 Q Okay. So, how could you transport children in your car? 16 Q. Same thing as gender; correct?
17 You don‘t have children seats in there, do you? 17 A. Correct.
18 A No. There‘s no children seats in our patrol cars. 18 Q. And it includes that for anybody involved in the event,
19 Q So, you can't transport a one- and a three~year~old 19 whether it's a victim or a defendant; correct?
20 safely in your car obviously. 20 A. Anyone who would have access to the report and anyone
21 A. well, we have -- we have seat belts in our patrol cars. 21 who would be listed in it.
22 Q. Adult seat belts? 22 Q. Is this discriminatory under the Constitution, as you
23 A. Correct. 23 described to me earlier today ~-
24 Q. 10u‘re not aware that those are not used for babies and 24 A. No.
25 toddlers and children? 25 Q. -~ at the beginning of your dep?
Page 210 Page 212
1 A. 'l'hey can be used to -- if -- to position in a child 1 A. Having that information on the report?
2 seat. 2 Q. Yeah.
3 Q. Do you know what the law is in the state of Michigan on 3 A. No, because it's not used to base anything that the
4 transporting a baby or a toddler in a vehicle? 4 report concerns.
5 A. Must be i.n a safety seat. 5 Q. How about yo -- do you often identify people to the
6 Q. Okay. So, it would be illegal for you to transport a 6 department by race and gender?
7 child not in a safety seat; correct? 7 A. 1f you're giving, say, a BOL, look for somebody, robbery
8 A. 1'm not sure if there's an exemption for police vehicles 8 suspect, white female, long blonde hair, red shirt,
9 or not. 9 then --
10 Q well, maybe -- maybe ~- 1'm sure there‘s not, but maybe 10 Q. Other than that, no?
11 the mother just didn't want her children not to be in a 11 A. Can you repeat the question again?
12 safety seat. 12 Q. Yeah.
13 Did that cross your mind? 13 Do you identify people by race or gender when
14 A. well, she couldn't have cared that much. She's riding 14 you're talking to the department?
15 around in an uninsured vehicle. 15 A. To describe a person in a report.`
16 O Okay. Very interesting Very interesting comment from 16 Q. For what -- for what purpose?
17 you. 17 A. Descriptive purposes.
18 A. Thank you. 18 Q. But for what -- why would you want to describe a person?
19 MR. WISE: Deb, can we take just a quick break so 1 19 lf it was going to be somebody you were going to be
20 can use the restroom? 1’ll be right back. 20 looking for or needed to identify?
21 MS. GORDON: Okay. 21 A. Correct.
22 MR. wISE: Just -~ literally like -- just like 2 22 Q. 1n this report, you wrote back about this wielichowski
23 minutes. 23 stuff. You identified the person who picked up
24 MS. GORDON: Sure. Sure. 24 wielichowski as a black male.
25 A. I've got to go, too. 25 Do you recall that?

 

 

 

 

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03/13/2018 Pages 213-216
Page 213 Page 215
l A. 1'd have to see the report. 1 Q. You say in this document:
2 Q. why would you »- why would you need to talk about the 2 "1f 1 had allowed wielichowski to drive
3 race of the person that was picking her up? 3 the vehicle and it was involved in an accident,
4 A. Because if somebody says, "well, she was never picked 4 1 could potentially be held liable for damages. "
5 up, never had a ride," 1 could say, "well, that's not 5 A. Correct.
6 true. Somebody watching this description picked her up, 6 Q. where did you come up with that?
7 so she was, indeed, picked up." 7 A. well, to me it's the same as if 1 pull over somebody who
8 Q. 1 notice that you note in your description that 8 is drunk and 1 don't do my job to get them off the road,
9 Ms. wielichowski was ableebodied. 9 and 1 say, "well, just get hare safe,' and then they run
10 what was the purpose of that, when you're ~ in 10 somebody over half a mile down the road. Guess who
11 your response? You wanted to let your lieutenant know 11 that's falling back on? Not only that driver, but it's
12 that, in getting her out of the car and taking her, you 12 coming back to me because 1 had a legal obligation to
13 know, wherever you were going to take her, she was an -- 13 remove that driver.
14 she was an able-bodied person apparently. 14 Q. 0h, 1 didn't know there was that cause of action in
15 ls that correct? 15 Michigan.
16 A. Yes. That would be to indicate that she had no physical 16 A. well, 1 have a duty as a police officer.
17 ailmmt preventing her from leaving the vehicle on her 17 Q. 1 didn't say you had a duty or didn't have a duty.
18 own accord or cooperating with my orders to exit the 18 1'm asking you why you're telling me that if the
19 vehicle. She wasn't handicapped. She wasn't missing 19 vehicle was involved in an accident you could be
20 any limbs, things of that nature. 20 potentially liable for damages in that the vehicle
21 Q. well, that‘s not why you say it, actually. You're 21 didn't have insurance?
22 describing that was one of the reasons you made the 22 A. well --
23 decision to impound her vehicle, that you had assessed 23 Q. Has anybody given you that as a legal opinion?
24 that she was able-bodied. 24 A. Yes. 1 called --
25 Do you recall that? 25 Q. who?
Page 214 Page 216
1 A. 1'd have to see the report. 1 don't recall offhand. 1 A. -- a lawyer --
2 Q. And you described her as a female -- as an able-bodied 2 Q. who?
3 female. 3 A. -- and actually asked that -- 1 don't recall now.
4 Do you recall that as for a reason as to why you 4 Q. who?
5 decided to impound? 5 A. It was several years ago.
6 A. I‘d have to see the report. 1 don't recall. 6 Plus, 1 mean, there's evidence today lawyers are
7 Q. So, you did transport wielichowski and her infant 7 willing to take just about any case, whether they have
8 children in your car back to the station? 8 merit or not.
9 A. 1 don't recall for certain, but 1 do not believe 1 did. 9 Q. well, that's not your job to figure out who has merit
10 1 believe officer Hinojosa transported her. But 1'm not 10 and who doesn't. your job is to not misstate the law,
11 positive. I‘d have to see my report for refermce. 11 such as, "if 1 had allowed wielichowski to drive the
12 Q. well, in your response to welch, you said: 12 vehicle, 1 could potentially be held liable »» liable
13 “1 was able to safely transport 13 for danages."
14 wielichowski and her passengers to white 14 So, either you‘re making something up, or you just
15 Castle in Melvindale." 15 want everybody to feel sorry for you, or you‘re right.
16 1 guess 1 misspoke. ‘lou took her to the white 16 So, 1'm just trying to figure out which one of these it
17 Castle. 17 is --
18 Does that refresh your memory? 18 MR. wISE: 15 there a question here --
19 A. 1 -- 1 don't recall. 1'd have to review the report. 19 BY MS. GORDON:
20 Q. Okay. Let's assume for a second you transported her and 20 Q. ~ and whether you're correct.
21 her children to the white Castle. 21 MR. wISE: ~~ anywhere?
22 A. Okay. 22 1 saw him. 1 saw larry give you --
23 Q. \lou did so without putting them in child seats, clearly; 23 MR. wISE: No, this is --
24 right? 24 MS. GORDON: Okay.
25 A. 1 would presume so. 25 MR. wISE: 1 mean, you've been talking for a while
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03/13/2018 Pages 217~220
Page 217 Page 219
1 now -- 1 A. 1'd like to see that, please.
2 MS. GORDON: Okay. 2 Q. well, you will.
3 MR. wISE: -- and you've asked him the same thing 3 A. Okay. Let's take a look.
4 about three times. 4 1 know 1 had felony assaults where 1 had called
5 BY MS. GORDON: 5 Detroit and they wouldn't pick up.
6 Q. You go on to say: 6 Q. 1f you're worried about not being sued, why would you
7 "1f wielichowski was allowed to leave the 7 put toddlers in the rear seat of your car where they
8 scene and was then involved in an accident, she 8 could be killed in an accident?
9 would have no insurance policy to cover damages 9 A. Transport them to a safe location.
10 for herself, her children or vehicle, or any 10 Q. well, your car wasn't a safe location for toddlers via
11 incident parties, bicycle -- bicyclists." 11 the State of Michigan law.
12 Did you think you could be sued by all of them? 12 So, you were apparently willing to take that risk;
13 A. 1 don't know. we're a sue-happy society. 13 right?
14 Q. So, you base your actions on the fact that we're a 14 A. 1t's a better risk than leaving people on the side of
15 sue-happy society and not the law? 15 the road.
16 A. 1 base my actions upon doing my job -- 16 Q. well, she wanted to wait for her ride; remember?
17 Q. well, you're -» 17 Do you take into account the weather when you
18 A. -- in accordance with the law. 18 decide whether to impound a vehicle or not?
19 Q. Sir, this is your reasons for the impound, which you say 19 A. whether to impound it? No.
20 is doing your job and following the law, and you're 20 Q. You don't take that into account?
21 giving us one of the reasons you impounded her, that you 21 A. How does the weather affect the law?
22 personally don't want to be sued. 22 Q. 1'm asking you. 1 just wanted to know whether, before
23 A. That's correct. 1 don't want to open myself or the 23 you impound a car, you take into account the weather.
24 department up to liability. 24 A. No. The weather has no -- no basis in the law and vice
25 Q. Okay. But if there's an arrest warrant out for 25 versa.
Page 218 Page 220
1 somebody, you let them go, even though they may then go 1 Q. well, that's not what you say in your e~ your report.
2 run somebody over in their car or shoot and kill 2 You give, as one of the reasons you impounded the
3 somebody. lt doesn't bother you that there's an arrest 3 vehicle, you say:
4 warrant out, and you didn't pick the person up. You‘re 4 "1 made the decision to impound
5 willing to take that risk; right? 5 wielichowski's vehicle for several reasons."
6 MR. wISE: Foundation. Assumes facts not in 6 Reason 9 is:
7 evidence. 7 "‘I'hey would not be left exposed to the
8 Go ahead. 8 elements except for a very short time. 1t was
9 BY MS. GORDON: 9 daylight, sunny and warm with no rain. "
10 Q. You're willing to take -- you‘re willing to let 10 A. Uh-huh.
11 somebody, who there's actually a court order to 11 Q. So, obviously, you did think weather was a factor, and
12 arrest -- 12 you included it in one of the reasons that you were
13 A. That's a mischaracterization. 13 impounding the vehicle; correct?
14 Q. ~- leave the scene. Okay. 14 A. That's -- that's taken out of context. what that --
15 A. Because it depends on the severity of the warrant. 1f 15 Q. Okay.
16 it's a serious warrant, a violence warrant, something 16 A. -- was to indicate is the fact that Ms. wielichowski and
17 like that, they're going in. If it's a traffic warrant 17 her children, from the time they walked to her
18 or an unpaid parking ticket or a handicapped -- you 18 vehicle ~- or from her vehicle to my patrol car weren't
19 know, some sort of parking or driving offense, those are 19 going to be in any inclement weather. So, 1 mean, that
20 the kind of warrants. An ordinance. 20 way it shows that she had no objection to that. 1t's
21 Q. what if it's a speeding ticket? 21 not like we're out in a bail storm.
22 A. If it's a speeding ticket, that's my discretion. 22 Q. Well, 1'm sorry. You're the one that put it under the
23 Q. You don't recall that you let a felony assault drive off 23 list of things of:
24 into the sunset on a warrant? 24 “1 made the decision to impound
25 I'll be happy to show it to you. 25 wielichowski's vehicle for several reasons."

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 221-224
page 221 Page 223
1 "Number 9: It was daylight, sunny and warm. 1 the City?
2 No rain. " 2 You gave me your base, but what did you get when
3 You don't say it's because she could walk safely to 3 you include overtime?
4 your car, but fine. 1t says what it says. 4 A. 1 don't have the exact figure offhand, but 1 believe it
5 You were subsequently disciplined by Chief Hayse, 5 was somewhere around $86.
6 suspended for three days. And the explanation is that 6 Q. So, you do your sergeant work on your normal schedule
7 you gave a verbal warning about a license plate cover on 7 and then you work overtime and do tows ; correct?
8 the vehicle, yet you were able to run the license plate 8 A. well, we have different forms of overtime. If there's
9 prior to stopping the vehicle. 9 no other shift overtime available or supervisor overtime
10 You‘ve already covered that with me here today; 10 available, then, yes, 1 do have the option of going out
11 right? 11 and either doing traffic enforcement, or if you want to
12 A. Correct. 12 come in at night when it's late, drunk driver
13 Q You never gave her a ticket for the license plate cover. 13 enforcemmxt.
14 You were, earlier -- 14 Q. So, you saw him two days ago on a tow?
15 A. 1'm a nice guy. 1 give a lot of warnings. 15 A. 1es.
16 Q Yeah. As long as you can get that impound and take care 16 Q. when is the last time you socialized with him?
17 of your buddies over at Goch, good and good. 17 A. I‘m not sure offhand.
18 MR. wISE: Objeot. Argumentative. Come on. 18 Q. well, give me a rough idea.
19 MS. GORDON: His cement wasn‘t? 19 A. Socialize -- 1 mean, 1 talk with him wham 1 see him.
20 BY MS. GORDON: 20 Q. Okay. when is the last time you guys had a coffee or a
21 Q By the way, you said you've got a buddy named Briscoe at 21 beer or whatever else you have?
22 Goch? 22 A. went to his birthday party last year, 1 think, for maybe
23 A. Yes. He i.mpol.mds vehicles for them. 23 20 minutes, 1 had to work at 4:00 a.m. the next day, so
24 Q You hav -- 24 1 just stopped up and bought him a beer and wished him a
25 A. He's in charge of the Melvindale sector. 25 good night.
Page 222 Page 224
l Q. You have his cell phone number, don't you? 1 Q. was that the last time you saw him or not?
2 A. Yes. 2 A. 0h, no, I've seen him since then. 1 mean 1 see him
3 Q. And you contact him directly, don't you? 3 frequently when 1 --
4 A. Yes. 4 Q. Socialized with him since then?
5 Q. You don't go through whatever the towing number -~ 5 A. That's probably the last time 1 -- well, no. 1'm sorry.
6 A. He‘s assigned to be in Melvindale, so he stays in 6 The Christmas party this year.
7 Melvindale so it's easier to call him than to call their 7 Q. what was the Christmas party?
8 dispatch and go through the prompts. 8 A. 1t's to celebrate Chrisomas.
9 Q. So, you and he have a thing worked out. He stays close 9 Q. 1 know. But a lot of people have parties.
10 to where you're going to be because he knows he‘s going 10 whose party was it?
11 to get tows »~ 11 A. Goch & Sons.
12 A. He's -- 12 Q. And you knew exactly what 1 meant. That was just being
13 Q -- and he's going to be able to make money; correct? 13 a smart aleck. But that's fine. That’s who you are.
14 MR. wISE: Object to form. Foundation. Assumes 14 So, where was the Christmas party at Goch & Sons?
15 facts not in evidence. 15 A. 1 believe it was at The Broadcast Booth in Allen Park.
16 GO ahead, 16 Q. Uh~huh.
17 BY MS. GORDON: 17 And who all was invited?
18 Q when is the last time you saw Briscoe? 18 A. well, 1 assume all the Goch enployees. 1 was invited.
19 A Mr. Briscoe is assigned to the Melvindale area whether 19 1'm not sure who else was there.
20 1'm working or not. 20 1 stopped up for a brief period after 1 went to our
21 Q. when -- when is the last time you saw him? 21 City Christmas party on the same night.
22 A. 'l'wo days ago on a traffic stop. 22 Q. Did you see anybody else from the City of Melvindale at
23 Q. Okay. You're still making traffic stops? 23 the Goch party?
24 A. Yes. On overtime. 24 A. 1 believe the chief was there, but 1'm not sure.
25 Q How much money did you make all together last year at 25 Q. Did you ~- is there an open bar at the Goch party?

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 225-228
Fage 225 Page 227
1 A. 1 think they give you tokens or coupons. 1 warrant.
2 Q. 1'm sorry? 2 So, 1 put it on there in case that person came to
3 A. They give like tokms or whatever for all their 3 the police department to redeem their vehicle. The
4 employees, but 1 didn't get any. 1 bought my own beer 4 officer at the desk would have notification, and we
5 when 1 was there. 5 could place that subject under arrest.
6 Q. 0h, 1'm sure you did. 6 Q. This says, "Verify ownership."
7 And what‘s the name of the place? 7 what did you mean by that?
8 A. Broadcast Booth. 8 A. well, the vehicle had no insurance, an improper plate,
9 Q. what was the date of the party? 9 and apparently it was cloudy as to actually who owned
10 A. I don't know. 10 it. And so I put:
ll Q. December? 11 "Subject reported to --"
12 A. 1 pres\m\e. 12 Q. And who was the ~-
13 Q. 2017? 13 A. (Reading.l
14 A. Yes. 14 "~- have purchased the vehicle.'
15 Q. Okay. 1'm going to hand you Bates stamp 4267. This is 15 Because we weren‘t clear on that.
16 dated 7-8-15. 16 Q. Okay. So, we'll get the report and we'll see if this is
17 This is a tow tag. 17 accurate.
18 (Discussion held off the record.) 18 A. Okay.
19 BY MS. GORDON: 19 Q. Do you write reports on the vehicles you impound?
20 Q. You say on the bottom: 20 A. Every single impound comes with a report.
21 "Subject reported to have purchased vehicle, 21 Q. Other than a tow tag?
22 has parole absconder felony warrant. " 22 A. what?
23 A Uh~huh. 23 Q. Other than filling out the tow tag, do you write a
24 Q See that? You didn't arrest him, did you? 24 separate police department report?
25 A He wasn't there. 'l'hat's why 1 put that note on there. 25 A. Yes. 1 just stated that.
Page 226 Page 228
1 Q. Did you go to the house and find out -- strike that. 1 Q. Okay. In your discipline of -- of April 25th, 2016, it
2 what do you mean by "subject"? 2 is stated you forcibly removed her, referring to the
3 A. Subject, person. 3 same woman we've been talking about, using a transport
4 Q. who? who is the subject in this? 4 wrist lock and secured both of her wrists behind her
5 A. whoever was reported to have bought the vehicle. 5 back.
6 Q. Gkay. well, in the other documents, you've said 6 1s that true?
7 “vehicle owner. " 7 A. Correct.
8 what is the "subject“ here? 8 Q. 1t says:
9 A. They're -- it's the same meaning, different terms. 9 "while forcing her over the hood of the
10 Q Okay. what does this mean? 10 vehicle."
11 "Subject reported to have purchased »-" 11 Is that true?
12 what does that mean? 12 A. 1'd have to review my report.
13 A. well, without my report, 1 don't have reference to it. 13 Q. Did you place the driver under arrest?
14 Do you have the report available for me? 14 1 guess when you -- once you handcuff somebody,
15 Q. No, not right now. 15 they're under arrest; is that correct?
16 A. Okay. 16 A. You can also handcuff to detain for officer safety.
17 Q But what is -- is it your -- is that your writing on the 17 Q. Okay. well, was this person under arrest?
18 bottom? 18 A. 1 don't recall.
19 A. Yes, it is. 19 Q. well, how would 1 know?
20 Q Okay. well, what does it mean when you say: 20 A. You'd have to check the report. 1 don't have it in
21 "Subject reported to have purchased 21 front of me.
22 vehicle"? 22 Q. Okay. 1'm going to hand you your report and you're
23 A. That means the person driving that vehicle, who was not 23 going to tell me whether you detained her or you
24 the subject, reported to me that somebody else owned the 24 arrested her.
25 vehicle, and whoever that person was apparently had a 25 This is Bates stamp 1457 through 1465.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 229-232
Page 229 Page 231
1 (Discussion held off the record.) 1 allowing her to complete her telephone call."
2 A. okay. 2 Did you write anything responding to that
3 BY MS. GORDON: 3 particular item?
4 Q. was she arrested? 4 A. I don't recall.
5 A. well, 1 don't recall. 5 Q. Are you aware that Ms. Wielichowski later came to the
6 Q. well, you wanted your report so you could answer my 6 police station and complained to Lieutenant welch that
7 question. 7 you had assaulted her in front of her children?
8 A. Uh-huh. 8 A. Yes.
9 Q. You now have your report. 9 Q. And that she stated she did not want to remove her
10 what's the answer? 10 children from the vehicle because the traffic stop was
11 A. Well -- 11 conducted on Schaefer, and that she was forced out of
12 Q It doesn't say in your report? 12 the vehicle and onto the ground and then over the hood
13 A. 1t doesn't clarify whether she's detained or arrested. 13 of the vehicle she was driving.
14 Q 0h, okay. 14 Are you aware that that's what she said?
15 well, if you handcuff somebody, is that, under the 15 A. 1 don't recall her exact wording.
16 law, considered an arrest? 16 Q. The chief cites a case called “People versus Gonzales,"
17 A. Or it can be a detaimnmt. 17 356 Mich 247, saying ~~ it states that an arrest is the
18 Q 1 didn't know you could detain somebody with handcuffs. 18 taking, seizing, or detaining of another person by
19 what -- what law are you relying on for that? 19 either touching or putting hands on that person, or by
20 A. We do that frequently, oftentimes, until we've 20 any act that indicates an intention to take him or her
21 identified scmebody if they have no identification or if 21 into custody.
22 somebody's violent, if there‘s weapons at a scene. 22 Do you disagree with that?
23 There's a lot of situations we will handcuff everybody, 23 A. No.
24 make sure everything is secured, nobody is any danger, 24 Q. Then the chief says you arrested the driver and failed
25 and then go from there. 25 to follow the listed rules and regulations of the
Page 230 Page 232
1 Q. Anyway, you were disciplined for -- 1'm sorry. That's 1 Melvindale Police Department as adopted by the Public
2 not right. 2 Safety Commission.
3 Okay. This discipline to you states you placed the 3 "Number 4; Handcuffs the prisoner.
4 driver under arrest. 4 Number 5: Search the prisoner.
5 Did you write back and say: 5 Number 6: Transport prisoner to police
6 "That‘s incorrect. 1 did not place her 6 station.“
7 under arrest"? 7 The next section:
8 A. No. 8 “Processing prisoner. "
9 Q. And then it also states you failed to report the arrest 9 Section 8, “Detention of Prisoner."
10 to your supervisor. 10 You didn't do any of that, did you?
11 So, I'll stop right there. 11 A. No, because she had her kids with her.
12 Are you required to report to the desk arrests that 12 Q. So, you used your discretion there?
13 you made? 13 A. Yes.
14 A. The entire incident was documented in the police report. 14 Q. Because she had her kids with her?
15 Q 1 didn't ask you that. 15 A. Correct.
16 1 said, are you required to report arrests at the 16 Q. Because of the age of the children; correct?
17 time they occur to your supervisor? 17 A. Because they were children.
18 A. 1'm not sure. 18 Q. Right.
19 Q Your report states you did not process the prisoner but 19 So, you used your assessment of the age of the
20 instead released her with a citation for no insurance, 20 children to decide not to take arrest action?
21 Is that correct? 21 A. Correct.
22 A. Yes. 22 Q. Okay. I'll hand you Bates stamp 1447. This is the item
23 Q 'l'he chief states: 23 you're referring to where you see ~~ say the chief is
24 "In my opinion, it was not necessary to 24 discriminating against people and treating them
25 remove the woman from the vehicle instead of 25 differently.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 233~236
Page 233 Page 235
1 Is that the document you're referring to? 1 Q. You don't -- don't interrupt me.
2 A. That is a document referring to that. Correct. 2 1t‘s you. 1t's because you failed to use
3 Q. Okay. So, you're saying it's incorrect to call into the 3 discretion and you put people in harm's way, and
4 station the driver gender and age? 1s that what you're 4 sometimes they're old and sometimes they're very young
5 saying? 5 and sometimes they're frail, and you had been counseled
6 A. Yes, absolutely. 6 about it.
7 Q. Okay. ls there some law, that says you cannot call in 7 So, it's not that anybody wants to harm a driver by
8 the gender and age, that you know of? 8 making a decision. They want you to be checked because
9 A. There's no law that makes exemptions based upon 9 you're out of control.
10 someone's gender or age. 10 A. 1 --
11 Q. 1 didn't ask you about exceptions. 11 Q. Did you ever look at this that way?
12 1 asked you whether there's any law that says you 12 A. I --
13 cannot call in to a police desk the gender and age of 13 MR. wISE: Object to form. Foundation.
14 the person being stopped. 14 1 mean, do you -- we can swear you in over there at
15 That has been stopped. 15 this point.
16 Do you know of any such law? 16 BY MS. GORDON:
17 A. This refers to when 1 request a tow truck, 1 have to 17 Q. Did you look at this that way? Did you not grasp that
18 provide that information and then the desk officer would 18 that was the point of this memo?
19 determine whether that was allowed to be impounded or 19 . Absolutely not. And 1 --
20 not. 20 Q. Okay. well, who did you --
21 Q. Right. 21 A. -- disagree 100 percent.
22 So, 1 wanted to know whether there's any law that 22 THE REPORTER: Excuse me?
23 you know of that says a person -- it's illegal to call 23 BY MS. GORDON:
24 in the gender and age of a person who is now in some 24 Q. who did you understand was going to be discriminated
25 kind of custody or detention? 25 against --
Page 234 Page 236
l A. 1 don't know what that is offhand. 1 1118 REPORTER: 1'm sorry. Your answer?
2 Q. You don't know what what is? 2 A. Absolutely not. 1 disagree 100 percmt.
3 A. what -- what a law would be offhand. 3 BY MS. GORDON:
4 Q. Okay. And, in fact, you, yourself, have -- just a 4 Q. Oh, 1'm sure you do.
5 moment ago -- told me that you took into account the age 5 0kay. well, 1 want to know then, since you can't
6 of the children when you made a decision not to arrest 6 discriminate, who was -- who would be discriminated here
7 Ms. wielichowski,- correct? 7 in your world?
8 A. 1t wasn't the age of the children, It was the fact that 8 Since it doesn't say that you can‘t tow people that
9 she had children with her, and we wouldn't have anything 9 are black or white or young or old, who was being
10 else to do with them while she was in jail. 10 discriminated against in your theory that you and the
11 Q. Okay. So, that -- so, that would be the age of people, 11 City have cooked up as some kind of a weird rationale in
12 just like here, the driver gender and age, and their 12 this case?
13 ages -- the occupants of -- the number of occupants and 13 A. well, 1 think a lot of people are being discriminated
14 their ~~ their ages ; correct? 14 against.
15 That's the same thing. 15 Q. Like who?
16 A. well, 1 wouldn't base my actions of -- of the age on 16 A. well, in one example, 1 was going to tow a car, and 1
17 the driver, the gender of the driver or any other 17 sent the vehicle information in to dispatch. requested a
18 criteria. 18 tow truck, and 1 provided the gender and the age. And
19 Q. Okay. 19 the sergeant who was then on desk then requested the
20 A. They're the person violating the law. 20 race of the driver. 1 informed him the driver was
21 Q. 1t's not that they're just -~ 1 guess you would -- 1'll 21 black, and he then advised me he would send a tow truck.
22 ask you this: Did you grasp the point here, it's not 22 Q. Okay. well, this memo doesn't ~ who was -- who were
23 the driver who is being treated differently because of 23 you talking to?
24 gender or race; it's you, sir. 24 A. Sergeant Detrich.
25 A. iJh -- 25 Q. Okay. well, this has nothing to do with my client

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 237-240
Page 237 Page 239

1 because race isn't on here, is it? 1 Does that sound right to you?

2 A. The sergeants were under verbal and written orders from 2 MR. wISE: Foundation.

3 Mr. Hayse to not only -- to only send me a tow truck if 3 Go ahead.

4 the criteria was met. 4 A. 1'm not sure.

5 Q. Okay. well, race isn't on here, so -- 5 BY MS. GORDON:

6 A. 1t was verbally -- 6 Q. You're not sure about that? You're not sure if that

7 Q. Hang on. 7 sounds right?

8 A. -- advised to me -- 8 A. 1 ~- again, 1 don't have percentages, ma'am.

9 Q. 0h, 1'm sure. 1'm sure it was, 9 Q. 1 didn't ask you. 1 said, you know, 30 percent is about
10 A. -- numerous times. 10 a third. You're on those highways and byways every day,
11 1 was -- yeah. 11 dealing with drivers.

12 0 Really? 12 A. Uh~huh.
13 I'm looking at 1447, which is the order you're 13 Q. Does that sound about right to you?
14 hanging your hat on here. 14 MR. wISE: Asked and answered. Foundation.
15 So, you would have called -- you would have called 15 Go ahead.
16 a tow truck on anybody; correct? 16 A. 1 don't know.
17 You didn't want to have to call in the African 17 B‘l MS. GORDON:
18 American guy? You would have called the tow truck on 18 Q. Okay. A man named Richard Crosslin filed a complaint
19 him right away; right? 19 against you with regard to excessive force; is that
20 A. 1 would have called a tow truck for any vehicle that 20 correct? 1n July of 2016?
21 needed to be impounded in accordance with the law. 21 A. 1 don't recall offhand. 1'd have to see a copy of that.
22 Q Okay. And how old was guy at issue? 22 Q. Do you get a lot of excessive force charges filed
23 A well, 1 can‘t recall now. 1 write thousands of tickets. 23 against you?
24 1 impound lnmdreds of cars. 24 A. well, 1 write thousands of tickets. 1 make lmndreds of
25 Q Okay. 25 arrests, impound thousands of cars and 1 --
Page 238 Page 240

1 A. The age of a man frcm a specific event, 1 have no idea. 1 Q. 1 didn‘t ask you that.

2 Q. Listen. 2 A. 1'd say my complaint ratio is very, very low.

3 Are there any black officers at the Melvindale 3 Q. 1 just asked you, what's your complaint ratio?

4 P.D.? 4 (Discussion held off the record.)

5 A. No. 5 BY MS. GORDON:

6 Q. Have there ever been? 6 Q. what do you mean your "complaint ratio"?

7 A. 1 have no idea. 7 what's a complaint ratio?

8 Q. Uh~huh. 8 A. well, let's say 1 impound 100 cars, and 1 get one

9 A. I've been there for six years. 9 complaint. 1 guess that would be l percent ccmplaint.
10 Q what's the percentage -- what's the percentage of the 10 1 --

11 African American commmity in the City of Melvindale? 11 Q. well, does somebody keep those -- that data somewhere in
12 A. 1 don't know. 12 the City?

13 Q You're ~- you're a patrol officer there and you don't 13 A. 1 don't know.

14 have any feel for the -- 14 Q. well, why did you use the term “complaint ratio“?

15 A. 1 don't have exact percentages. 15 what did you mean by that?

16 Q ¥ou‘ve got to let me finish. 16 A. well, you're asking me if 1 get a lot of complaints, and
17 You don't have any feel for the demographics of 17 1'm thinking, compared to the amount of work 1 do, 1

18 your community? 18 don't know. 1 imagine it would be very, very low in

19 A. Percentage-wise. You asked me for a percentage. 19 comparison to my work activities.

20 1 do not have a percentage for you. 20 Q. Okay. So, there is no such thing called a “complaint
21 Q. Do you have a rough idea? 21 ratio“?

22 A. 1'm not going to guess or speculate, and 1 do not have a 22 A. 1 have no idea if it's a technical term.

23 percentage for you. 23 Q. Okay. And you work the same number of hours that

24 Q So, black and Hispanic, it appears, is about 30 percent 24 everybody else works around there, don't you?

25 of your community. 25 A. No.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 241-244
Page 241 Page 243
1 Q. You work more hours? 1 MS. GORDON: well, you know what? So be it.
2 A. 1 do work more hours. 2 MR. NISE: 1 mean, if you want to -- you know --
3 1 think 1 work a lot more hours than a lot of 3 MS. GORDON: So be it.
4 people. 4 sr us. GORDON:
5 Q. You have a good time out there, huh? 5 Q. How do you know Brandon Nolin?
6 A. 1 mjoy my job. 6 A. we work together.
7 Q. 1 see. 7 Q. Okay. And how long have you worked together?
8 A. If 1 didn't, 1 would have become a fireman or something 8 A. Six years. He started about two weeks after 1 did.
9 else. 9 Q. 1s he a good police officer?
10 Q. 1 see. 10 A. 1 don't know. He spent very little time on the road
11 A. But 1 chose to become a police officer because 1 believe 11 patrol before Mr. Hayse gave him a spot in the detective
12 in -- in what 1 do for a living -- 12 bureau that's generally reserved for a mich more senior
13 Q. Uh»huh. 13 officer.
14 A. -- which is upholding the law and having standards so 14 Q. So, you don't approve of him? He's other person you
15 society doesn't fall apart. 15 don't approve of?
16 Q. 1 see. 16 A. 1 didn't say that. 1 said 1 don't know if he's a good
17 well, those standards don't include arresting 17 officer. lie doesn't work -- doesn't really work the
18 people that have court orders out for them, but okay. 18 road.
19 (Discussion held off the record.) 19 Q. well, no, no, no. You just said he shouldn't have been
20 BY MS. GORDON: 20 given the spot he was given by the chief because there's
21 Q. Okay. Richard Crosslin, G~r-o~s-s-l-i-n(sic), you've 21 so many other more qualified people, didn't you?
22 put a response in writing to the excessive force 22 (Discussion held off the record.)
23 complaint. 23 MR. wISE: Objection.
24 would you have been asked to do that, do you think, 24 MS. GORDON: Larry, you've got to stop talking out
25 or you just wanted to do it? 25 loud.
Page 242 Page 244
1 (Discussion held off the record.) 1 BY MS. GORDON:
2 BY MS. GORDON: 2 Q. GO ahead.
3 Q. would you have done that on your own or no? 3 lsn't that what you just said?
4 A. 1 don't recall, ma'am. 1 don't recall the circumstances 4 MS. GORDON: would you read back --
5 or the name offhand. 5 A. That's not what 1 -- that's not what 1 stated.
6 Q. Do you remember that Brandon Nolin raised concerns about 6 BY MS. GORDON:
7 you abusing a prisoner, an arrestee? 7 Q. All right. Let’s hang on.
8 A. 1 have -- 1 did not receive a complaint or any copy of 8 MS. GORDON: would you read back the record, John?
9 any paperwork in regards to that. 9 A. You asked me a question and you interrupt me when 1
10 Q. Do you know Brandon Nolin? 10 answer you.
11 A. 1 do. we work together. 11 MS. GORDON: let's listen to your answer.
12 He's actually extremely good friends with 12 THE REPORTER: One second, please.
13 Mr. Hayse. He just got back from vacation out of state 13 (Record repeated by the reporter.)
14 together. They were having dinner together the other 14 BY NB. GORDON:
15 night. 15 Q. Uh-huh.
16 Q. You know, 1 really appreciate you giving me your two 16 A. Uh-huh.
17 cents‘ worth on why, once again, you've done nothing 17 Q. So, you didn't approve of that. You thought a more
18 wrong, and this is all a setup, but 1 would just 18 senior officer should have gotten that spot; is that
19 appreciate if you would answer my question. 19 right?
20 A. 1 believe 1 just did. 20 A. 1 didn‘t state that. You asked if 1 thought he was a
21 Q. No, you didn*t. 21 good officer. 1 said 1 don't know. I've worked with
22 MR. wISE: well, in fairness, we’d appreciate 22 him very little on the road because he hasn't been on
23 not so much commentary between his answers that 23 the road.
24 you've -- essentially testifying and not asking him 24 Q. Yeah. And then you gratuitously added that he got a
25 questions. So, 1 mean -~ 25 spot in the detective something --

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 245-248
Page 245 Page 247
1 A. would you like me to give partial answers or full 1 Also on the scene was Hinojosa.
2 answers when you ask me a question? 2 Allen and Nolin then observed you walk the suspect
3 Q. Now, you're interrupting me. 3 approximately two or three houses down to where your
4 A. Oh. 4 patrol car was parked in the street, You opened the
5 Q. Yeah. 5 rear passenger side door and pushed the suspect towards
6 A. You do that to me frequently, it seems. 6 the car from approximately 3 feet away from the vehicle.
7 MR. wISE: Stop. Stop. Just -- 7 Nolin observed and heard the suspect's head hit
8 BY MS. GORDON: 8 what appeared to be the door frame of the patrol car.
9 Q. Okay. So, now you gratuitously added that he got a spot 9 Nolin was going to remove you from the situation;
10 that should have been given to somebody else. 10 however, the incident was over and the suspect got into
11 So, you‘re being critical, obviously, of Brandon 11 the car.
12 Nolin’s skill set, and you're also being critical of 12 '1hen, after that occurred, Allen asked Nolin, "Did
13 Chief Hayse for giving him the spot in that answer; 13 you observe the suspect's head hit the car?"
14 correct? 14 Nolin said, “Yes," and he observed ~- notified
15 And the question was simply, "How do you know him?" 15 Allen of what he observed.
16 And yet you decided to, once again, let me know how much 16 Does any of that sound familiar to you?
17 you don't approve of certain people in the department; 17 A. 1 don't -- was not privy to their conversations.
18 correct? 18 Q. 1 didn't ask you that.
19 MR. wISE: Object to form. Mischaracterizes the 19 1 said does any of this sound familiar?
20 testimony. 20 A. 1 have my perspective on it. 1 was there.
21 Go ahead. 21 Q. Does the -- so, the incident does sound familiar?
22 A. 1 don't believe it was that question. There was that 22 A. well, 1 belive you said welch went to the location
23 question and you followed up with another question which 23 earlier on.
24 1 responded to. 24 1 don't think welch was at that location at all. 1
25 B¥ MS. GORDON: 25 think he was in the station the mtire time of the
Page 246 Page 248
1 Q. Uh~huh. No. 1 incident.
2 A. There were two questions there. 2 Q. Okay. 1 wanted to know whether this incident sounded
3 Q. Nope. All 1 wanted to know was how you knew him. 3 familiar.
4 A. You asked me that ~ 4 A. Yes. The suspect --
5 Q. And you -- 5 Q. 1f 1 said welch was there, 1 was wrong. It would have
6 A. -- and then you asked me another question, which was 6 been Nolin and Allen. 1 misspoke if 1 said welch.
7 what 1 think of his job performance or time on the 7 A. Okay. llou did.
8 patrol, whatever it was. There were two questions 8 The suspect pulled away from me. 1 was parked a
9 asked. 9 good distance down the street from them. And, yes, he
10 Q Okay. what is Brandon Nolin’s job today? 10 struck his head on the vehicle.
11 A. He is a corporal. He's assigned to midnight shift. 11 Q. And did you throw him into the car from 3 feet away?
12 And, as far as 1 know, he's going to be going into a 12 A. He was pulling away from me. 1 had a hard time getting
13 undercover \mit shortly. 13 him in the vehicle to begin with. He had just led us on
14 Q And what about then Chief Allen? what did you think 14 a foot pursuit, bicycle pursuit. He had been assaulted
15 about him when he was a lieutenant? 15 by residents prior to my arrival there. As a matter of
16 A 1 like him. lie does a good job. He's fair, honest -- 16 fact, 1 probably saved the guy's life when 1 went in the
17 Q Okay. 17 backyard as a resident had picked up a brick and began
18 A. -- for the most part, as far as 1 know. Hardworking, 18 screaming he was going to killing him.
19 very effective police chief. 19 Q. 1'm sure you did.
20 Q So, after your incident with this particular prisoner, 20 A. So --
21 welch and Allen went to the location where you were. lt 21 Q. Because everything you do, whether it's arrest somebody
22 was a backyard, and there was a suspect face down with 22 or not arrest them, you're all in and it's all great.
23 no shirt and handcuffed behind his back. There was a 23 (Discussion held off the record.)
24 pile of puke next to the suspect. 24 A. 1 do my best, ma‘am.
25 You told Nolin the puke is from the suspect. 25 BY MS. GORDON:

 

 

 

 

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1 Q. Maybe. 1 As a matter of fact, in clarifying this incident,

2 Okay. 2 apparently Michigan State Police had done a complete

3 A. It is good to he appreciated. Thank you. 3 investigation and exonerated me, as 1 was advised by

4 MR. COOGAN: 1'm sorry. 4 now-Chief Allen. No charges to be filed, and they found

5 Can we ~- can 1 have just a minute -- we have just 5 1 had no wrongdoing.

6 a minute? 6 Q. Can you answer my question?

7 MS. GORDON: No. we just took a minute. 7 A. You were asking ~-

8 1'd like to finish the dep, Larry. 1f you want to 8 Q. Did you throw him into the car from 3 feet away?

9 step out, we don't need you. Go. Go with the wind. 9 A. No. He struggled with me, and 1 had to force him into
10 A. 1 have to pee. 1'm going to use the restroom. 10 the car. Now, he was not happy to be arrested. He had
11 MS. GORDON: we just peed, men. 11 just led us on at least a half-an~hour pursuit.

12 A. 1 have high metabolism. 12 Q. So, Nolin and Allen were wrong when they said you threw
13 MS. GORDON: well, the men are running out to pee 13 him into the car -~ they saw you throw him into the car
14 continually. 14 from 3 feet away?
15 (Discussion held off the record.) 15 A. They were not standing 3 feet away from me. They were
16 MS. GORDON: Can 1 just finish this dep? Give me a 16 standing down the block.
17 few more -- 17 Q. 1 didn't say they were.
18 MR. wISE: How much do you have? 18 A. 1 don't know what their vantage point appeared, but fran
19 Just a minute -- ii 19 actually physically struggling with him, 1 know what
20 MS. GORDON: All right. The problem is -- 20 happened.
21 MR. WISE: If you have more than a like half 21 Q. How did the man's head get injured?
22 ho -- 22 A. He was bouncing around and struck it on the vehicle
23 MS. GORDON: -» the last time -- the last time you 23 after 1 opened the door.
24 said you wanted to step out and use the men‘s room, you 24 Q. No.
25 said ~- 25 Okay. wait a minute.
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1 MR. wISE: 1'm not even going to leave. 1 His head was struck on the outside of the vehicle

2 MS. GORDON: Fair enough. 2 before he got in.

3 You said "2 minutes." 3 How did that happen?

4 1 think 20 minutes went by before you three got 4 A. No, that's not correct. The door was open and he struck

5 back in, fou.r. 5 it as he was getting in the vehicle on the -~ 1 guess

6 MR. wISE: 1 don‘t know if that's fair, but -- 6 the header, like the part over the door when the door is

7 MS. GORDON: You four. 7 open.

8 A. Yeah. 8 Q. So, on his own, he just managed to strike his head

9 MS. GORDON: Okay. Do we ~~ 9 without you shoving him --

10 MR. wISE: well, you said we don't need these two 10 A. 1 was trying --

11 anyway, so don't worry about it. 11 Q. Hang on.

12 MS. GORDON: Can we really just make this really 12 without you shoving him into the door, he just, on
13 fast. 1'd like to finish this. 13 his own, managed to injure his head and -- and get a cut
14 MR. wISE: Absolutely. Absolutely. 14 that need to be photographed?

15 (Short recess at 4:10 p.m.) 15 A. well, he w -~

16 * * * 16 Q. Is that your testimony? That was just his own doing?

17 (Record resumed at 4:13 p.m.) 17 MR. wISE: Form. Foundation.

18 MS. GORDON: Okay. Back on the record. 18 Go ahead.

19 BY MS. GORDON: 19 A. The subject was high on drugs at the timma, just led us
20 Q. we were talking about this incident involving Lieutenant 20 on pursuit --

21 Allen that Officer Nolin put into writing, and 21 BY MS. GORDON:

22 apparently you do recall it, and we were talking about 22 Q. You know what?

23 whether you threw this guy into the car from 3 feet 23 A. -- all amped up, and he was struggling with me
24 away, and 1 don‘t recall what you said on that. 24 physically. As 1 tried to get him in the vehicle, he
25 A. ¥eah. 25 was bouncing around trying not to go in the vehicle, and

 

 

 

 

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1 he injured himself in the process. Unfortunately, that 1 Q. who -~ who would have been interviewed as far as you

2 does happen. 2 understood it?

3 Again, Michigan State Police did investigate that 3 A. Lieutenant welch, Mr. Hayse, Mr. Nolin.

4 and determined no charges to be filed -- 4 Q. Are you guessing, or is this what you were told?

5 Q. Did you see the -- 5 A. 'lhese are what 1 was told --

6 A. -- and completely exonerated me. 6 Q. Okay. Go ahead.

7 Q. Did you see the investigation report? 7 A. -- by another officer.

8 A. No. 1 was advised by Lieutenant Allen. 8 Q. Go ahead,

9 Q. when was that? when were you advised by Lieutenant 9 A. But 1 don't know. 1 was not in the station at the time,
10 Allen? 10 but apparently they were there, and 1 had no -- no

11 A. Last year. He was chief at the time. Chief or interim 11 interaction with them.

12 chief. 12 MS. GORDON: Excuse me.

13 (Discussion held off the record.) 13 (Discussion held off the record.)

14 BY MS. GORDON: 14 BY MS. GORDON:

15 Q. Did -- were you ever investigated by the Michigan State 15 Q. who are your good friends in the department, other

16 Police? 16 officers?

17 A. Yes. 17 A. 1 try to stay on a more acquaintance level than friend
18 Q Did you give a statement to the Michigan State Police? 18 level at work. 1 don't like to mix my personal and

19 A. No. 19 professional life. But 1 get along pretty well with

20 Q well, then, what do you mean you were investigated? How 20 most guys there.
21 do you know you were investigated if you weren't asked 21 Q. 1 mean, do you have somebody that you consider a friend
22 to give a statement? 22 that you do stuff with?

23 A. well, Mr. Hayse had advised that it was both an internal 23 A. There's been officers I've bean out with in the past,
24 and external investigation being conducted. 1 had never 24 out to the bar or out to -- well, City Christmas party
25 seal a copy of either one. Michigan State Police, from 25 or things like that, but not -- not really, Most of my

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1 what 1 was told by other officers, came out and 1 friends are not police officers or they're police

2 interview them at the police station. interviewed 2 officers for other cities.

3 residents in the area, et cetera. 3 Q. So, there's nobody in the Melvindale P.D. that you would
4 And then per Chief Allen, they found me exonerated 4 say is a friend?

5 and that no charges would be filed. 5 A. 1'm on friendly terms with a lot of people, Facebook

6 Q. Okay. well, w ~- 6 friends.

7 A. But 1 have never seen a copy of anything, and 1 -- 1‘ve 7 Q. 1 -- 1 don't -- okay. That's --

8 requested one and never been provided with that. 8 A. As far as a good friend, 1 mean, some guys 1 get along
9 (Discussion held off the record.) 9 with very well and consider friends.

10 BY MS. GORDON: 10 Q. who are those?

11 Q. Okay. So, you don't know this, but you've now been sued 11 A. well, probably officer Brovming, Officer Brna. Officer
12 by Mr. McClintock. 12 Cooper and 1 get along very well. Officer Gall and 1.
13 A. Yes, I've never seen that. 13 Officer Bl\mden and 1. Officer Kenmaley and 1.

14 Q. Okay. 14 Q. when did you talk to larry Coogan from the City about --
15 A. well, 1 know -- today apparently. But, no, 1 had no 15 about Chad Hayse?

16 lmowledge of that. 16 A. well, 1 believe the first time was probably during the
17 Q Yo -- yeah. You know -- you've learned about it today? 17 Snowgate incident, when 1 was required to go down there
18 A. 1 never -- I've never been served, no. 18 and speak with Mr. Coogan.

19 Q Okay. 1 just wanted to know who the police officers 19 Q. And who was present for that? The two of you?

20 were that the Michigan State Police came out and 20 A. My POAM lawyer -- or attorney.

21 interviewed about this. 21 Q. Okay. And what did you talk about there?

22 You mentioned that some police officers were 22 A. Representative. 1'm not sure exactly what he does.

23 interviewed. 23 well, they questioned about the -- the snow

24 who were they? 24 emergency tickets, how much snow was on the ground, who
25 A. Correct. That's what 1 was told. 25 ordered to write ~- who ordered you to write them.

 

 

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FURMAN, SERGEANT MATTHEW

 

 

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1 Everything -- basically everything we knew about the 1 And you signed nothing?
2 Snowgate incident. 2 A. At the time that 1 was suspended, no. It was --
3 Q. Okay. And what did -- 3 Q. No, not -- not -- 1'm not asking whether you signed
4 A. That was really my first -- 4 something 1'm just asking you whether you received the
5 Q. -~ you talk to Mr. Coogan about? 5 document with regard to the suspension.
6 A. well, 1 just answered his questions in regards to that 6 A. Are you referring to the day 1 was suspended?
7 stuff. 7 Q. Yeah.
8 Q. Okay. So, what is the next time you would have talked 8 A. Yeah, 1 received nothing. 1 was called in -- Mr. Hayse
9 to him about the chief? 9 was in the building. He left, and moments after he left
10 A. well, 1 see him at -- at court -- 10 Lieutenmt Welch called me in to Hayse's office and told
11 Q. At -- the chief. 11 me that, per Hayse, 1 was suspended effective
12 A. The chief . 12 immediately.
13 Probably when 1 was suspmded. 13 Q. Okay. But my --
14 Q. Okay. And what was that discussion about? 14 A. And he was unable to tell me why.
15 You felt it was unfair? Something to that effect? 15 Q. when you talked to harry Coogan, he's like, "1 don't
16 Improper? 16 know either. “
17 A. well, there was no reason -- there was no reason to ever 17 Did you say to him, “well, the back story is that 1
18 provide it to me or my union in regards to the 18 impounded a car and that there was a citizen complaint,
19 suspension. 19 and that 1 had been warned before and --" did you tell
20 Q. So, you talked to him directly about that? 20 him any of that?
21 A. 1 did end up going to Mr. Coogan and -- and -- 21 MR. wISE: Just object to form.
22 Q. To his office o -- 22 Go ahead.
23 A. well, 1 first spoke with Oouncilwcman Barnes, and 1 then 23 A. 1 don't recall our conversation. 1 was just trying to
24 spoke with Carl Louvet, another councilman. 1 don't 24 find out why 1 was suspended because nobody knew.
25 remember if 1 went to Mr. Coogan's office or if 1 called 25 BY MS. GORDON:
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1 him or -- 1 Q. Okay.
2 Q. okay. 2 A. And 1 was suspended indefinitely.
3 A. 1 don't recall. 3 Q. You were suspended indefinitely?
4 Q. Okay. But this was after the suspension or not? 4 A. Yes.
5 A. During the suspension. So, 1 suspended, and the time 1 5 Q. And how long did the suspension end up heing?
6 was off ~- 6 A. Between paid and unpaid, it was approximately five
7 Q. Okay. 7 weeks.
8 A. -- is when 1 started reaching out to the City. 8 Q. And how much was unpaid?
9 Q. Okay. And what did you tell Mr. Coogan? 9 A. 1 don't recall exactly. About the last third of it, I‘m
10 A. That 1 was suspended and had no idea why. 10 guessing, but 1'm not sure.
11 Q. And what did he say? 11 Q. So, how much actual unpaid time off did you get?
12 A. He also had no idea why and was unable to find out for 12 A. 1 don't recall.
13 me. 13 Q. which year is this, the suspension that you're talking
14 Q. Okay. Well, did you tell him about the whole back story 14 about? what was the event?
15 to the write-up? 15 A. 2016 .
16 In_ other words, what was put in writing? 16 1 don't know what the event was, 1 was just
17 A. 1 received nothing in writing. 1 didn't sign anything. 17 suspended with no cause provided.
18 There were actually no protocols for our disciplinary 18 Q. Okay. well, you said you didn't get anything in
19 procedure followed. 19 writing.
20 Q. well, your -~ you do have a suspension in writing -~ 20 1'm going to hand you Bates stamp 1440.
21 it's ~- it‘s -- it's a two~page document -- laying out 21 A. Are we referring to the same incident?
22 the reasons you were suspended. 22 Q. 1 don't know. You didn't identify what the incident was
23 A. 1 -- 1 didn't receive anything. 1 received nothing from 23 you went to Mr. Coogan about. You said, "1 contacted
24 Mr. Hayse, and 1 signed nothing -- 24 him and said, '1 don't know why 1 was suspended.‘"
25 Q. Go ahead. 1'm listening. 25 A. Okay. we're talking about two different incidents.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2()18 Pages 261~264
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1 Q. Okay. why don't you tell me ~~ all right. 1 A. 1 was not given any information.
2 So, I've just handed you Bates stamp 1440. This is 2 Q. Okay. So, you call Mr. Coogan. He says, "1 don't
3 a suspension dated April 25, which is a page-and-a~half 3 know." And what is -~ then what happens with you and
4 document, correct, giving you the reasons? 4 Mr. Coogan?
5 A. Correct. Let me -- 5 A. well, 1 believe he contacted the -- 1 mean, 1 don't want
6 Q. Okay. 6 to speak for him, but 1 believe he contacted --
7 A. Let me take a read here. 7 Q. well, just what you learned. what you learned -»
8 Q. All right. 8 subsequently learned may have happened.
9 MR. COOGAN: Are we off the record? 9 A. well, he ended up being in contact with my union
10 MS. GORDON: No, we're not off the record. we're 10 representative because we have our local union, and then
11 on the record. 11 we belong to Police Officers Association of Michigan,
12 A. And 1 believe this letter is not correct. 1 believe 12 which is a nmch bigger outfit, and they send a lawyer --
13 this was changed -- this was changed from a three-day 13 Q. Right.
14 suspension to he took three of my vacation days away 14 A. -- and a representative out to talk to me to figure out
15 instead. 15 what the heck was going on. They tried talking to
16 BY MS. GORDON: 16 Mr. Hayse and didn‘t get any response or information,
17 Q. 1 think that's right. 17 and then they talked to Mr. Coogan. And we were just
18 But in any event, this document was produced to me 18 trying to figure out why 1 was suspended.
19 by the City. 19 Q. what's the next thing that happened?
20 A Okay. 20 A. well, 1 was suspended for about five weeks and lost a
21 Q But 1 take your point. 1 don't think you lost any time. 21 lot of sleep, ate a lot of TUMS. And then --
22 You might have lost vacation days on the document dated 22 Q. what month was that?
23 April 25th, 2016 . 23 A. 1'm not positive. It had been summertime. 1 believe
24 A. I -- 24 J'tme.
25 Q Now, why don't you tell me what you called Mr. Coogan 25 Q. Okay.
Page 262 Page 264
1 about then if this is not a suspension. 1 A. But 1 -- 1'm not positive.
2 A. This ~- this was not what 1 called Mr. Coogan about. 2 Q. Okay. Go ahead.
3 Q. Okay. So, what did you -- 3 A. well, then 1 remained suspended. And then one day 1 was
4 A. we're talking about diffeth issues. 4 advised that -- Chief Allen and my union president came
5 Q. Okay. well, you go ahead and fill me in then. 5 to my house and brought my gun and badge back and told
6 A. Okay. 6 me that Chief Allen was the '- or Lieutenant Allen was
7 Q. what -- what did you call him about? 7 named the interim chief, and 1 would be back to work
8 I'll take that back. we‘re on a different 8 tomorrow.
9 incident. 9 Q. Okay. And when did you next talk to Mr. Coogan?
10 A. Okay. Because that's -- that's -- yeah. 10 A. 1 received a subpoena for Hr. Hayse's --
11 Q Yeah. 11 Q. Hearing?
12 A. okay. 12 A. -- hearing. 1 iam than And --
13 Q Go ahead. 13 Q. And did you talk to Mr, Coogan?
14 A. All right. So, when 1 called Mr. Coogan, along with 14 A. He had asked me same questions about what went on when
15 Co\mcilwcrman Barnes and -- Councilwoman Barnes and 15 we were still trying to figure out, you know, why 1 was
16 Councilman Louvet, that was in regards to when 1 was 16 suspmded. So, we had some interaction there.
17 suspended in 2016. 17 Q. And what did he ask you -~
18 Q. For what? 18 A. 1 don't remember the exact dates or times.
19 A. 1 don't know. That reason was never provided to me. 19 Q. -- about at that time?
20 There was no documentation That was the issue, There 20 A. 1 don't recall. Just why 1 was suspended and if 1
21 was no reason for the suspension and no paperwork 21 received any doomentation, if 1 signed anything, if 1
22 completed or done, no chain of cmmand followed. And to 22 was given any forms, if the union was there, anything.
23 this day, there's no documentation as to why 1 was 23 Q. On what other occasions -- oh. So, then you talked to
24 suspended for five weeks. 24 Mr. Coogan to get ready for the hearing?
25 Q well, was it around an incident? 25 A. He sent me a subpoena.

 

 

 

 

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03/13/2018 Pages 265-268
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1 Q. Right. 1 Let me just look at my notes.
2 A. An -- 2 (Short recess at 4:29 p.m.)
3 Q. And did you guys talk? 3 * * *
4 A. Yeah. He told me 1 would be sequestered and 1 couldn't 4 (Record resumed at 4:39 p.m.)
5 go to any of the meeting except when 1 was supposed to 5 BY MS. GORDON:
6 testify. He told me, just go in there and be honest and 6 Q. Okay. Sergeant, you were suspended, you said, on July
7 tell the truth, and all the other officers are expected 7 5th.
8 to do the same, and the whole department is going to be 8 A. Again, 1'm not positive of the actual date.
9 sequestered, and we all have to be there. And that‘s 9 Q. Okay. That's the date 1'm showing
10 about it, 1 guess. 10 A. But rough.
11 Q. what other times have you talked to Mr. Coogan? 11 Okay.
12 A. 1 don't recall. 1 mean, just it was a lot dates around 12 Q. And you learned that the chief had gone to Michigan
13 that same time during the suspension and issues there. 13 State Police. You've already seen that; correct? Or
14 Q. Have you talked to him about your deposition here today? 14 said that?
15 A. ¥es. 15 A. 1 learned that while 1 was suspended.
16 Q. And when did you talk to him about that? 16 Q. Okay. And what they had gone to the police about was
17 A. well, 1 wanted to see if somebody was coming with me, if 17 what we -- one of the things we've been talking about,
18 1 was coming by myself. 1 don't -- you know, 1 haven't 18 which was the Richard Crosslin complaint against you
19 been through anything quite like this. So -- 19 with regard to excessive force, as far as you knew;
20 Q. well, when did you talk to him about your dep? 20 correct?
21 A. It was last Thursday, maybe. 21 You just said there was an investigation --
22 Q. Did you meet with him? 22 A. 1 --
23 A. Yes. 23 Q. -- you thought and some people were questioned
24 Q. And for roughly how long? 24 A. 1 thought you referred to a McClintock earlier.
25 A. Maybe 45 minutes. 25 Q. Okay. well, was -~ 1 could have gotten the name wrong,
Page 266 Page 268
1 Q. what did he tell you you -- he wanted to know or that 1 but this is an excessive force incident occurring on
2 you would be asked about? 2 7-4~2016. You were writing to Funman -- you're
3 A. Just to dress professional, be honest and, you know, 3 writing -- woman is writing to Hayse about this on 7-5.
4 just try and recall all the events as accurately as 1 4 A. well, that was about the knife in the basement.
5 could. 1 spent a lot of time thinking about it. 5 Q. Right.
6 Q. But that doesn't take 45 minutes. That takes about as 6 which one went to the state police?
7 long as you just said. 7 A. 1'm not sure, because 1 contacted Michigan State Police.
8 A. Correct. 8 1 did several FOIAs, and they told me no investigation
9 Q. So, what else did he talk about? 9 existed either way. 1 did, 1 think, three FOIAs with
10 He asked you about your testimony, obviously, and 10 them. and they told me there was no investigation
11 went over some things ; correct? 11 Q. But you just testified a minute ago there was an
12 A. Correct. 12 investigation?
13 Q. what did he go over with you about your testimony? 13 A. Mr. Hayse advised me there was an investigation and --
14 A. Basically just, you know, kind of some general advice, 14 Q. No, you said people told you at the station.
15 don't talk too fast, don't get -- you know, don't yell 15 A. Can 1 --
16 or get frazzled or things of that nature. You know, 1 16 Q. Yeah. Go ahead.
17 guess standard deposition advice, 17 A. Apparently both of us are bad at interrupting each
18 Q. 1 know, but what -- what did he ask you about your -- 18 other. Okay.
19 your testimony? 19 Mr. Hayse apparently was telling people there was
20 You guys obviously went over what you were going to 20 an investigation. And Sergeant -- then-Sergeant Easton
21 talk about. 21 told me that Michigan State Police or people who said
22 what was that? what were the questions about? 22 they were Michigan State Police were at the station and
23 A. 1 don't really recall any specific questions offhand. 23 spoke with several officers. But 1 never saw them
24 MS. GORDON: Okay. I’m going to take a brief 24 there.
25 break. 1 don't think 1'11 have too much more, Matt. 25 And when I've done my FOIAs, I've received no

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 269-272
Page 269 Page 271
1 paperwork from state police. They tell me nothing 1 well, 1 still don't know why 1 was put off.
2 existed. 2 Q. Excuse me.
3 Q. Okay. 3 You were originally put off with pay,- is that
4 A. So, 1 have no copy of -- 4 correct?
5 Q. So, the chron- -~ 5 A. 1 was suspended with pay.
6 A. -- anything from state police. 6 Q. Okay. So, you were suspended with pay. And this was
7 Q. rI'he chronology is that the alleged police misconduct 7 sent to the Michigan State Police, whether you know it
8 against Crosslin occurred on July 4th, according to you. 8 or you don’t.
9 That's in your document. 9 Somebody told you, "You better write a reply."
10 You -- 10 You're telling me your lieutenant told you that, and you
11 A. Okay. 1'd have to look at it. 1 don't -- 11 did write a reply, didn't you?
12 Q. 1 know. And -- 12 A. Yes.
13 A. 1'm not good with dates after so many years. 13 Q. And 1 think it's Bates stamp 940 through 943.
14 Q. -- and you're then suspended on the 5th. 14 So, it's almost four full pages by you.
15 So, you were suspended because of this Crosslin 15 Is that your document --
16 incident, as you are aware; correct? 16 A. Let me take a look at it here.
17 A. 1 have no idea. 1 was never given any documentation. 17 Q. ~- that you submitted to the chief?
18 when you're suspended, they're supposed to provide 18 A. Yes. Where 1 contend that absolutely no excessive force
19 you with a reason for the suspension. You're supposed 19 was used against Crosslin by me or any other officer at
20 to sign something. 1t's supposed to go through the 20 the scene.
21 union. 21 Q. And you went on in several pages to describe what
22 Q. I -- I've heard all this before, and I -» 1 hear your 22 happened at the events; correct?
23 point. 23 A. Correct. 1'm just reading that now.
24 A. So, 1 don't -- 24 Q. And then on the 11th --
25 Q. I'm not asking you what they're supposed to do. 25 A. wait. Hang on. 1'm still reading.
Page 270 Page 272
1 A. Okay. 1 (Discussion held off the record.)
2 Q. 1 just said -- 2 BY MS. GORDON:
3 A. well -- 3 Q. You don't need to read the whole thing. I just wanted
4 Q. -- you knew you were suspended because of Richard 4 to know if that was your document.
5 Crosslin -- 5 A. Well, 1 just want to -- 1 just want to make sure --
6 A. Absolutely false. 6 Q. I'm not going to ask any --
7 Q. -- and the complaint. 7 A. -- the entire --
8 Okay. well, you took it upon yourself on July 5th, 8 MR. wISE: If she's not going to ask you any
9 the very day you were suspended, to put in writing to 9 questions about it --
10 the chief your version of what happened with the Richard 10 A. Okay.
11 Crosslin alleged police brutality claim, didn't you? 11 MR. wISE: ~~ then don't worry about it.
12 A. 1 didn't take it upon myself . 1 was instructed to 12 BY MS. GORDON:
13 provide a letter. 13 Q. Yeah. 1'm not going to ask you --
14 Q. By who? 14 A. Okay.
15 A. 1 believe Lieutenant welch. 15 Q. 1 just wanted to confirm that that was the day that »-
16 Q. Okay. So, then, you did know there was an issue with 16 MR. wISE: But did you write it?
17 Crosslin. If you were instructed to provide a letter on 17 BY MS. GORDON:
18 the 5th, the very day you were suspended, you knew that 18 Q. That was your --
19 yes being looked into,- correct? 19 A. Yes, 1 wrote it. Correct.
20 A. Correct. 20 Q. Okay. So --
21 However, 1 wouldn't think that it would result in 21 A. And apparently it was on --
22 any sort of suspension or discipline in that short of 22 Q. So, yo --
23 period, There was no investigation time. 23 A. -- July 5th.
24 Q. well, you were first put off with pay, correct, while an 24 Q. And you're referencin --
25 investigation could be done? 25 THE REPORTER: I'm sorry. "It was on »-"

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 273-276
Page 273 Page 275
l A. July 5th. l BY MS. GORDON:
2 BY MS. GORDON: 2 Q. were you aware that Chad Hayse was involved with Larry
3 Q. Right. 3 Coogan via e-mail and other means with regard to the
4 And you're referencing the incident from the 4th, 4 McClintock alleged police brutality?
5 right, in the first sentence there? 5 A. No. I'm not privy to their conversations.
6 A. Yes. 6 Q. And that Coogan was provided with information of an
7 Q. Okay. So, you‘re suspended with pay. 7 interview between McClintock and Lieutenant Allen and
8 And then on July 11th, Brandon Nolin writes his 8 Detective Nolin?
9 e-mail about possible police misconduct with regard to 9 A. No.
10 this McClintock where ~ we talked about it a minute 10 Q. So, when you talked to Coogan and he said, "1 don't know
11 ago -- and -- Allen and Nolin were there. That's dated 11 what this is about," did he ever circle back to you and
12 July 11th; correct? 12 say, "1‘ve been in touch with the chief, and he's
13 A. That's the incident with -- the state police were -- 13 providing me information about a Michigan State Police
14 reportedly investigated and 1 was exonerated. Correct. 14 investigation"?
15 Q well, 1 don't know if this is the incident. 1 think 15 A. 1 was advised there was sane sort of investigation going
16 they went actually on Crosslin. 16 on, but Mr. Coogan advised me that he tried to contact
17 But whatever, you‘re telling me you're exonerated 17 Michigan State Police and they told him there's no
18 I'm just saying this is the date of the event with 18 investigation, which is the same thing they told me when
19 McClintock -- 19 1 did my three FOIAs.
20 A. Did you say the 11th? 20 Q. Okay. Did they -- did Coogan tell you that he received
21 Q No. July »- 1 might have. 1t's duly 1. 21 a copy of an interview done by Lieutenant Allen and
22 A. Okay. 22 Detective Nolin of Mr. McClintock?
23 Q And it looks like -- 23 A. 1 don't recall that.
24 A. 1f you say the 11th, 1 wouldn't have been there. 24 Q. Did you ever see the interview of McClintock where he
25 Q And 1 did get an e~mail from -- strike that. 25 accuses you of police brutality?
Page 274 Page 276
1 There was a return e-nail from the Michigan State 1 A. No.
2 Police on July 11th about this Brandon Nolin complaint. 2 He was so high, 1 don't know how he could accuse me
3 A. Okay. 3 of anything.
4 Q. I‘ll hand you Bates stamp 928 and you can look and see. 4 Q. was he drug tested at the scene or thereafter?
5 A. All right. 5 A. 1 don't recall.
6 Q. 'I'hat, right there, is the original from Brandon Nolin. 6 1 know we found crack cocaine on his person. He
7 And then up above here is somebody is communicating with 7 admitted to being high. He was throwing up and
8 the Michigan State police about something that I'm 8 exhibited all the signs of being highly intoxicated.
9 unclear on. 9 1 believe he also had alcohol in his syst.
10 See that? 10 Q. So, when -» you -- did you continue to talk to larry
11 A. Okay. 11 Coogan about the fact that you were out on suspension?
12 Q All right. 12 A. 1 stayed in contact with him, trying to find out why.
13 A. And the ticket -- 13 But 1 don't remember exact exchanges.
14 Q Okay. So, at that point, that's when you're suspended 14 Q. were you aware that Chad Hayse provided larry Coogan
15 without pay, when now this Brandon Nolin thing comes in; 15 with the phone number and contact from the Michigan
16 correct? was it around the 11th you were suspended 16 State Police on August 1, 2016?
17 without pay? 17 A. No.
18 A. 1 thought we determined it was the 5th. 18 Q. He never told you that?
19 0h, without pay? 19 A. 1 come --
20 Q No, without pay. 20 Q. Coogan never said, "1 received contact info from the
21 A. 1 don't know the exact date. 1 thought it was later in 21 Michigan State Police"?
22 the month, maybe the 24th, 26th. 22 A. 1 believe Mr. Coogan told me he contacted Michigan State
23 Q Okay. 1 think -- maybe -- maybe you're right. 1 think 23 Police, and they said there was no investigation.
24 the record will speak for itself on that. 24 Q. 1 heard you say that.
25 (Discussion held off the record.) 25 A. Right.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

 

 
   

03/13/2018 Pages 277-280
Page 277 Page 279
1 Q. rl‘hat -- 1 A. 1 -- not that 1 -- 1 don‘t recall.
2 A. Beyond that, 1 don't recall. 2 Q. Coogan never told you that?
3 Q. I ~~ 1 had a totally different question, which is 3 A. 1 don't recall.
4 whether he ever told you -- 4 Q. Did you talk to Coogan throughout the entire time you
5 A. Okay. My apologies. 5 were on leave?
6 Q. -- whether he ever told you that Chad Hayse contacted 6 A. 1 don't recall. 1 believe it was more of a sporadic
7 him and gave him the contact info for Sunshine Ponzetti 7 thing, check for updates or see if, you lmow, 1 needed
8 from the Michigan State Police? 8 to sell my house or what.
9 A. 'l'hat, 1 don't recall. 9 Q. were you aware that Chad Hayse contacted the city
10 1 -- 1 have never heard the name Sunshine Ponzetti, 10 council and Larry Coogan on July 28 to advise them that
11 to my recollection, prior to now. 11 you were being suspended with pay after receiving the
12 Q And did Coogan ever tell you that Hayse put together a 12 last police officer statement?
13 packet on you for Coogan's revie -- 13 A. You said July 28th?
14 A I -- 14 Q. Yeah.
15 Q -- and that -- in July? 15 A. 1 was already suspended with pay at that point.
16 A. No, 1 don't recall being told that. 16 Q. without pay on July 28th.
17 Q I've got an e-mail from Chad Hayse to Larry Coogan, 17 were you aware that there was a written
18 28 July 2016 stating: 18 comminication between Chad Hayse to the council and
19 “1 have the packet available. Are you 19 Coogan saying that it was being changed to without pay?
20 available to meet this afternoon between 20 A. 1 don't recall that.
21 2:00 p.m. and 3:30?" 21 Q. And that it was based upon a statement in speaking with
22 You weren't aware of that? 22 the last police officer witness?
23 A. You said that was an e-mail? 23 A. 1 don't recall that.
24 Q. Yeah. 24 1 know somewhere right around that time, Chief
25 A. Yeah. 25 Hayse sent Detective Nolin to my house to try and talk
Page 278 Page 280
1 No, 1 -- they didn't cc -- 1 me into resigning and making it easy for Mr. Hayse, and
2 Q. Did Coogan ever -- 2 1 told him 1 would not.
3 A. -- cc me on anything. 3 Q. Here, 1'11 hand -- 1'11 hand you Bates stamp 6027.
4 Q. 1 mean, 1 know you're in touch with Coogan, So, did he 4 You were not aware -- 1 know you didn't get this.
5 ever say, “Hey, lmrman‘s got a packet. 1'm going to get 5 You were not aware of this?
6 it, and 1'm »- we're going to take a look and see what 6 A. 1'm not on there.
7 Purman says you've done wrong“? 7 Q. 1 know you're not. 1 said 1 lmow you didn't get it.
8 Did Coogan ever let you know that? 8 Did you ever become aware of it?
9 A. 1 think you mic-worded that. You probably meant Hayse, 9 '
10 not Fuman, but -- 10
11 Q 1'm sorry. You're right. 1 did. 11
12 Did Hayse ever let you know? 12
13 A. No, Hayse never let me know he -- 13
14 Q Did -- did Coogan ever let you know that Hayse had a 14
15 packet for him and he was going to get more info? 15
16 A. Not that 1 recall, no. 1 never received any 16
17 clarification as to why 1 was suspended. 17
18 Q were you aware that Chad Hayse wrote Larry Coogan on 18
19 Monday, July 5th, saying: 19
20 "1‘11 be back in the office on Thursday 20
21 and will provide the information There are 21
22 two separate matters concerning Corporal Furman, 22
23 and 1 assume you want the requested information 23
24 for both cases. " 24 _, a
25 You were not aware of that? 25 Q. where?

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 281“284
Page 281 Page 283
1 A. In Melvindale, right on our border, 1 Q. ~~ and why you towed and why you didn't arrest and
2 Q. Hmm. 2 things like that.
3 A. Because 1 live in Allen Park, which is the next city 3 And you explained your position on towing?
4 over. So, 1 met him there. And 1 believe he 4 A. Correct.
5 hand-delivered that letter to me and then told me 1 5 Q. And you said, "1 was told ~- given orders basically by
6 should -- you lmow, Hayse wants me to resign. 6 the chief, ’Don't tow anything unless absolutely
7 MS. GORDON: Okay. Counsel, we don’t have that 7 necessary. '“
8 letter. 1t's never been printed out. 1 wanted to state 8 A. By -- both by the chief and Mr. welch.
9 that for the record. 9 Q. Do you have any evidence of that other -- other than
10 MR. OOOGAN: what -- 1 was taking notes. what -- 10 your testimony?
11 MS. GORDON: Yeah. The sergeant is telling us 11 A. well, they said it in front of other officers, and adler
12 about a letter he received that was hand-delivered to 12 officers testified to the same thing, including
13 him with regard to his suspension the day he met with -- 13 Lieutenant Kennaley, 1 believe, Sergeant Easton.
14 with Officer Nolin. 14 Q. Okay. But 1'm just asking you, do you have any evidence
15 MR. wISE: Do you have that somewhere? 15 with regard to what was said to you other than your
16 A. Not here. 1 -- 16 testimony?
17 MR. wISE: well, obviously. 17 A. No. Just my testimony, ma'am.
18 A. 1 figured Hayse would have a copy. 18 Q. Did you text with the chief at all? Text message?
19 BY MS. GORDON: 19 A. Maybe a happy birthday one year or scmething. 1 mean,
20 Q. well, Hayse doesn't have access to his City stuff . 20 1 --
21 That's the thing, we don't have access to it. The City 21 Q. He had your cell phone number and could text and vice
22 does. 22 versa if »- if needed?
23 A. Okay. 23 A. Yeah.
24 Q. But you would have it, 1 assume? 24 Pretty much everybody at work has everybody's
25 A. 1 believe 1 have a copy of that at have. 25 number. You've got to get hold of somebody and --
Page 282 Page 284
1 Q. Okay. All right. 1 Q. was it welch that told you Mike Goch has bribed the
2 A. 1'll double-check as soon as 1 get home today. 2 mayor, bribed the council and bribed the city attorney?
3 MR. wISE: Thank you. 3 A. Both Hayse and welch said that repeatedly.
4 BY 149. GORDON: 4 Q. when did Hayse say that? Can you give me some dates?
5 Q. Okay. what do you recall testifying in front of the 5 A. During -- specific dates. no, but during the time that
6 city council about -- 6 the contract was -- was out for bid, and they -- Goch
7 (Discussion held off the record.) 7 placed a bid and Gene's placed a bid as well,
8 BY MS. GORDON: 8 Q. well, do you remember the circumstances? where -- were
9 Q. -- with regard to Hayse? 9 you in -~ 1 mean, you were already -- the chief was
10 what were the topics? 10 already not your favorite person in 2015 ; correct?
11 A. 0n the dates of his hearing -- 11 A. Correct. Yeah. He had treated me very poorly for --
12 Q. Right. 12 Q. So, you're telling me ~~
13 A. -- in August of 2016? 13 A. -- quite some time.
14 Q. Correct. 14 Q. -- he came out to you and said --
15 A. Okay. 1 -- 15 A. No, he came out to everybody.
16 Q. You said -- you said you looked it over -- 16 Q. 1'm -- let me finish my question.
17 A. Right. 17 A. Sure.
18 Q. -- in prep for today. 18 Q. "Mike Goch has bribed the mayor," was that in front of
19 A. Right. 19 a group or where was that?
20 Q. So, what do you recall your topics being? 20 A. Yes.
21 A. well, most of it regarded police impound. 21 Q. Did anybody say, "well, what's the bribe?"
22 Q. Yeah. 1 see that. 22 A. He just said they were being bribed.
23 You were asked questions about the number of tows 23 And it was not just the mayor. 1t was also the
24 you had done -- 24 city attorney; the city council; Rich Ortiz, our
25 A. Correct. 25 financial CEO.

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 285»-288
Page 285 Page 287
1 Q. Okay. So, did -~ did you speak up and say, "what are 1 Q. Okay.
2 you talking about?" 2 A. -- got to this point.
3 A. No. 1 just basically kind of listened to them. 3 Q. So, you stood by -» you, the guy who has been in here
4 Q. Did you go report that to the city attorney or anybody 4 telling me you're all about the law and you want to be
5 else? 5 sure things are done right, society shouldn't fall
6 A. No. 1 didn't really talk to Mr. Coogan very much at 6 apart, you never made known to anybody that the police
7 that time other than at court for, you know, regular 7 chief said Larry Coogan was taking bribes, the mayor was
8 court stuff, tickets -- 8 taking bribes, the mayor was a -» the "B" word, the “C“
9 Q. well, you interacted with him pretty regularly; correct? 9 word. You just stood idly by and allowed all that to
10 On court stuff, at least, if nothing else. 10 happen right in your very own police department,
11 A In -- in court. 11 according to you.
12 Q yeah. 12 1 guess that‘s your testimony,- right?
13 A. But there's no -- you know, that's basically just to 13 A. Along with --
14 discuss court and then go back to City -- 14 MR. wISE: Object to form.
15 Q And you never went, obviously, to the Public Safety 15 Go ahead.
16 Corrmission or anybody else,- right? 16 BY MS. GORDON:
17 A. No, not at that time. 17 Q. Correct?
18 1 was trying not to make any waves. 18 A. Along with numerous other officers --
19 Q was there -- had you heard any allegedly negative 19 Q. Exactly -'
20 comments the chief had made about the »~ the mayor? 20 A. ~- who didn't want to feel Mr. Hayse's wrath.
21 A. 0h, numerous, numerous times. 21 Q. well, you could have complained anonymously. You didn't
22 Q when did you first hear that? 22 do that either, did you? Since there were a whole bunch
23 A Essentially my entire career. 23 of you that heard this when he just came back and
24 Q who did you hear it from? 24 ranted, it could have been any --
25 A. The chief. A lot of times he would come back from city 25 MR. WISE: Form.
Page 286 Page 288
1 council meetings which ~- they're held in the other side 1 BY MS. GORDON:
2 of our building. Half of our building is City Hall and 2 Q. It could have been anybody ~- it could have been anybody
3 half is the police department, and he would come back 3 that heard these comments. lt wouldn't necessarily have
4 and just be renting and raving about -~ you know, he 4 been you; correct?
5 called the mayor a "cunt" and a "bitch” and a "whore." 5 A. Well, 1 don't -- 1 don't believe in -- welll yeah.
6 He would say she was uneducated. 6 Q. You don't believe in anonymous complaints?
7 Q. You didn't -- you didn't -~ 7 A. (Shakes head.)
8 A. He said we shouldn't have a female mayor. 8 Q. You don't believe -~
9 Q. You didn't testify to that. You weren‘t asked to 9 THE REPORTER: 1'm sorry --
10 testify to any of that, were you? 10 BY MS. GORDON:
11 A. 1 believe that was -- there were -- 1 was asked if 1 11 Q. -- in complaints with your name on them either, do you?
12 heard or made disparaging commts. 1 believe that came 12 You said --
13 up, but 1 had expressed that to city council as well. 13 MS. GORDON: He said "no" to the, "You don't
14 Q. when? 14 believe in anonymous complaints.“
15 A. During my suspension. 15 BY MS. GORDON:
16 Q. In what format did you express it to city council? 16 Q. You said "no"?
17 A. Mr. Louvet, over the phone; Ms. Barnes, in person. 17 A. 1 don't -- 1 don't like anonymous cumplaints. 1 feel if
18 Q Okay. But at the time these comments were said, you 18 you're going to write a complaint, put your name on it.
19 never did anything about them, did you? 19 Q. Exactly.
20 A. No. 1 didn't want to draw attention to myself. 20 So, here you did neither. You just allowed ~
21 Q But you didn't mind drawing attention to yourself later, 21 A. 1 was scared and intimidated by Mr. Hayse.
22 shortly thereafter, when you were on suspension. You 22 Q. 0h, 1'm sure you were. 1'm sure you were so scared and
23 were happy to do it. 23 intimidated --
24 A. 1 wasn't happy to do. 1'm not happy with the whole 24 A. well, 1 didn't want to lose my house, my truck, my car.
25 situation. None of it should have ever -- 25 1 need my lights on and my water; right?

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

03/13/2018 Pages 289-292
Page 289 Page 291
1 Q. So, so much for enforcing the law and being sure that 1 A. He was hired by the City to do an outside independent
2 society doesn't crumble apart; right? 2 investigation.
3 MR. WISE: Object to ~- objection. Form. 3 Q. Wanted to find out why tows were down or off or
4 Argimentative. 4 something like that?
5 BY MS. GORDON: 5 Yes.
6 Q. That ~~ that only applies -- 6 Q. And that -» this is while you're on leave? Were you on
7 MR. WISE: Is there even a question? 7 leave at this time?
8 MS. GORDON: Yeah. 8 A. 1 don't -- 1 -- 1 can‘t say for certain. 1 don't know
9 BY MS. GORDON: 9 if it was before or during.
10 Q. That only applies in certain circumstances, 1 guess, and 10 Q. Okay. So, that's what you talked to him about?
11 when it's within your own department and you've got a 11 A. Yes.
12 police chief that you think is just seriously wrong, you 12 Q. Okay.
13 don't do anything about it. 13 A. That, the general atmosphere at the department.
14 But the record is already what it is. So ~- 14 (Discussion held off the record.)
15 (Discussion held off the record.) 15 BY MS. GORDON:
16 A. Yeah, that's for sure. 16 Q. Did you talk to Jackson about anything else?
17 BY MS. GORDON: 17 A. 1 don't -- 1 don't recall. I've never, you know, spoke
18 Q. Do you know how long Chad Hayse was with the City of 18 with him since then, and 1 don't have a copy of the
19 Melvindale altogether? 19 investigation.
20 A. No, 1 do not. 20 Q. Did you get a copy?
21 Q. Do you know that it's over 20 years? 21 A. No.
22 A. 1 know it's about 20 years or over 20 years. 1 don't -- 22 Q You never received a copy of his results?
23 Q. Do you know what his educational background is? 23 A. No.
24 A. Well, 1 know he had sane sort of degree from a 24 Q. Okay. What social media sites do you post on today?
25 university that was not accredited and doesn't exist. 25 A All 1 have is a Facebook and an e-mail. 1 don't have
Page 290 Page 292
1 Q. Well, do you know what other universities he has degrees 1 really anything else.
2 from? 2 Q. What do you post on, though? Do you post --
3 A. No, ma'am. 3 A. 0h, 1 have an Instagram.
4 Q. You know really very little about what he's accomplished 4 Q. Do you post on any of the Melvindale sites?
5 during the time he was with the City,~ correct? 5 A. 1 just received administrative rights to post on our
6 A. 1 -- 1 care very little about what Mr. Hayse does 6 Melvindale Police Department official web page, if
7 outside of work or his educational background. 7 there's updates or information fran the cummity. For
8 Q. 1 see that. You really don't care much about your own 8 example, 1 had to post something in regards to a -- an
9 point of view, but that's fine. 9 mergency siren -- tornado siren a couple weeks ago.
10 How is it you got selected to talk to Larry Jackson 10 Q What about "It Takes a Village“?
11 in August of 2016, as you understand it, out of -- how 11 A 1 did used to look at that website, yes.
12 many -- how many people are at the police department? 12 Q. You've posted on it, haven't you?
13 How many officers? 13 A 1 do believe so, yes.
14 A. 1nc1uding the chief, 1 think we're at about 22, 23. 14 Q. Do you still visit it periodically?
15 Q. Okay. How is it you got -- 15 A. No. 1t's --
16 A. 1'm not sure. 16 Q. why?
17 Q. -- selected, you and a couple of other people? 17 A. There's a lot of goofballs on there, and I've seen
18 A. 1 don‘t know. 1 was called -- contacted by Mr. Jackson. 18 myself bashed enough times on there by people
19 Q. Nobody told you why you were selected? 19 complaining about getting their car towed or this or
20 He didn't tell you that? 20 that, that 1 -- that 1 don't even want to look at this
21 A. Well, Mr. Jackson told me he contacted me because a lot 21 any more.
22 of the issue was regarding Mr. Hayse, and he was 22 Q. Uh-huh.
23 supposed to find out basically why there was less tows 23 You were against the combination of the dispatch
24 being made and things like that. 24 center -~ is that correct ~- with Dearborn?
25 Q. Okay. 25 A. Initially, yes. 1 was strongly against it for a couple

 

 

 

 

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FURMAN, SERGEANT MATTHEW

 

 

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1 reasons, but yes. 1 of changed my opinion quite a bit.
2 Q. what were they? 2 Q. As 1 understand it, most of the department sort of
3 A. well, it was going to switch us from our computer 3 viewed it the way you did. They ~~ they like the setup,
4 system -- we use a computer system that’s the same 4 They like your equipment. They like the neighboring
5 computer system as our neighboring Downriver 5 city connection.
6 commities, particularly Allen Park and Lincoln Park, 6 A. Yes.
7 River Rouge, Ecorse, Southgate, and if we have an 7 Q. would that be your understanding?
8 emergency or sanething, that's our primary backup. 8 A. Yes.
9 Being taken off of that computer system and put 9 Q. And change was eventually apparently coming your way,
10 onto another system with Dearborn and no longer on the 10 and people have kind of adapted to that?
11 Melvindale system made me initially very uncomfortable 11 A. Yeah. 1 *- 1 think a lot of guys kind of formed the
12 because these are the guys 1 see, guys 1 talk to, that's 12 same opinion, particularly with the jail. 1 mean,
13 my backup. If something is wrong, 1 know these guys. 1 13 the -- the way the jail is going to be, it's really
14 can send them a message. 1 can see where everybody is 14 going to work out really swell for us. Instead of
15 at on the maps, and it kind of took that away. 15 having -- running our mm jail, we'll be able to take
16 Q. Okay. 16 them to Dearborn, and they have a lot more ~- we can
17 A. So, that -- that was really my -- that was my big 17 just drop them off there and be like this -- 'He'y, this
18 concern about it. 18 guy is arrested because he has this and this,' and then
19 Q. I noticed one of your posts says, in addition to what 19 Dearborn does all the processing, all the booking. They
20 you just said: 20 do the housing. They -- right now we have to send
21 "I‘m a police officer. Our dispatch center 21 officers to go pick up food every time somebody is in
22 features state-of~the-art dispatch and police 22 there so we can feed them. keep the log books,
23 radio equipment.“ 23 everything
24 A. That's correct. we actually have the top-of-the line 24 1t's really going to simplify things quite a bit,
25 stuff in Melvindale. we've got the best radios, best 25 especially for a departmmt with -- with small manpower.
Page 294 Page 296
1 computers, best 911, phone. 1 mean, all of our 1 So, the jail thing is big sell. Everybody is
2 equipment is up-to-date. 1t's not like we're -- 1 mean, 2 really quite in --
3 we're kind of a low budget city, but we have very, very 3 Q. Okay.
4 adequate equipment. 4 A. -- favor on that.
5 Q. Okay. You also say: 5 Q. Am 1 correct that nobody from the City ever contacted
6 "It is, in fact, superior to what Dearborn 6 you about your posts on social media about this issue of
7 currently has.“ 7 dispatch or any of the other things you -- you posted?
8 A. At the time, that's correct. 1t was. 8 A. Mr. Hayse at the time encouraged me to speak out against
9 Q. Okay. 9 it, and 1'm pretty sure we were all -- 1 mean, with a
10 A. Not now. 1t would be the same. 10 couple exceptions, 1 think -- 1 think the whole
11 But at the time, yes, our equipment was superior to 11 department was pretty agath it at the time.
12 Dearborn's. 12 Q. But nobody ever told you you shouldn't be posting;
13 Q. Did there come a time when you changed your mind 13 correct?
14 about that? 14 A. Not to my knowledge or recollection, no.
15 A. After 1 started finding out some of the resources that 15 (Discussion held off the record.)
16 Dearborn really had to offer, just how big they are, 16 MS. GORDON: Okay. 1 have no more questions for
17 their manpower, what kind of equipment they have and 17 you. You‘re done.
18 just -- 1 mean, if there's an emergency and we need 18 * * *
19 backup, 1 mean, even with, you know, small ccmmmities 19 EXAMINATION
20 like Allen Park, Lincoln Park, River Rouge, Ecorse, 20 BY MR. COOGAN:
21 being able to send units for -- for reinforcemmts for 21 Q. Okay. 1'd like -- earlier you were questioned,
22 backup, all combined, 1 mean, Dearborn could still send 22 Mr. Furman, you never told -~
23 and do a lot more. 23 MS. GORDON: Hang on a second. Let's put on the
24 So, 1 mean, once 1 really started to learn about 24 record, are you representing Mr. Furman here today?
25 Dearborn and get a lot more details, 1 kind of -- kind 25 MR. COOGAN: 1 am right now, yes.

 

 

 

 

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1 MS. GORDON: Okay. 1 politicians. Said that she was incanpetent.
2 MR. COOGAN: I'm asking some questions, and I'll 2 Q. And you told all this --
3 hopefully move through it fairly quickly. 3 A. He called her "retarded."
4 MS. GORDON: And how many questions do you have? 4 Q. ~~ to Mr. Jackson; is that correct?
5 How long do you have? 5 A. That's correct. 1 did share that information with
6 MR. COOGAN: 1 don’t know. 1'd say 20 minutes or 6 Mr. Jackson.
7 less, I'm hoping. 7 Mr. welch made pretty much the same exact cmments.
8 MS. GORDON: Okay. 1'm going to take -- 1 didn't 8 They made very similar cmments against the --
9 know that. So, if you don't mind, I‘m just going to 9 Mr. Ortiz, our city administrator. They called him
10 take a very quick break. 10 "corrupt," "on the take."
11 MR. COOGAN: 0h, sure. Sure. 11 They kept saying that they all wait to high school
12 (Short recess at 5:08 p.m.) 12 together. And, you know, various people had accused the
13 * * * 13 mayor of sleeping with Mike Goch from the tow company.
14 (Record resumed at 5:13 p.m.) 14 They said they were cheating on their spouses with each
15 (Ms. Gordon is not present after the break.) 15 other.
16 BY MR. COOGAN: 16 Q. All right.
17 Q. Earlier you were asked by opposing counsel if you 17 A. They called -- they called Mike Goch a 'felon." Never
18 discussed -- your failure to address or discuss these 18 provided any proof of same, but they said Mike Goch was
19 issues with everybody; is that true? 19 a "felon," llall his guys were felons, criminals.' He
20 A. Can you repeat the question? 20 said Mike Goch would steal cars and run chop shops and
21 Q. The issues surrounding Hayse, you were afraid to discuss 21 just all kinds of -- you know, fairly extreme
22 those? 22 accusations.
23 A. Yes. 23 Q. And you reported all this to Mr. Jackson?
24 Q. But you had an opportunity to talk to Larry Jackson; is 24 A. That's correct.
25 that correct? 25 And same thing -- he said the same kind of comments
Page 298 Page 300
1 A. That‘s correct. 1 about pretty much every city council member. 1 remember
2 Q. And did you discuss it with him? 2 him calling Councilman Densmore a 'sellout' and a ”piece
3 A. I did. 3 of shit.”
4 Q. And did you agree to waive the position of being 4 Q. Okay.
5 anonymous when you talked to Mr. Jackson? 5 1118 NITNESS: Are you good with --
6 A. 1 did. 1 felt there had been enough silence on the 6 THE REPORTER: Yes.
7 issues at this point and it was -- enough was enough. 7 BY MR. COOGAN:
8 and 1 needed to step forward, and if that meant having 8 Q. Did Mr. welch or Mr. Hayse ever -- both or either one
9 my name out there, then so be it. 9 ever express their dislike for Mike Goch then?
10 Q. So, when you talked to Mr. Jackson, if you can recall, 10 A. 0h, yes. N\m\erous times.
11 what did you talk to Mr. Jackson about regarding 11 Q. what were the examples of what they would say, other
12 Mr. Hayse and Mr. welch? 12 than what you've already alluded to? ls there anything
13 A. Well, a lot of it was just their general behavior around 13 else or not?
14 the department, the things they would say about -- 14 A. well, before Mr. Goch was awarded the contract, they
15 Q. Such as what? 15 were telling all the officers that, "1f he gets the
16 A. well, about yourself . They would say you were corrupt, 16 contract, we‘re not towing any cars. Don't make that
17 on the take. welch called you the worst attorney he's 17 fucking Mike Goch any money.' Things of that nature.
18 ever met. You probably never even really graduated law 18 1 was ordered that if he gets the contract not to
19 school. You only got the job because your dad was 19 tow anything.
20 mayor, you know, things of that nature. 20 Once Mr. Goch was awarded the contract, 1 continued
21 He said the -- the current mayor -- well, Mayor 21 to tow vehicles, That upset Mr. Hayse and Mr. welch
22 Striz at the time -- it's Bazman now -- she's been 22 extremely so, to the point welch actually accused me of
23 remarried. But he called her a -- a "cunt," a "whiore,ll 23 l’sucking Mike Goch's dick.' That was the exact words he
24 a 'bitch,' a llslut,ll made fun of her education. He said 24 used. Told me 1'm "busy sucking Mike Goch's dick.'
25 there's -- we should never have a female mayor or 25 Q. Any other comments, or is that pretty much --

 

 

 

 

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1 A. That‘s -- that's the gist of it. 1 A. Yes.
2 Q. All right. No -- 2 Mr. Hayse and Mr. welch had a discussion, and they
3 A. He accused everyone of being on the take and taking 3 decided to increase the fee per impounded vehicle from
4 bribes. That's the only reason he got the contract. 4 $64 to $100 per automobile.
5 Q Now, were officers in the department fearful of negative 5 Q. Do you know when that took place?
6 treatment? 6 A. 0h, 1 would guess about a year, year and a half into me
7 A. 0h, absolutely, myself among them. 7 being there.
8 Q. And what sort of negative treatment would be 8 Q. And you started in 2012?
9 experienced? 9 A. That's correct. May 9th of 2012.
10 A. well, if Mr. Hayse didn't like you, 1 mean, his -- he 10 Q. So, sometime in the middle of --
11 was pretty extreme. For example, one of the officers 11 A. 1 would say in '13.
12 got a flat tire one time, and he wanted to suspend the 12 That‘s a guess, 1'm not sure on it. 1 don't
13 officer until he sent him to driving school for a flat 13 recall an actual date.
14 tire. But, you know, you just encounter in driving -- 1 14 But they did raise it to $100 per car, and it was
15 mean, just ridiculous things. Mr. Hayse has a bad 15 still a cash only policy.
16 temper. Does a lot of yelling and screaming. 16 Q. And who collected those funds?
17 Q Did this affect the morale in the department? 17 A. whoever was at the front desk. But, ultimately, Mike
18 A. 0h, yes. Morale was almost nonexistent, absolutely 18 welch was responsible for everything, which 1 always
19 horrible. 19 found curious because, per our department policy and
20 Q was he creating a hostile work environment in your 20 structure, it's my understanding the detective bureau is
21 opinion? 21 supposed to rim the impound auctions, do all the impound
22 A. Extremely hostile. 1 -- 1 couldn't wait to get off work 22 paperwork, all that.
23 and go home every day. 23 But for some reason, Mr. welch, who was not in the
24 And 1 went from a job where 1 looked forward to 24 detective bureau, Mr. Hayse placed him in charge of all
25 going in to a job where 1 didn't want to be there, and 1 25 of the auctions and the money and all that instead of
Page 302 Page 304
1 was ready to -- to job hunt and go somewhere else. 1 having Lieutenant Bajorek, who should have been in
2 Q. was it safe to say that ~- redirect your attention to -- 2 charge, do it.
3 to Gene's Towing. 3 Q. Did Mr. welch and Mr. Hayse have a name for auction day?
4 Did you tow cars when you worked for the City and 4 A. They used to joke around and laugh and call auction day
5 Gene's was the tow company? 5 their payday.
6 A. 1es. 6 Q. Did you find that odd?
7 Q, And did you tow -- 7 A. Knowing the two of them, no.
8 A. 1 did very large amount. 8 But, yes, it was very odd.
9 Q. All right. 9 Q. what did that mean to you?
10 A. Thousands, 1 guess, or -- 10 A. well, to me, that meant they were '- they were skimming
11 Q Do you know -- are you familiar with what the rate was 11 from the auctions.
12 of pay for Gene's Towing; if you know? 12 Q. Okay. You don't have any proof of that, do you?
13 A. Yes. 13 A. No, no. That's just -- that was my impression.
14 when 1 started there and Gene's Towing was towing 14 Everything was done with cash only, and a lot of the
15 cars, they received $64 per tow. 15 111-52s and paperwork did not get filled out correctly.
16 Q. And how do you know that? 16 There were no sale prices put on, no amounts put on.
17 A. Because that's what was collected at the window. 17 Q. who was in charge of the 'I'R-SZS?
18 we had a system where if somebody came to get their 18 A. Lieutenant welch.
19 vehicle from the impound, they didn't go to Gene's. 19 Q. And what are '1'R-52s?
20 They came to the police station and paid in cash only at 20 A. 'l'R-SZ is basically a title release. So, say, 1 impound
21 the front desk. 21 somebody's car, and that vehicle stays at the police
22 Q. Did you ever look at the contract? 22 department x-amount of days.
23 A. No. I‘ve never seen the contract. 23 well, after it's there so long, we notify Secretary
24 Q Did there come a time when the fee structure for Gene's 24 of State that the vehicle has been abandoned, and then
25 changed, if you‘re aware of it? 25 they send a TR-SZ, which is basically -- TR is title

 

 

 

 

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1 release. They send this form to the police department, 1 well, Goch had a completely different structure
2 and it turns over ownership of the vehicle to the police 2 that he wanted to do for the auctions. And what that
3 department. 'l'hey also send a notification to the owner 3 was, was to have -- he would have his tow fee and then
4 of that vehicle, and from the time they send it out, 1 4 he would administer the auctions, do a lot more
5 believe -- and I'm not certain because 1 don't do 5 advertising, get more people there, put up signage and
6 that -- but 1 believe they have -- the owner has 20 days 6 all that. So, we would have a lot bigger crowds.
7 to come redeem it, and if they don't, then the police 7 And then he would take a percentage of the auction.
8 departmezt can sell it at auction. 8 1 don't know what the percentage is. 1 -- 1 think it‘s
9 And on the back of that TR-52, the officer who 9 10 percent, but 1 could be completely wrong,
10 sells it is supposed to put the date, the sale amount. 10 But then what that did was allow Mr. Goch to --
11 the buyer's information, the date of sale, all that, and 11 Mr. Goch would then have to keep track of all the actual
12 Lieutenant welch and Mr. Hayse would never complete the 12 sales figures for things, what things actually sold for,
13 information on there. 13 and 1 got the impression that Mt. Hayse and Mr. welch
14 Q. well, why is that important? 14 did not want any accurate records kept. They were very
15 A. well, it maintains accurate records and -~ for what 15 adamant about Goch not being involved in the auction
16 things sold for and to -- to who purchased it. That way 16 process.
17 if something ccmes up later, you lmow, we can say, "Oh, 17 And, actually, after Goch & Sons received the
18 yeah. we sold it to Mr. Smith for $600 on such-and-such 18 contract, Mr. Hayse and Mr. welch refused to allow Goch
19 date, and he lives over here.' 19 to administer the auctions like he was supposed to, per
20 Q. Do you have -~ have you ever seen a TR-52 that took 20 his contract, and they refused to allow him to -- to
21 place during the Gene's Towing era? 21 participate in th -- the auction process.
22 A. Yes. As a matter of fact, Secretary of State sent 22 And there was -- as 1 was later told by Mr. Goch,
23 people back on numerous occasion with their blank forms 23 he kept track cf what things sold for at the auctions
24 that were signed with no other information on them, and 24 and then Hayse and welch would tell him you're wrong,
25 the people have come to the station. Mr. welch would 25 and that they -- everything was -- they were saying sold
Page 306 Page 308
1 tell them. 'Just put whatever you want on there. Put 1 for a lot less than it did.
2 100 bucks.' llPut -- put --' you know, "Don't pay so 2 So, there was a lot of discrepancy, and it got to
3 many taxes,' stuff like that. 3 the point where Mr. Goch would have two or three
4 Q. would Chief Hayse witness ~- did he ever witness that 4 employees in plain clothes come to the auctions, writing
5 too? 5 down what everything sold for. They would compare.
6 A. Yes. He assisted Lieutenant welch with the auctions. 6 They would all have the same thing, and Mr. Hayse and
7 He was present at pretty mmch, 1 believe, every single 7 Mr. welch would say, "Oh, no, this only sold for this,'
8 auction. 8 or "'Ihis sold for this,'
9 Q. were they upset when the City changed tow companies? 9 So, there was a lot of discrepancy in the amount of
10 A. thremely, extremely upset. 10 what the vehicles sold for versus what Mr. Hayse and
11 Q. Do you know why that would have been? 11 Mr. welch were reporting they sold for. And was -- 1
12 A. well, the way the old tow company worked, when they 12 just had to -- you know, acme thought that maybe that
13 impounded a vehicle, they received first $64 and then 13 had some reason to do with not wanting to change tow
14 later apparently $100 per vehicle. So, the old tow 14 companies.
15 company, the only statistics they kept were how many 15 Q. Do you really care who tows the vehicles for you?
16 vehicles were sold. 16 A. Absolutely not. 1t made no difference. 1 -- 1 liked
17 So, say we had an auction and 50 vehicles were 17 the guys at Gene's. They did a good job. 1 like the
18 sold. The old tow company, Gene's, would know that, 18 guys at Goch. They do a good job. 1f John's Towing
19 okay. we sold $50. 1 get $100 tow fee per car, "Five 19 come in tomorrow or Deborah Gordon Towing. that would be
20 grand, please." It was that simple. 20 fine, too, as long as they do a thorough job.
21 well, when -- so, they didn't keep any records. 21 (Discussion held off the record.)
22 They didn't keep any paperwork. They didn't have to do 22 BY MR. COOGAN:
23 anything in terms of accounting other than knowing how 23 Q. Do you know who Gasper Fiore is?
24 many cars were actually sold. That was all they cared 24 A. Yes.
25 about. 25 Q. And how do you know him?

 

 

 

 

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1 A. well, Gasper Fiore is actually the owner of Gene's 1 A. No. Mr. welch told me -- Mr. Hayse had been in the
2 Towing. Paul -- Paul Ott is kind of a figure head at 2 building all morning, and I had saw Mr. Hayse 5 minutes
3 Gene's Towing. 3 earlier, and then he -- he walked out of the building.

4 Gasper has been all over the news for various 4 Excuse me.

5 corruption-related scandals throughout Southeast 5 Mr. Hayse ~- or -- I‘m sorry -- Mr. welch called me

6 Michigan, Maccmb County. 1t seems like a lot of bribery 6 into Mr. Hayse's office, and he told me that, per Chief
7 and a lot of different towing and -- and garbage 7 Hayse, 1 was being suspended. 1 believe Mr. -- Chief --

8 sanitation. 8 current-Chief Allen was there as well. Neither one of

9 MS. MARZO'I'TO TAYLOR: So, is this like relevant to 9 them knew why 1 was being suspended. They just said it
10 anything? 10 was per Hayse.

11 MR. COOGAN: 1'm ~- I'm getting there. 11 Q. You were subsequently ~» and that was with pay, the
12 BY MR. COOGAN: 12 original suspension; is that correct?
13 Q. Have you ever seen him in the police station? 13 A. That's correct, sir.
14 A. Yes. On at least two occasions that 1 know of. 14 Q. And the subsequent suspension on the 28th of July was
15 Q. And »~ and have you ever seen him talk to former-Chief 15 without pay; is that correct?
16 Hayse? 16 A. That's correct, sir.
17 A. 1 saw him go to Mr. Hayse's door. Mr. Hayse opened the 17 Q. And were you told on that day what you were being
18 door and Mr. -- Gasper went inside, but 1 didn't see 18 suspended for?
19 them actually talk or what they did in there, but 1 saw 19 A. No. 1 just -- Nolin told me to resign and make things
20 him enter Mr. Hayse's office. 20 easy on Hayse, and 1 told him 1 wouldn't do that.
21 0 would it surprise you to know that Mr. Hayse testified 21 Beyond that, I wasn't given no actual reason for the
22 at a previous deposition that he didn't know who Gasper 22 suspension and no further information.
23 Fiore was? 23 Q. Should employees have to guess as to why they're being
24 A. That would surprise me because he did know who he was, 24 disciplined?
25 and 1 saw him go in his office. 25 A. Absolutely not. we have a very clear policy.
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1 And 1 also saw Mr. -- 1 Q. And what is that policy; if you know?

2 Q. So, would he be lying to say he didn't know who that 2 A. That policy is -- and 1'm paraphrasing here -- but if

3 gentlemen was? 3 you‘re being disciplined, you have the right to know

4 A. Yes. 1 mean, unless they went in the office and had no 4 why. Your union needs to be informed why. You have

5 conversation and then Mr. Fiore left, but -- 5 grievance procedures. 'I'here's policy and procedure to

6 Q. Okay. 6 follow. The Safety Coomission should be advised. The

7 A. He was also at a hearing that the City held for the 7 city attorney should certainly be advised.

8 contract when it was going out to bid, 8 Q. Okay.

9 Q. was Mr. Hayse there at that ~ at that hearing as well? 9 A. In my opinion, the city administrator, mayor and city
10 A. Yes. 10 council should also have knowledge of what's going on in
11 Q were you ever written up over this alleged incident that 11 the department.

12 took place sometime in July? 12 Q. So, were you denied due process?

13 A. ¥es. 13 A. ¥es, absolutely.

14 well -- 14 Q. Never had a hearing?

15 Q I‘m referring to -- 15 A. 1 was denied -- denied all process.

16 A. 1'm sorry. 1 need to -- 1 need clarification on 16 Q. Never had a hearing?

17 which incident. 17 A. Never had a hearing.

18 0 1'm specifically talking about the instance where you 18 Q. Never notified what you were charged with?

19 were suspended in early July -- July 5th or 8th, 19 A. Correct. Never notified, no hearing.

20 whenever it was you were suspended. 20 Q. Did you have a union rep come in with you and talk with
21 were you ever written up for that? 21 you?

22 A. No. There was no documentation for my suspension. 22 A. Yes.

23 There was no write-up. 1 didn't sign anything. 23 well --

24 Q were you told prior to being sent home what the reasons 24 Q. were you afforded a hearing with the union rep?

25 were? 25 A. Let me take -- let me rephrase -- let me redact that

 

 

 

 

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1 statenent. 1 didn't like Arabic people, 1 think, even more. He would
2 Q. 'Ihat‘s a yes-or-no question. 2 refer to them -- him and welch both refer to them as
3 were you afforded a hearing? 3 "chip pop bro.'l
4 A. No. 4 THE REPORTER: I'm sorry. "-- refer to them as -»"
5 Q. And you never were informed of what the charges were? 5 A. "Chip pop bro."
6 A. No. 6 B‘{ MR. COOGAN:
7 1 met with a union representative after 1 was 7 Q. Any other acronyms he had for other people?
8 suspended. 8 A. 1 remember one time, after Goch & Sons was awarded the
9 But prior to my suspension or regarding the 9 contract, 1 was going to stay after and do traffic
10 suepension, no. 10 detail and Hayse made a comment that, 'Oh, so you can
11 Q. All right. Is there a difference between an arrest and 11 make more money for Mike Goch."
12 a tow? 12 And 1 said, "No, so 1 can have a better check when
13 A. ¥es. 13 1'm, you know, working more hours.'
14 Q. what ~~ what's the difference? 14 And he called me 'a cheap Jew fuck,' and a couple
15 Because there seemed to be some confusion earlier 15 days later, he called me 'a kike." And 1'm not. 1‘m
16 when you were asked questions like that. 16 Catholic. 1'm not Jewish at all.
17 A. well, a tow would be the impounding of a subject vehicle 17 Q. was that common practice for Mr. Hayse?
18 and arrest would be an arrest of a subject person. 18 A. 0h, yes. He insulted everybody.
19 Q. So, they're completely separate and distinct? 19 Q. Was there ever a quota for tows or tickets in the
20 A. Yes. 20 department?
21 Q. Do you have to »~ 21 A. No. After Goch & Sons was awarded the contract there
22 A. You may have your car towed, but you may not be 22 was Mr. Hayse giving basically a towing ban -- don't tow
23 arrested, or you may be arrested and your car may not be 23 anything. That way we can send a message and have Goch
24 towed. They don't necessarily go hand in hand. 24 & -- or Gene's Towing back in here after Goch a Sons was
25 Q. 1 see, 25 awarded the contract.
Page 314 Page 316
1 Now, there was a memo that was alluded to earlier 1 Q. lf there was to be a quota, who would institute a quota?
2 that was posted by the chief and specifically dated 2 A. 0h, the chief of police.
3 April 26th, 2016, the memo that was posted at the desk,- 3 Q. Is it legal to have guotas?
4 is that correct? 4 A. Absolutely not.
5 A. Correct. 5 Q. Did anybody ever express a quota to you?
6 Q. what is your belief the purpose of that memo was, if you 6 A. No. 1 never heard a thing about a quota.
7 have one? 7 Q. why do you typically -- earlier there were some tow tags
8 A. well, 1 believe that was part of Mr. Hayse's racism and 8 that were presented out here.
9 discriminatory policies. 1 bad been told on numerous 9 A. You're correct.
10 occasions by Mr. Hayse that 1 was not to tow white 10 Q. All the ones that were presented here today, was there a
11 females. 1 was told 1 should have given 11 reason set forth on them as to why you towed those
12 Ms. wielichowski a -- given her a ~- let her go with a 12 vehicles?
13 warning because she was a white female, and he said 13 A. Yes.
14 something along the lines of, l'1 told you before, no 14 And Ms. Gordon seemed to want to overlook that.
15 white females." 15 But on every one of those tow tags, it was
16 He encouraged me to tow the automobiles of blacks, 16 indicated whether a vehicle -- whether the driver was
17 Hispanics. 1 was told 1 can tow people my skin tone and 17 suspended, had no insurance, an improper plate. 1
18 darker. He made referalces -- and 1'm not black or 18 believe one of the vehicles was mregistered and
19 black heritage, but he would call me "our token black 19 ownership unconfirmed. 1 mean, every vehicle was towed
20 officer,' l'token nigger,' things of that nature. 20 for a legal, sound reason, as is every vehicle 1
21 Mr. Hayse and Mr. welch were -- were very overtly 21 impound. I've never impounded a vehicle 1 dich't have
22 racist. 22 legal grounds to do so.
23 Q. what do you mean by that? 23 Q. Do you feel you were ordered to racially profile people?
24 A. well, Mr. Hayse didn't -- he used the "N" word on 24 A. Yes.
25 numerous occasions. He didn't like black people. He 25 Q. By who?

 

 

 

 

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1 A. Mr. Hayse, Mr. welch. 1 hobbies and interests, such as classic cars,
2 Q. How did that take place? 2 parachuting, world war 11 re-enacting, various things we
3 How was that communicated to you? 3 do together. So, we have a lot of hobbies in ccmmnn.
4 A. Verbally. On numerous occasions verbally. 4 You know, we get together to eat and drink and just
5 Q Is gender a factor that should be considered whether or 5 became really good friends.
6 not to tow a vehicle? 6 Q. Are you still friends with him?
7 A. Absolutely not. 7 A. Yes. Yes, 1 am.
B Q. Is age a factor that should be considered whether or not 8 Q. Now, earlier, it was said that you were told to go see
9 to tow a vehicle? 9 Dr. Clark and then subsequently Dr. Zambo; is that
10 A. Absolutely not. 10 correct?
ll Q Are any of those appropriate considerations for writing 11 A. Correct.
12 tickets? 12 Q. And who ordered you to see Dr. Zambo?
13 A. Absolutely not. 13 A. Mr. Hayse.
14 Q ls race appropriate factor to tow a vehicle? 14 Q. Dr. Clark never ordered you to see Dr. Zambo?
15 A. Most definitely not. 15 A, Not to my knowledge, no. 1 never received any paperwork
16 Q ls race appropriate factor to write a ticket? 16 from Dr. Clark at all.
17 A. Absolutely not. 17 Q. Did you receive paperwork from Dr. Zambo?
18 Q were you ever instructed to reduce tows? 18 A. No.
19 A. Yes. 19 Q. So, you never -- did you go at your own direction, or
20 Q By who? 20 were you formally told to go see this doctor?
21 A. Mr. Hayse and Mr. welch. 21 A. well, 1 was told to g --
22 Q And how were you instructed there? 22 MS. MARZO'ITO TAYLOR: This was covered multiple
23 A. Repeatedly, verbally. Through verbal directives. we 23 times today already.
24 were told not to tow a single vehicle unless absolutely 24 A. 1 was actually sent there to go, and 1 did not receive
25 necessary. And, you know, it was defined. "Absolutely 25 any pay. 1 was forced to go after hours on my own time,
Page 318 Page 320
1 necessary' means, you know, if you have a car accident 1 and Mr. Hayse told me 1 would not be getting paid for
2 and everything is disabled. well, then, obviously, 2 it.
3 we -- we don't have a choice. we have to get it off the 3 BY MR. COOGAN;
4 roadway. Or a stolen car. 4 Q. And did you ever see a report or anything from anybody?
5 But, otherwise, 1 was told to give everybody a 5 A. No.
6 ticket and let then drive off, or don't do anything at 6 MS. MARZOTIO TAYLOR: He was just asked that.
7 all, and let the City get the message that we need to go 7 MR. COOGAN: But, Counsel, you asked it. If I'm
8 back to -- to Gene's Towing and then force the City to 8 doing some follow»up questions, 1'm permitted to do so.
9 do so. 9 Ms. MARzorIo TAYIoR= Repeatedly?
10 Q was towing at the discretion of -~ or tickets -- excuse 10 MR. COOGAN: 1 don't think we're here to debate
11 me -- tickets at the discretion of officers? 11 whether or not you asked the question. Now we're -- I'm
12 A. 100 percent. 12 asking the questions now.
13 Q All right. Now, you also know the people who own Gene‘s 13 MS. MARZUI'IO TAYLOR: No, you literally just asked
14 Towing; is that correct? 14 him that same question like a minute ago. 1t's -- time
15 A. Yes. 15 is running on.
16 Q ¥ou socialize with Paul Ott? 16 A. 1 think Ms. Gordon asked me the same question about 30
17 A. 1 do. 17 times a piece, so --
18 MS. MARZO'I'K> TAYI.DR: we've already covered this. 18 BY MR. COOGAN:
19 BY MR. COOGAN: 19 Q. Okay. Do you know anything about -» you sustained some
20 Q. Okay. And when you ~- how do you socialize with him? 20 damage one time for some clothing; is that correct?
21 A. well, more so Paul Ott -- his son and 1 became very good 21 A. ll'hat's correct. 1 was actually dragged down the road,
22 friends. His son is a tow truck driver for the curpany, 22 1 had a guy take off on me on a traffic stop. 1 got
23 and we ended up befriending each other because he would 23 snagged on the car, and 1 got dragged about 300 feet and
24 see me on so many towing scenes and we discovered just 24 almost killed. In the process. my uniform and a lot of
25 through conversation -- and we‘ve got a lot of the same 25 my leather gear, boots and things of that nature, were

 

 

 

 

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1 damaged during the incident. That became an issue 1 He stored it in the Melvindale Police evidence
2 because Mr. Hayse told me if 1 was stupid enough to get 2 garage?
3 dragged by a car, 1 could pay for my own replacement 3 A. Correct. where police evidence should be stored and
4 gear, 4 sensitive items are stored.
5 Q. Now, did the court ever reimburse you for those costs? 5 Q. How do you know that?
6 A. That was a separate incident that the court reimbursed 6 A. 1 saw it in there on numerous occasions when 1 had to,
7 on something. 7 in the course of my duties, go to the evidence garage.
8 For this stuff, Mr. Hayse refused, and 1 had to buy 8 Q. Anything else --
9 stuff out of pocket. Even though our contract with the 9 A. 1 also saw --
10 City says that if a uniform or apparel or any 10 Q. Go ahead.
11 work-required gear is damaged on duty, the -- it's the 11 Anything else unethical you observed?
12 City's responsibility and their cost to replace it for 12 A. Yes. There was a time when Mr. Hayse was doing some
13 us. 13 renovation at a house he owned, 1 believe an investment
14 There was another incident in which 1 got -- was 14 property in Lincoln Park, and he showed up at work with
15 assaulted on a traffic stop and my cell phone ended up 15 a trailer full of debris and yard waste and things of
16 getting smashed in the process. 1 had to pay a $100 16 that nature. He had me come down to the impound lot,
17 deductible with Verizon to have a replacement phone sent 17 open it up and then proceed to unload his trailer in the
18 to me. And 1 did request restitution from the court -- 18 city dimxp pile.
19 Q. Did you receive restitution from the court2 19 Q. was this while you were on-duty police officer?
20 A. 1 did. 1 received a check for $100 from the court that 20 A. 1 was on duty in uniform. 1 actually got filthy
21 they collected from the defendant. 21 unloading all the debris from his trailer and --
22 Q. And what happened to that check? 22 Q. Do you typically unload debris from trailers from other
23 A. Mr. Hayse made me sign it. 1 explained to him what it 23 police officers?
24 was for. He said it's mine now, and he took it away 24 A. No.
25 from me. 25 As a matter of fact, we're not even supposed to be
Page 322 Page 324
1 Q. So, the $100 reimbursement check you received from the 1 dumping stuff down there. That's the City's cost to
2 court to replace your phone was taken by Mr. Hayse; is 2 have to get rid of the waste down there. So, he just
3 that correct? 3 added to it.
4 A. That's -- that's correct. 4 Q. Any other unethical issues that you observed from the
5 Q. Do you consider that to be ethical? 5 police -- excuse me -- police chief -- former police
6 A. No. 1 consider it to be theft. 6 chief?
7 Q. Do you know anything about Mr. Hayse's boat? 7 A. Mostly just regarding the towing contract, various
8 A. well, 1 know he had a boat parked for a couple years -- 8 things he said about people, the way he treated certain
9 MS. MARZUI‘I‘G TAYLOR: So, 1'm going to -- 9 officers. 1 believe 1 mentioned earlier about his --
10 A. -- in the police evidence garage -- 10 the false report that he and welch colluded upon against
11 MS. MARZO'l'l‘O TAYLOR: -~ to place an objection as 11 then-Sergeant Easton.
12 to relevance. 12 (Discussion held off the record.)
13 THE REPORTER: Excuse me. I‘m sorry. 13 MR. CDOGAN: 1 have nothing else.
14 MS. MARZOTI'O TAYLDR: 1'm going to place an 14 MS. MARZOTK> TAYLOR: Okay. 1 need to go grab a
15 objection as to relevance. 15 couple documents, So, 1'm just going to be right back.
16 MR. COOGAN: Well, earlier you asked a question 16 MR. COOGAN: Sure.
17 regarding ethics, and 1'm doing a follow»up regarding 17 (Short recess at 5:39 p.m.)
18 ethics, 18 * * *
19 MS. MARZO'HO TAYLDR: Okay. 19 (Record resumed at 5:42 p.m.)
20 MR. COOGAN: That's my response. 20 MS. MARZOTK) TAYIDR: Okay. Back on.
21 BY MR. COOGAN: 21 THE REPORTER: All Set.
22 Q. So, please answer the question. 22 MS. MARZOTI‘O TAYDOR: Great.
23 A. Mr. Hayse had a boat that he personally owned, and he 23 * * *
24 stored it in our police evidence garage. 24 RE-ED(AMINATION
25 Q. Wait. Wait. 25 BY MS. MARZOTIO TAYLOR:

 

 

 

 

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Page 325 Page 327
1 Q. Okay. So, when answering Mr. Coogan's questions just 1 if 1'm wrong ~- that the car says that it was released
2 now, you said that you've never towed a vehicle without 2 And 1 assume, based on your documentation that you put
3 a lawful reason. 3 on Bates stamp 3406 that that was also because this car
4 1’m -- 4 was towed in error.
5 A. Not to my knowledge, no. 5 ls that accurate or inaccurate?
6 Q. Okay. Great. 6 A. 1 would guess that is inaccurate.
7 7 Q. Okay. So, why do you say that that's inaccurate?
8 8 A. 1t doesn't say it was released in error or anything
9 9 else. 1t just says "Released."
10 10 Sometimes we'll make notes on there, "Released," or
11 ll "In LEIN" or ”Out of LEIN,' "Ranove from RMS.'
12 12 Q. Okay.
13 13 A. Just notes for us in-house --
14 14 Q. So --
15 15 A. -- so we don't mix it up with paperwork.
16 16 Q. 1f 1 wanted to, you know, double~check this information
17 17 to make sure that you did, in fact, have a lawful reason
18 18 to tow this car, how would you suggest that 1 do that?
19 19 A. well, you'd probably want to get yourself a copy of the
20 20 report.
21 21 You should know that as an attorney.
22 22 THE REPORTEIR: 1'm sorry -~ 1 apologize.
23 23 BY MS. MARZO'l'iO TAYLOR:
24 24 Q. So, you're here to -- you're here to answer my
25 25 questions, Mr. Purman.
Page 328
1 l A. Oh. Thanks, Hon.
2 2 Q. SO --
3 3 A. You need to obtain a copy of the police report.
4 4 Q. Great.
5 5 So, 1 will be doing that. Thank you so much.
6 17 d 6 okay.
7 Q. Do you have any proof of that other than your testimony? 7 MR. wlSE: Can 1 have that?
8 A. You're welcome to contact Secretary of State. 8 (Discussion held off the record.)
9 Q. Okay. 1 might just do that. 9 MR. wISE: Thank you.
10 A. we didn't -- we dian know you were bringing that up 10 sr Ms. immme TAYLoR=
11 today, or 1 would have came more prepared. 11 Q. Okay. So, what is your role in personnel in HR between
12 Q. Okay. 1‘ll take back that. 12 the years 2012 and 2016?
13 A. Thank you. 13 (Discussion held off the record.)
14 THE wITNESS: Do you -- do you need this for 14 MR. wISE: 1 mean, 1'm just going to object because
15 reference? Report number -- 15 it wasn't covered on direct. It wasn't covered in
16 MR. COOGAN: Yeah. 1 will follow up on that. 16 follow~up --
17 (Discussion held off the record.) 17 MS. NE§RZO'I*IO 'l'AYLOR: So, you asked some -- so »-
18 BY MS. MARZUI'I‘O TAYIDR: 18 MR. wISE: where are you going?
19 Q. Okay. Similarly, Bates stamp number 3366 says that this 19 MS. MARZG'I'I‘O TAYIOR: So, you asked him questions
20 car was also released. 20 and Mr. Furman gave an answer about some disciplinary
21 1 assume, based on your documentation, you know -~ 21 decisions that were handed down. So, 1 want to know
22 A. It says "released.“ 1 mean, it‘s no longer here. 22 what his role was in, you know, providing discipline in
23 Q. So -- again ~- okay. So, you‘re going to have to let me 23 the department,
24 like finish asking my question. 24 A. 1 didn‘t have a role in providing discipline in the
25 So, 1'm going to assume -- and you can correct me 25 department,

 

 

 

 

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Page 329 Page 331
1 BY MS. MARZO'l'I'O TAYLOR: 1 Q. Great.
2 Q. Okay. So, basically, then, you have no other evidence 2 Okay. Now 1 will turn your attention to the policy
3 other than, you know, what you heard kind of via -- 3 review.
4 A. Firsthand from the officer? 4 Okay. So, you went through with Mr. Coogan a
5 Q. -- the grapevine, you know, that this disciplinary 5 lengthy list of things that you told Mr. Jackson »~
6 action was ~~ was given and what the reasons were for 6 A. Uh-huh.
7 it? 7 Q. -- that were going -~ that were allegedly going on in
8 You weren't a part of giving that disciplinary 8 the police department at that time.
9 action, were you? 9 let's see here.
10 A. 1 was a member of the same union as that officer. So, 1 10 1s there any reason that you know of that
11 heard it from the union -- 11 Mr. Jackson would not have included all of the
12 Q So -- 12 allegations that you brought up to him in his policy
13 A. And 1 also heard it firsthand from that officer. 13 review?
14 Q So, all the union members are all privy to one another's 14 A. 1 don't --
15 personnel informetion, including disciplinary actions? 15 MR. wISE: Object to foundation.
16 A. No. But somebody on the union board, like myself, the 16 60 ahead.
17 union treasurer, would be. 17 A. 1 don't know what his scope of his report was or what --
18 Q The union treasurer is privy to all disciplinary actions 18 1 gave him everything 1 lmew.
19 that are handed down to all their police officers? 19 BY MS. MARZDTI'O TAYLOR:
20 A we're a union representative. Correct. 20 Q. You just testified as to what you told him.
21 Q So -~ 21 A. Correct. But 1 don't know what he was paring down from
22 A. That means you're treasurer, and you're also that 22 that to put in writing, 1 have no idea. And 1 have not
23 person's representative for any union matters. 23 got a copy of his report.
24 Q Okay. So -- 24 Q. Okay. You've never read the Policy Review?
25 A. we're a very mall xmion, so we multitask. 25 A. The Policy Review of what?
Page 330 Page 332
1 Q. Okay. And what was your role in negotiating the towing 1 Q. 1t's the title of the ~ of the report that Mr. Jackson
2 contracts? The City's towing contracts? 2 wrote with regards to your department. 1t's called
3 A. 1 have no role in negotiating the City's towing 3 "Policy Review."
4 contract. 4 You never read Mr. Jackson's report after it was
5 Q Excellent. 5 completed?
6 Let's see here. 6 A. 1 read it for the first time about a week ago.
7 Okay. So, 1'm going to turn to the policy review. 7 Q. Okay.
8 Actually, not yet. 8 A. But prior to that, no, 1 had never seen it, didn't know
9 1'm going to instead -- to -- 1'11 direct your 9 anything about it, how many pages, nothing.
10 attention to the April 26th memorandum that was issued 10 Q. Okay. So, other than what Mr. Jackson wrote up when he
11 to you by Chad Hayse. 11 was done with his investigation, do you have any other
12 So, earlier you said that you were ordered to -- to 12 proof as to what you told him that was going on in the
13 tow and to enforce the traffic code based on race. 13 department?
14 A. Correct. 14 Did you write any written statements or provide him
15 Q And 1 believe that your answer was, you know, somehow in 15 any documents with evidence, you know, to substantiate
16 reference to this document. 16 your allegations or anything like that?
17 Can you tell me where it says "race" on that 17 A. 1 had sent him, 1 believe, two e-mails.
18 document? 18 Q. And what are -- what were those e-mails?
19 A. Mr. Hayse and Mr. welch made that verbally clear on a 19 A. Regarding Mr. Hayse and Mr. welch's behavior and the
20 regular basis. 20 towing contract.
21 Q Okay. So, that‘s not what 1 asked you. So, try to just 21 Q. Specifically what?
22 listen. 22 A. well, 1 -- 1 don't have specifics at this point. I
23 Can you show me on that where on that document it 23 mean, everything 1 discussed was dismissed both there,
24 says "race"? 24 and them he called me as a follow-up to the e-mail and
25 A. It doesn't say. He left that off. 25 we talked on the phone.

 

 

 

 

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Pages 333-336

 

 

 

 

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1 Q. Did he -~ did you give him a written statement of any 1 Q. Do you know the reason for this vehicle being towed?

2 kind? 2 It says "Released."

3 A. 1 mean e-mail is writing, but as far as a handwritten 3 Do you -- do you know why that vehicle was towed?
4 statanent, no, not to my knowledge. 4 The other --

5 Q Okay. And he didn't send you a sxmnary of your 5 A. It looks like it had invalid insurance or no insurance.
6 conversation for you to approve or anything like that? 6 The --

7 A. No. 7 MS. MARZOTI‘O TAYLOR: Well, the document speaks for
8 Q. Okay. Great. 8 itself .

9 Okay. And you also, in response to Mr. Coogan, 9 A. Yeah.

10 said that you were ordered to racially profile -- 10 But 1 don't know without looking at the report.

ll A. Yes. ll BY MR. COOGAN:

12 Q -- by Chief Hayse and Lieutenant welch. 12 Q. And officers have discretion on occasion to release cars
13 A. Correct. 13 if they want; is that correct?
14 Q Other than your testimony here today, do you have any 14 A. Correct.

15 proof of that? 15 Q. And who -- who has the authority to do that?

16 A Written proof, no. 16 A. Are you talking about at the traffic stop or at the

17 Q Anything given to you in writing? 17 station?

18 A. No. 18 Q. At the station.

19 MS. MARZOTI‘O TAYlOR: Okay. All right. No further 19 A. Whoever is on desk.
20 questions. 20 As a matter of fact, Lieutenant Welch used to
21 MR. COOGAN: 0h, 1 just -- thank you. 1 just have 21 release vehicles or not charge for things after Goch &
22 one question, or maybe -~ maybe several. 22 Sons got the tow contract, and he would say it's the --
23 * * * 23 they can -- he's not going to make any more money than
24 RE-EXAMINATION 24 he needs to.
25 BY MR. COOGAN: 25 MS. MARZO'I'I‘O TAYLOR: All right.

Page 334 Page 336

1 Q. How do you know from this document from Secretary of 1 MR. COOGAN: All right. 1 have nothing else.

2 State, it is -- SOS, how do you know it was the 2 MS. MARZOTIO TAYI.OR: Okay.

3 Secretary of State here? 3 MR. COOGAN: 1 have nothing else.

4 A. Because Secretary of State, when 1 ran it, showed no tax 4 rI'hese are your exhibits here, too.

5 paid, which meant it's not eligible for license plates, 5 MS. MARZO‘I'I‘O TAYLOR: Thank you.

6 which means it's not eligible to be driven on a public 6 MR. COOGAN: You‘re welcome.

7 roadway. And when 1 ran the vIN on that vehicle, that's 7 * * *

8 what would have came up. 8 RE-EXAMII\DTION

9 Q. So, you -- 9 BY NB. MARZOI'IO TAYI.OR:

10 A. That's why it was iupmmded. 10 Q. Do you have the capability to double-check the Secretary
11 Q Okay. So, you're telling me the Secretary of State 11 of State information?

12 computer occasionally has a mistake? 12 A. No. They -- all their updated information is kept -- 1
13 A That's correct. Secretary of State does make occasions, 13 mean, whm you run a plate or run a VIN, that's what

14 However, as a police officer, 1 have to rely upon the 14 ccmes back. That's supposed to be the absolute most

15 information Secretary of State and LEIN provides me, and 15 current, most up-to-date information --

16 that's what they provided at the time the vehicle was 16 Q. Okay.

17 impommded. 17 A. -- available.

18 Q So -- 18 Q. So, how did you find out that there was a mistake?

19 A. And this would have probably been a parked car because 19 A. 1 don‘t even know if there was a mistake. It just says
20 it shows there was no key. So -- 20 it was "Released."

21 Q Okay. How many times has that happened to you, a 21 Well, all -- all vehicles who don't go to auction
22 Secretary of State error? 22 are released. The vehicle either goes to auction or

23 A. 1t's rare, but it does happen. 1 mean, they're -- 23 it's released. 1t's -- so, 1 don't know if that was

24 they're mostly accurate, but they -- they can be, at 24 released at no charge or an error.

25 times, inaccurate. 25 Q. So, 1'm going to bring your attention back to this

 

 

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Page 337 Page 339
1 document right here __ 1 s’rATE os MIcnIGAN l
2 A. Okay. 1'm sorry. 1 thought you were still referring to 2 C°”NTY °F °AKLAND )
3 this me, which says nReleased_l 3 CERTIFICATE oF NOTARY PUBLIC
4 Q_ __ 3406' 4 1 do hereby certify that the witnese, whose
5 A' okay’ 5 attached testimony was taken in the above matter, was
6 Q This Says ¢\Towed in error'n 6 first duly sworn to tell the truth,~ the testimony
7 A. okay. So, my assumption with that would be somebody had 7 contained herein was reduced to writing in the presence
8 the vehicle towed, went to Secretary of State, clarified 8 of the witness by means of stenography; afterwards
9 their stuff, and came back with a letter from Secretary 9 transcribed; and is a true and complete transcript of
10 of State. Because that's generally the only way we 10 the feeti’“°“>’ gi"°“~
11 would waive the fees is if they had docmermati°n fm 11 l further certify that 1 am not connected by blood
12 secretary of State basically saying, linear mlvi_ndale 12 or marriage with any of the parties,~ their attorneys or
13 Police, we at Secretary of State made an err°r_ we 13 agents,~ and that I am not interested, directly or
14 apologize' Please turn this vehicle over. Its legally 14 indirectly, in the matter of controversy.
15 or whatever. 15 In witness whereof, 1 have hereunto set my hand
15 Q Okay. But you Can\t Check that Out On your end? 16 this day at Highland, Michigan, County of oakland, State
17 A. No. I mean, us checking is when we run it. They had to 17 of Michigan on Thureday, March 15, 2018.
18 go to the Secretary of State and then Secretary of State la q,LQ gp`A_
19 mind have had \',O '~ 19 l l W`
20 Q. Okay. 2°
21 A. __ Bmehow in their internal system __ 21 John J, Slatin, RPR, CSR-5180
22 Q_ Okay. 22 Certified Shorthand Reporter
23 A. __ determine there was an error made. 23 Notary Public, Oakland County, Michigan
24 Q. And it says here on this document that you towed this 24 “Y C°'““‘i“i°“ ‘”‘P“es‘ J“ly 25' 2°23
25 car? 25
Page 338
1 A. Yes. Very clearly.
2 MS. MARZO'I‘IO TAYLOR: Okay. All right. Nothing
3 further.
4 MR. COOGAN: We're off the record.
5 (Deposition concluded at 5:53 p.m.)
6 1 w s
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